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            EXHIBIT 168
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From:            Karen Robinson
To:              adolescentsoc8@wpath.org
Subject:         documents mentioned during call today
Date:            Wednesday, June 6, 2018 10:20:00 AM
Attachments:     Notes_IdentifyingStatements.pdf
                 SOC7 Statements and Possible Research Questions 08May18.doc
                 WPATH Guideline Development Methodology_Draft_4May2018.docx
                 WPATH_SOC8_Timeline_DRAFT_3May18.docx


All –
Nice to speak with you today.
I have attached documents mentioned to be sure you all have them on hand. Also pasted below is
the email sent to the chapter leads.
Thanks,
Karen
------------------------
Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
1830 E. Monument St., Suite 8068
     REDACTED




Email to Chapter Leads:
All –
As discussed during our initial phone calls, a first task is to identify the specific statements to be
considered for SOC8. We therefore would ask that you (Chapter Leads initially, and then Chapter
Members) do following:
     · Consider the end product. Think explicitly about the decisions for which you would like to make
         recommendation statements. What are the areas of uncertainty in practice? Where is
         guidance needed?
     · Consider whether recommendations from other organizations may be adopted. For instance,
         for decisions around hormone therapy the recommendations from the Endocrine Society
         may be considered. For relevant statements, the Evidence Review Team would conduct a
         limited search to identify any studies published since development of recommendation(s)
         being considered for adoption.
     · Review statements from SOC7 (for those chapters included in SOC7). The Evidence Review
         Team extracted statements from SOC7. I have attached a document that lists these
         statements by chapter. We have also made an initial classification as to whether the
         statement may be evidence-based (for which a systematic review will be conducted) or a
         good practice statement (see attached notes for definitions and examples).
             o Any statements missing?
             o Any statements to add?
             o Finalize classification as to evidence-based or good practice statement
As noted on the call, we know that this process will take time to fully complete. However, please let
Chairs and me know of statements you think will be evidence-based by end of this month so that we


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can begin the systematic reviews.
I am happy to respond to questions individually and/or to join calls with Chapter members if that
would be useful.
This is a very important stage and we appreciate your guidance!
As promised, here are links to some of the resources/tools referenced in the methods document (we
will add references to the document as it continues to be revised):
GRADE www.gradeworkinggroup.org
Cochrane Risk of Bias, ROBINS: Cochrane Handbook training.cochrane.org/handbook
ROBIS http://www.bristol.ac.uk/population-health-sciences/projects/robis/robis-tool/
Thanks,
Karen
Evidence Review Team
Attachments:
SOC7 Statements - as Word doc
Notes about recommendation statements – as PDF




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From:            Karen Robinson
To:              soc8chapterleads@wpath.org
Subject:         Examples from hormone chapter
Date:            Tuesday, July 31, 2018 1:52:00 PM
Attachments:     WPATH SOC8 Recommendations.docx
                 WPATH_SOC8_ChapterStructureTemplate.docx
                 Proposed Systematic Reviews to Karen.docx


All –
Please find below and attached example documents from the hormone chapter (thanks, Vin, for
agreeing to share!). We (the chairs and I) thought that it might be helpful to see examples from your
colleagues in other chapters. The specific wording of some of the recommendations needs
refinement, but that is to be expected at this point. Please don’t worry about the specific wording,
or if you agree with these particular recommendations and questions. We are forwarding these
simply as examples so you that can see something about their process, as well as the type of content
and format of the recommendations and questions.
Please let us know if you have any questions.
Thanks,
Karen
From: vin.tangpricha@gmail.com [mailto:vin.tangpricha@gmail.com] On Behalf Of Vin Tangpricha
Sent: Tuesday, July 31, 2018 8:57 AM
To: Endocrinology SOC8 <endocrinologysoc8@wpath.org>
Subject: Update on Chapter
Dear Endo Chapter Members,
Thank you for participating on the recent calls. I just wanted to update everyone to our status.
I think we are in good shape for now. We have sent over the requested systematic reviews
over to Karen's team. We have edited and reaffirmed some of the Endocrine Society guideline
recommendations and those that we did not want to handle, we have sent to other chapters. I
think we can meet again in September to plan the writing of the guidelines while we are
waiting the outcome of the systematic reviews. Please see attached the list of
recommendations we kept for our chapter from the Endo guidelines, the systematic reviews in
PICO format sent to Karen and instructions for the next step in the process of writing the
chapter.
If you have time and would like to start on the next step, please let me know. Otherwise, we
will plan a call sometime in September when most people are back from vacations.
Sincerely,
Vin

--
Vin Tangpricha, M.D., Ph.D.

Professor of Medicine
Program Director, Endocrinology & Metabolism Fellowship
Program Director, ABIM Physician Scientist Pathway, Internal Medicine Residency
Division of Endocrinology, Metabolism & Lipids
Department of Medicine
Emory University School of Medicine

Staff Physician, Section of Endocrinology, Atlanta VA Medical Center
Distinguished Physician, Emory Healthcare

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Clinic appointments, 404-778-3280
Fellowship program inquires, Ms. Marcela Santamaria-Appling, 404-727-1549

101 Woodruff Circle NE- WMRB1301
Atlanta GA 30322
Ph (404) 727-7254
Fax (404) 592-6257
Email vin.tangpricha@emory.edu
Twitter: @vtangpricha
Editor in Chief, Journal of Clinical and Translational Endocrinology (JCTE),
www.jctejournal.com




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Potential Systematic Reviews to Discuss (These reviews are linked to the Questions on pages 2-6)




1. A systematic review on the best androgen lowering medication in terms of safety and efficacy. GnRH sub-
groups
2. A systematic review on GnRH agonists on long term effects in children

3. A systematic review on risk of prolactinomas and hyperprolactinemia. Gender affirming hormone therapy.
4. A systematic review about the use of progesterones.(cyproterone)

5. A systematic review on thrombosis and associated risks with gender affirming hormone therapy (remove
ethinyl from consideration) (route of admin)
6. Systematic review on polycythemia in transgender men

7.Systematic review of the uterine and ovarian (morphology) safety of testosterone in transgender men who
have not had hysterectomy

8.Systematic review of the safety and efficacy of different routes of administration for estrogen (pill, skin,
shots)

9.Systematic review on the psychological effects (including quality of life) associated with pubertal
suppression
10. Systematic review on the psychological effects(including quality of life) associated with hormone therapy

11. Systematic review on metabolic syndrome in patients undergoing hormone therapy (both transgender men
and women): BMI, weight, lipids, dm.

12. Systematic review on fertility.




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From:            Karen Robinson
To:              Eli Coleman; Jon Arcelus; Asa Radix
Subject:         FW: Chapter template
Date:            Friday, July 20, 2018 8:41:00 AM
Attachments:     WPATH_Mockup_ChapterTemplate.docx


Please review and confirm ok with suggestions. Also, please see questions in first paragraph in email
below..
From: Karen Robinson
Sent: Monday, July 16, 2018 9:00 AM
To: Eli Coleman <colem001@umn.edu>; Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Asa Radix
<asa.radix@gmail.com>
Cc: 'Blaine Vella' <blaine@wpath.org>
Subject: Chapter template
Please review description below and mockup attached. Please include specific feedback on structure
of statements (e.g., should it be ‘we’ or ‘WPATH’?) and order of text and statements. Also, consider
length suggestions. I think text length for rationale should be suggested at about 1 page (versus 3
paragraphs).
Template for chapters.
     · Background – brief introduction outlining scope of chapter (1-2 pages maximum).
     · Summary of Recommendations – each recommendation statement in a box
     · Within main text, with subheadings/sections of chapter as warranted, the recommendations
         with accompanying text. (maximum of approximately 3 paragraphs per recommendation
         statement)
             o Text should precede each statement providing the rationale or reasoning for the
                  recommendation. This should include outlining the available evidence, providing
                  details about benefits and harms, a description of uncertainty, role of values and
                  experience in developing the recommendation, and information about
                  implementation of the recommendation, including expected barriers or challenges.
                  Links to resources should also be provided, as appropriate.
             o Following the text the recommendation statement is provided in a standard,
                  consistent format (see below)
Recommendation statements
     · Evidence-based statements (wording followed by grading information in parentheses):
             o Strong recommendation: We recommend
             o Weak recommendation: We suggest
Example: We recommend that people with X receive Y (certainty of evidence, grade of
recommendation)
     · Best practice statements (wording followed by ‘ungraded best practice statement’)
             o We advise
Example: We advise that people with X be referred to Y (ungraded best practice statement)




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Background
This is where the scope of the chapter is described in 1-2 pages.



 Summary of Recommendations

 List all recommendations from this chapter here.




Subheading for Chapter Topic A
Brief paragraph about what is included in this topic.



Here is where text providing rationale for the recommendation statement would go (about 3 paragraphs
maximum).

Here is the text for the recommendation statement.



Here is where text providing rationale for the recommendation statement would go (about 3 paragraphs
maximum).

Here is the text for the recommendation statement.



Here is where text providing rationale for the recommendation statement would go (about 3 paragraphs
maximum).

Here is the text for the recommendation statement.




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From:            Karen Robinson
To:              Eli Coleman; Jon Arcelus; Asa Radix
Subject:         FW: Notes on consensus process.
Date:            Friday, July 20, 2018 8:40:00 AM
Attachments:     Notes_IdentifyingStatements.pdf


Please confirm ok with process as outlined below…
From: Karen Robinson
Sent: Monday, July 16, 2018 8:27 AM
To: Eli Coleman <colem001@umn.edu>; Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Asa Radix
<asa.radix@gmail.com>
Cc: 'Blaine Vella' <blaine@wpath.org>
Subject: Notes on consensus process.
For your review:
We need the draft recommendation statements from each Chapter. Recall that recommendation
statements should be explicit and actionable (please see attached notes).
The following is the consensus process for recommendation statements. This will be used for the
best practice statements and for the evidence-based recommendation statements:
     1. Chapter members draft and reach consensus within chapter on recommendations statements.
     2. All recommendation statements are sent to the Guideline Steering Committee for review and
          revision.
     3. An online Delphi will be set up to be used by all SOC8 members to vote on recommendation
          statements. Members will be able to opt out of voting on statements they feel are outside of
          their expertise or experience, and will also have opportunity to provide feedback on each
          statement. Consensus will be considered reach if recommendation statement is agreed to by
          80% or more of votes. Those statements not reaching consensus will be sent back to all for
          another round of voting. These statements may be, as appropriate, revised based on
          feedback received. Three rounds will be held. Recommendation statements reaching
          consensus will be included in SOC8.




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WPATH SOC8: Notes regarding initial identification of recommendation statements

Clinical Practice Guidelines: Systematically developed statements that include recommendations,
strategies, or information that assist physicians and/or other health care practitioners and patients make
decisions about appropriate health care for specific clinical circumstances.

“Clinical practice guidelines are statements that include recommendations intended to optimize patient
care that are informed by a systematic review of the evidence and an assessment of the benefits and
harms of alternative care options.” IOM (Institute of Medicine). 2011. Clinical Practice Guidelines We
Can Trust. Washington, DC: The National Academies Press.

Evidence-based Recommendation Statements:

    •   Based on systematic review with clear link to evidence
    •   Will be graded

Good Practice or Consensus-based Statements:

    •   Common sense or reminders of obvious
    •   Not appropriate for a systematic review or formal assessment of evidence

All recommendation statements should be:

    •   Clear and actionable
    •   Define all elements needed to implement (under what circumstances do something; exactly
        what to do under defined circumstances)
    •   Easily identifiable (i.e., typed in bold, summarized in a box, etc.)



Examples of Evidence-based Recommendation Statement (note different grading systems used):

        Antibiotics should be prescribed in children two years or older with a diagnosis of acute otitis
        media if the pain lasts longer than three days or if the pain increases after the consultation
        despite adequate treatment with painkillers; in these cases, amoxicillin should be given for 7
        days (supplied with a dosage scheme). (Strong)

        The USPSTF recommends against the use of combined estrogen and progestin for the primary
        prevention of chronic conditions in postmenopausal women. (D recommendation)

Examples of Good Practice or Consensus-based Statements:

        In patients presenting with heart failure, clinicians should make an initial assessment of the
        patient's ability to perform routine/desired activities of daily living (ungraded good practice
        statement).

        Health services should be made available, accessible, and acceptable to sex workers based on
        the principles of avoidance of stigma, nondiscrimination, and the right to health (ungraded good
        practice statement).




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Evidence-based Recommendation statements will be translated into questions for systematic review.
These questions drive the entire process: what is identified, eligibility criteria, what is extracted and
presented, and what analyses are completed. Questions are specified using the PICO format:

 P      Patient, population

 I      Intervention

 C      Comparison

 O      Outcome

 T      Timing

 S      Setting

 D      Study design




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From:              Karen Robinson
To:                Eli Coleman; Jon Arcelus; Asa Radix
Subject:           FW: updated tracking document
Date:              Friday, July 20, 2018 8:13:00 AM
Attachments:       WPATH Tracking Sheet 12July18.docx


Eli asked for summary from last meeting.
I also sent draft consensus process and draft notes regarding structure of chapters. Let me know if
you would like me to send these again.
Thanks,
Karen
From: Karen Robinson
Sent: Thursday, July 12, 2018 12:12 PM
To: 'Eli Coleman' <colem001@umn.edu>; Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Asa Radix
<asa.radix@gmail.com>
Cc: 'Blaine Vella' <blaine@wpath.org>
Subject: updated tracking document
Thanks for the call today!
I have attached an updated tracking document.
Here are tasks based on call:
     - KR will ask Blaine to set up call with Chapter Leads (start with existing SOC Chair calls for
          schedule)
     - KR will ask Blaine re collection of COI/DOI from Chapter Leads and Members
     - KR will flesh out the process for statements (item 2 on agenda) for review by Chairs. This will be
          provided to the Chapter Leads closer to date of call(s).
     - KR will flesh out template for chapters, including guidance on length and a mockup (item #3 on
          agenda). This will be reviewed by Chairs but not yet provided to the Chapter Leads.
     - Chairs will send KR the dates/info for SOC Chair calls and KR will join those, as possible.
Let me know if I have forgotten or misremembered anything.
I found the call very useful – thanks!
Karen
-----------------------
Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
               REDACTED




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                                                           WPATH Tracking Sheet
                                                              12 July 2018

Chapter                                     Chair         Chapter     Likely to     Likely to    Received      KR Notes
                                            Coordinator   Lead        include Rec   include a    statements?
                                                                      Statements?   systematic
                                                                                    review?
     I. Global Applicability of the         Asa                       ?             No
        Standards of Care
    II. Terminology – Diagnostic criteria   Asa           Sari        ?             No
   III. Epidemiologic Considerations        Eli                       No            No                         Will provide additional references
                                                                                                               as check for completeness
   IV. Overview of Therapeutic              Eli                       No            No                         Summary
       Approaches for Gender Health
    V. The Role of Primary Care in          Asa           Maddie      Yes           Yes                        Reviewed questions - screening
       Gender Health                                                                                           Two or more from hormone
                                                                                                               chapter re screening
   VI. Assessment, Support and              Jon           Amy         Yes           Yes                        Not seen statements
        Therapeutic Approaches for
        Children
  VII. NEW: Assessment, Support and         Jon           Scott       Yes           Yes?                       Saw initial comments on SOC7
        Therapeutic Approaches for                                                                             statements
        Adolescents with Gender
        Diversity/Dysphoria
  VIII. Assessment and Therapeutic          Asa           Walter      No?           No                         Haven’t seen
        Approaches for Non-Binary                         Joz
   IX. Assessment of Adults with            Jon           Christina   Yes           No?                        Received extensive “questions”
        Gender Diversity/Dysphoria                                                                             in May. Most recently email
                                                                                                               suggesting not understanding
                                                                                                               process.
   X. Managing Mental and Behavioral        Jon           Dan         Yes           Yes                        Received “questions”
       Health Conditions in Adults
   XI. Hormone Therapy for                  Jon           Vin         Yes           Yes                        SRs:
       Adolescents and Adults                                                                                      1. QoL
                                                                                                                   2. Prolactin
                                                                                                                   3. One or two others
  XII. New: Sexual Health Across The        Eli           Timo        Yes           Yes?                       Asked regarding numbers.
       Lifespan                                                                                                Nothing seen
 XIII. Reproductive Health for              Asa           Lina        Yes           No?                        Haven’t seen
       Adolescents and Adults
 XIV. Voice and Communication               Eli           Adrienne    Yes           Yes                        Received “statements” and
       Therapy                                                                                                 “questions”




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 XV. Surgery Chapter for Adolescents      Jon   Loren   Yes      Yes                  Haven’t received statements
       and Adults; Postoperative Care                                                 (techniques?)
       and Follow-Up
 XVI. Applicability of the Standards of   Eli   Randi   Yes      No                   Haven’t seen anything
       Care to People Living in
       Institutional Environments
XVII. Applicability of the Standards of   Eli   Heino   Yes      No                   Haven’t received
       Care to People with Intersex
       Conditions
XVIII. NEW: Applicability of the          Eli   Tom     Yes      No                   Reviewed statements
       Standards of Care to Eunuchs
 XIX. NEW: Competency, Training,          Asa   Gail    Yes      No                   Haven’t received
       Education, Ethics




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From:            Karen Robinson
To:              Mazur, Tom
Subject:         FW: WPATH SOC8: Identification of statements
Date:            Tuesday, May 29, 2018 10:06:00 AM
Attachments:     SOC7 Statements and Possible Research Questions 08May18.doc
                 Notes_IdentifyingStatements.pdf


Forwarding per request.
I am down at AHRQ for meeting on Monday so unfortunately will miss you.
Let me know if you have any questions,
Karen
From: Karen Robinson
Sent: Friday, May 11, 2018 11:17 AM
To: 'soc8chapterleads@wpath.org' <soc8chapterleads@wpath.org>
Subject: WPATH SOC8: Identification of statements
All –
As discussed during our initial phone calls, a first task is to identify the specific statements to be
considered for SOC8. We therefore would ask that you (Chapter Leads initially, and then Chapter
Members) do following:
     · Consider the end product. Think explicitly about the decisions for which you would like to make
         recommendation statements. What are the areas of uncertainty in practice? Where is
         guidance needed?
     · Consider whether recommendations from other organizations may be adopted. For instance,
         for decisions around hormone therapy the recommendations from the Endocrine Society
         may be considered. For relevant statements, the Evidence Review Team would conduct a
         limited search to identify any studies published since development of recommendation(s)
         being considered for adoption.
     · Review statements from SOC7 (for those chapters included in SOC7). The Evidence Review
         Team extracted statements from SOC7. I have attached a document that lists these
         statements by chapter. We have also made an initial classification as to whether the
         statement may be evidence-based (for which a systematic review will be conducted) or a
         good practice statement (see attached notes for definitions and examples).
             o Any statements missing?
             o Any statements to add?
             o Finalize classification as to evidence-based or good practice statement
As noted on the call, we know that this process will take time to fully complete. However, please let
Chairs and me know of statements you think will be evidence-based by end of this month so that we
can begin the systematic reviews.
I am happy to respond to questions individually and/or to join calls with Chapter members if that
would be useful.
This is a very important stage and we appreciate your guidance!
As promised, here as links to some of the resources/tools referenced in the methods document (we
will add references to the document as it continues to be revised):
GRADE www.gradeworkinggroup.org
Cochrane Risk of Bias, ROBINS: Cochrane Handbook training.cochrane.org/handbook
ROBIS http://www.bristol.ac.uk/population-health-sciences/projects/robis/robis-tool/


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Thanks,
Karen
Evidence Review Team
Attachments:
SOC7 Statements - as Word doc
Notes about recommendation statements – as PDF
------------------------
Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
           REDACTED




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WPATH SOC8: Notes regarding initial identification of recommendation statements

Clinical Practice Guidelines: Systematically developed statements that include recommendations,
strategies, or information that assist physicians and/or other health care practitioners and patients make
decisions about appropriate health care for specific clinical circumstances.

“Clinical practice guidelines are statements that include recommendations intended to optimize patient
care that are informed by a systematic review of the evidence and an assessment of the benefits and
harms of alternative care options.” IOM (Institute of Medicine). 2011. Clinical Practice Guidelines We
Can Trust. Washington, DC: The National Academies Press.

Evidence-based Recommendation Statements:

    •   Based on systematic review with clear link to evidence
    •   Will be graded

Good Practice or Consensus-based Statements:

    •   Common sense or reminders of obvious
    •   Not appropriate for a systematic review or formal assessment of evidence

All recommendation statements should be:

    •   Clear and actionable
    •   Define all elements needed to implement (under what circumstances do something; exactly
        what to do under defined circumstances)
    •   Easily identifiable (i.e., typed in bold, summarized in a box, etc.)



Examples of Evidence-based Recommendation Statement (note different grading systems used):

        Antibiotics should be prescribed in children two years or older with a diagnosis of acute otitis
        media if the pain lasts longer than three days or if the pain increases after the consultation
        despite adequate treatment with painkillers; in these cases, amoxicillin should be given for 7
        days (supplied with a dosage scheme). (Strong)

        The USPSTF recommends against the use of combined estrogen and progestin for the primary
        prevention of chronic conditions in postmenopausal women. (D recommendation)

Examples of Good Practice or Consensus-based Statements:

        In patients presenting with heart failure, clinicians should make an initial assessment of the
        patient's ability to perform routine/desired activities of daily living (ungraded good practice
        statement).

        Health services should be made available, accessible, and acceptable to sex workers based on
        the principles of avoidance of stigma, nondiscrimination, and the right to health (ungraded good
        practice statement).




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Evidence-based Recommendation statements will be translated into questions for systematic review.
These questions drive the entire process: what is identified, eligibility criteria, what is extracted and
presented, and what analyses are completed. Questions are specified using the PICO format:

 P      Patient, population

 I      Intervention

 C      Comparison

 O      Outcome

 T      Timing

 S      Setting

 D      Study design




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Identification of statements within chapters for which systematic reviews will be conducted, and which will be ‘best practice statements’ based on
consensus expert opinion
 Page    Subheading               SOC7 Statement                                                                             Research Questions to Address   Systematic
                                                                                                                             Recommendations                 Review
 Chapter V - Overview of Therapeutic Approaches for Gender Dysphoria
 9      Options for            For individuals seeking care for gender dysphoria, a variety of therapeutic options can                                       Systematic
        Psychological and      be considered. The number and type of interventions applied and the order in which                                            Review
        Medical Treatment for these take place may differ from person to person. Treatment options include:
        Gender Dysphoria            •    Changes in gender expression and role (which may involve living part time or
                                         full time in another gender role, consistent with one’s gender identity);
                                    •    Hormone therapy to feminize or masculinize the body;
                                    •    Surgery to change primary and/or secondary sex characteristics (e.g.,
                                         breasts/chest, external and/or internal genitalia, facial features, body
                                         contouring);
                                    •    Psychotherapy (individual, couple, family, or group) for purposes such as
                                         exploring gender identity, role, and expression; addressing the negative
                                         impact of gender dysphoria and stigma on mental health; alleviating
                                         internalized transphobia; enhancing social and peer support; improving body
                                         image; or promoting resilience.
 10     Options for Social     In addition (or as an alternative) to the psychological and medical treatment options                                         Systematic
        Support and Changes described above, other options can be considered to help alleviate gender dysphoria,                                             Review
        in Gender Expression   for example:
                                    •    Offline and online peer support resources, groups, or community organizations
                                         that provide avenues for social support and advocacy;
                                    •    Offline and online support resources for families and friends;
                                    •    Voice and communication therapy to help individuals develop verbal and non-
                                         verbal communication skills that facilitate comfort with their gender identity;
                                    •    Hair removal through electrolysis, laser treatment, or waxing;
                                    •    Breast binding or padding, genital tucking or penile prostheses, padding of
                                         hips or buttocks;
                                    • Changes in name and gender marker on identity documents.
 Chapter VI - Assessment and Treatment of Children and Adolescents with Gender Dysphoria
 13     Competency of          The following are recommended minimum credentials for mental health professionals                                             Good
        Mental Health          who assess, refer, and offer therapy to children and adolescents presenting with                                              Clinical
        Professionals Working gender dysphoria:                                                                                                              Practice
        with Children or            1. Meet the competency requirements for mental health professionals working                                              Statement
        Adolescents with                 with adults, as outlined in section VII;
        Gender Dysphoria            2. Trained in childhood and adolescent developmental psychopathology;
                                    3. Competent in diagnosing and treating the ordinary problems of children and
                                         adolescents.
 14     Roles of Mental        The roles of mental health professionals working with gender dysphoric children and                                           Good
        Health Professional    adolescents may include the following:                                                                                        Clinical
        Working with Children       1. Directly assess gender dysphoria in children and adolescents (see general                                             Practice
        and Adolescents with             guidelines for assessment, below).                                                                                  Statement
        Gender Dysphoria            2. Provide family counseling and supportive psychotherapy to assist children and
                                         adolescents with exploring their gender identity, alleviating distress related to
                                         their gender dysphoria, and ameliorating any other psychosocial difficulties.

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                                                                                                                          Recommendations                       Review
                                      3.
                                      Assess and treat any co-existing mental health concerns of children or
                                      adolescents (or refer to another mental health professional for treatment).
                                      Such concerns should be addressed as part of the overall treatment plan.
                                  4. Refer adolescents for additional physical interventions (such as puberty
                                      suppressing hormones) to alleviate gender dysphoria. The referral should
                                      include documentation of an assessment of gender dysphoria and mental
                                      health, the adolescent’s eligibility for physical interventions (outlined below),
                                      the mental health professional’s relevant expertise, and any other information
                                      pertinent to the youth’s health and referral for specific treatments.
                                  5. Educate and advocate on behalf of gender dysphoric children, adolescents,
                                      and their families in their community (e.g., day care centers, schools, camps,
                                      other organizations). This is particularly important in light of evidence that
                                      children and adolescents who do not conform to socially prescribed gender
                                      norms may experience harassment in school (Grossman, D’Augelli, & Salter,
                                      2006; Grossman, D’Augelli, Howell, & Hubbard, 2006; Sausa, 2005), putting
                                      them at risk for social isolation, depression, and other negative sequelae
                                      (Nuttbrock et al., 2010).
                                  6. Provide children, youth, and their families with information and referral for peer
                                      support, such as support groups for parents of gender nonconforming and
                                      transgender children (Gold & MacNish, 2011; Pleak, 1999; Rosenberg, 2002).
 14                         Assessment and psychosocial interventions for children and adolescents are often                                                    Good
                            provided within a multi-disciplinary gender identity specialty service. If such a                                                   Clinical
                            multidisciplinary service is not available, a mental health professional should provide                                             Practice
                            consultation and liaison arrangements with a pediatric endocrinologist for the purpose                                              Statement
                            of assessment, education, and involvement in any decisions about physical
                            interventions.
 15    Psychological        Mental health professionals should not dismiss or express a negative attitude towards                                               Good
       Assessments of       nonconforming gender identities or indications of gender dysphoria. Rather, they should                                             Clinical
       Children and         acknowledge the presenting concerns of children, adolescents, and their families; offer                                             Practice
       Adolescents          a thorough assessment for gender dysphoria and any co-existing mental health                                                        Statement
                            concerns; and educate clients and their families about therapeutic options, if needed.
                            Acceptance and removal of secrecy can bring considerable relief to gender dysphoric
                            children/adolescents and their families.
 15                         Assessment of gender dysphoria and mental health should explore the nature and                                                      Good
                            characteristics of a child’s or adolescent’s gender identity. A psychodiagnostic and                                                Clinical
                            psychiatric assessment – covering the areas of emotional functioning, peer and other                                                Practice
                            social relationships, and intellectual functioning/school achievement – should be                                                   Statement
                            performed. Assessment should include an evaluation of the strengths and weaknesses
                            of family functioning. Emotional and behavioral problems are relatively common, and
                            unresolved issues in a child’s or youth’s environment may be
 15                         For adolescents, the assessment phase should also be used to inform youth and their                                                 Good
                            families about the possibilities and limitations of different treatments. This is necessary                                         Clinical
                            for informed consent, but also important for assessment. The way that adolescents                                                   Practice
                            respond to information about the reality of sex reassignment can be diagnostically                                                  Statement
                            informative. Correct information may alter a youth’s desire for certain treatment, if the
                            desire was based on unrealistic expectations of its possibilities.
 15    Psychological and    Mental health professionals should help families to have an accepting and nurturing           •   What are the benefits and harms   Systematic
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                                                                                                                               Recommendations                       Review
        Social Interventions    response to the concerns of their gender dysphoric child or adolescent. Families play             of different types of              Review
        for Children and        an important role in the psychological health and well-being of youth. This also applies          psychotherapy?
        Adolescents             to peers and mentors from the community, who can be another source of social
                                support.
 16                             Psychotherapy should focus on reducing a child’s or adolescent’s distress related to the       •   What are the benefits and harms   Systematic
                                gender dysphoria and on ameliorating any other psychosocial difficulties. For youth                of different types of             Review
                                pursuing sex reassignment, psychotherapy may focus on supporting them before,                      psychotherapy?
                                during, and after reassignment. Formal evaluations of different psychotherapeutic
                                approaches for this situation have not been published, but several counseling methods
                                have been described.
 16                             Treatment aimed at trying to change a person’s gender identity and expression to                                                     Good
                                become more congruent with sex assigned at birth has been attempted in the past                                                      Clinical
                                without success. Such treatment is no longer considered ethical.                                                                     Practice
                                                                                                                                                                     Statement
 16                             Families should be supported in managing uncertainty and anxiety about their child’s or                                              Good
                                adolescent’s psychosexual outcomes and in helping youth to develop a positive self-                                                  Clinical
                                concept.                                                                                                                             Practice
                                                                                                                                                                     Statement
 16                             Mental health professionals should not impose a binary view of gender. They should                                                   Good
                                give ample room for clients to explore different options for gender expression.                                                      Clinical
                                Hormonal or surgical interventions are appropriate for some adolescents, but not for                                                 Practice
                                others.                                                                                                                              Statement
 16                             Clients and their families should be supported in making difficult decisions regarding the                                           Good
                                extent to which clients are allowed to express a gender role that is consistent with their                                           Clinical
                                gender identity, as well as the timing of changes in gender role and possible social                                                 Practice
                                transition. For example, a client might attend school while undergoing social transition                                             Statement
                                only partly (e.g., by wearing clothing and having a hairstyle that reflects gender identity)
                                or completely (e.g., by also using a name and pronouns congruent with gender
                                identity). Difficult issues include whether and when to inform other people of the client’s
                                situation, and how others in their lives should respond.
 16                             Health professionals should support clients and their families as educators and                                                      Good
                                advocates in their interactions with community members and authorities such as                                                       Clinical
                                teachers, school boards, and courts.                                                                                                 Practice
                                                                                                                                                                     Statement
 16                             Mental health professionals should strive to maintain a therapeutic relationship with                                                Good
                                gender nonconforming children/adolescents and their families throughout any                                                          Clinical
                                subsequent social changes or physical interventions. This ensures that decisions about                                               Practice
                                gender expression and the treatment of gender dysphoria are thoughtfully and                                                         Statement
                                recurrently considered. The same reasoning applies if a child or adolescent has already
                                socially changed gender role prior to being seen by a mental health professional.
 17     Social Transition in    The current evidence base is insufficient to predict the long-term outcomes of                 •   What are the benefits and harms   Systematic
        Early Childhood         completing a gender role transition during early childhood. Outcomes research with                 of social transition?             Review
                                children who completed early social transitions would greatly inform future clinical           •   At what age should social
                                recommendations.                                                                                   transition be stated?
 17                             Regardless of a family’s decisions regarding transition (timing, extent), professionals                                              Good
                                should counsel and support them as they work through the options and implications. If                                                Clinical

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                                                                                                                                 Recommendations                           Review
                                   parents do not allow their young child to make a gender role transition, they may need                                                  Practice
                                   counseling to assist them with meeting their child’s needs in a sensitive and nurturing                                                 Statement
                                   way, ensuring that the child has ample possibilities to explore gender feelings and
                                   behavior in a safe environment. If parents do allow their young child to make a gender
                                   role transition, they may need counseling to facilitate a positive experience for their
                                   child.
 18      Physical Interventions    Before any physical interventions are considered for adolescents, extensive exploration                                                 Good
         for Adolescents           of psychological, family, and social issues should be undertaken, as outlined above.                                                    Clinical
                                   The duration of this exploration may vary considerably depending on the complexity of                                                   Practice
                                   the situation.                                                                                                                          Statement
 18                                A staged process is recommended to keep options open through the first two stages.                                                      Good
                                   Moving from one stage to another should not occur until there has been adequate time                                                    Clinical
                                   for adolescents and their parents to assimilate fully the effects of earlier interventions.                                             Practice
                                                                                                                                                                           Statement
 18      Fully Reversible          Adolescents may be eligible for puberty suppressing hormones as soon as pubertal              •   What are the benefits and harms       Systematic
         Interventions             changes have begun. In order for adolescents and their parents to make an informed                of puberty-suppressing hormones?      Review
                                   decision about pubertal delay, it is recommended that adolescents experience the              •   At what age or stage of
                                   onset of puberty to at least Tanner Stage 2.                                                      development should puberty-
                                                                                                                                     suppressing hormones be started?
 19                          Puberty suppression may continue for a few years, at which time a decision is made to               •   How long should an individual         Systematic
                             either discontinue all hormone therapy or transition to a feminizing/masculinizing                      continue taking puberty-              Review
                             hormone regimen. Pubertal suppression does not inevitably lead to social transition or                  suppressing hormones?
                             to sex reassignment.
 19    Criteria for puberty  In order for adolescents to receive puberty suppressing hormones, the following                                                               Good
       suppressing           minimum criteria must be met:                                                                                                                 Clinical
       hormones              1. The adolescent has demonstrated a long-lasting and intense pattern of gender                                                               Practice
                             nonconformity or gender dysphoria (whether suppressed or expressed);                                                                          Statement
                             2. Gender dysphoria emerged or worsened with the onset of puberty;
                             3. Any co-existing psychological, medical, or social problems that could interfere with
                             treatment (e.g., that may compromise treatment adherence) have been addressed,
                             such that the adolescent’s situation and functioning are stable enough to start
                             treatment;
                             4. The adolescent has given informed consent and, particularly when the adolescent
                             has not reached the age of medical consent, the parents or other caretakers or
                             guardians have consented to the treatment and are involved in supporting the
                             adolescent throughout the treatment process.
 19    Regimens,             For puberty suppression, adolescents with male genitalia should be treated with GnRH                •   For adolescents assigned male at      Systematic
       monitoring, and risks analogues, which stop luteinizing hormone secretion and therefore testosterone                          birth, what are the benefits and      Review
       for puberty           secretion. Alternatively, they may be treated with progestins (such as                                  harms of puberty- suppressing
       suppression           medroxyprogesterone) or with other medications that block testosterone secretion                        hormones?
                             and/or neutralize testosterone action.
 19                          Adolescents with female genitalia should be treated with GnRH analogues, which stop                 •   For adolescents assigned female       Systematic
                             the production of estrogens and progesterone. Alternatively, they may be treated with                   at birth, what are the benefits and   Review
                             progestins (such as medroxyprogesterone). Continuous oral contraceptives (or depot                      harms of puberty-suppressing
                             medroxyprogesterone) may be used to suppress menses. In both groups of                                  hormones?
                             adolescents, use of GnRH analogues is the preferred treatment (Hembree et al., 2009),
                             but their high cost is prohibitive for some patients
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                                                                                                                             Recommendations                         Review
 20                               During pubertal suppression, an adolescent’s physical development should be carefully      •  What is the optimal timing of        Systematic
                                  monitored – preferably by a pediatric endocrinologist – so that any necessary                 monitoring?                          Review
                                  interventions can occur (e.g., to establish an adequate gender appropriate height, to      •  What are the appropriate tests for
                                  improve iatrogenic low bone marrow density) (Hembree et al., 2009).                           monitoring?
 21      Partially Reversible     Adolescents may be eligible to begin feminizing/masculinizing hormone therapy,                                                     Good
         Interventions            preferably with parental consent. In many countries, 16-year-olds are legal adults for                                             Clinical
                                  medical decision-making and do not require parental consent. Ideally, treatment                                                    Practice
                                  decisions should be made among the adolescent, the family, and the treatment team.                                                 Statement
 21                               Regimens for hormone therapy in gender dysphoric adolescents differ substantially          •   At what age or stage of             Systematic
                                  from those used in adults (Hembree et al., 2009). The hormone regimens for youth are           development should gender-          Review
                                  adapted to account for the somatic, emotional, and mental development that occurs              affirming hormones be initiated?
                                  throughout adolescence (Hembree et al., 2009).                                             •   For adolescents with male
                                                                                                                                 genitalia, what are the benefits
                                                                                                                                 and harms of feminizing hormone
                                                                                                                                 therapy?
                                                                                                                             •   For adolescents with female
                                                                                                                                 genitalia, what are the benefits
                                                                                                                                 and harms of masculinizing
                                                                                                                                 hormone therapy?
 21      Irreversible         Genital surgery should not be carried out until (i) patients reach the legal age of majority                                           Good
         Interventions        in a given country, and (ii) patients have lived continuously for at least 12 months in the                                            Clinical
                              gender role that is congruent with their gender identity. The age threshold should be                                                  Practice
                              seen as a minimum criterion and not an indication in and of itself for active intervention.                                            Statement
 21                           Chest surgery in FtM patients could be carried out earlier, preferably after ample time of                                             Good
                              living in the desired gender role and after one year of testosterone treatment. The intent                                             Clinical
                              of this suggested sequence is to give adolescents sufficient opportunity to experience                                                 Practice
                              and socially adjust in a more masculine gender role, before undergoing irreversible                                                    Statement
                              surgery. However, different approaches may be more suitable, depending on an
                              adolescent’s specific clinical situation and goals for gender identity expression.
 21     Risks of Withholding  Refusing timely medical interventions for adolescents might prolong gender dysphoria                                                   Good
        Treatment for         and contribute to an appearance that could provoke abuse and stigmatization. As the                                                    Clinical
        Adolescents           level of gender-related abuse is strongly associated with the degree of psychiatric                                                    Practice
                              distress during adolescence (Nuttbrock et al., 2010), withholding puberty suppression                                                  Statement
                              and subsequent feminizing or masculinizing hormone therapy is not a neutral option for
                              adolescents.
 NEW: Assessment, Support, and Therapeutic Approaches for Adolescents with Gender Diversity/Dysphoria
 Chapter VII - Mental Health
 22     Competency of         The following are recommended minimum credentials for mental health professionals                                                      Good
        Mental Health         who work with adults presenting with gender dysphoria:                                                                                 Clinical
        Professionals Working      1. A master’s degree or its equivalent in a clinical behavioral science field. This                                               Practice
        with Adults Who                  degree or a more advanced one should be granted by an institution accredited                                                Statement
        Present with Gender              by the appropriate national or regional accrediting board. The mental health
        Dysphoria                        professional should have documented credentials from a relevant licensing
                                         board or equivalent for that country.
                                   2. Competence in using the Diagnostic Statistical Manual of Mental Disorders
                                         and/or the International Classification of Diseases for diagnostic purposes.

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                                                                                                                              Recommendations                            Review
                                        3.   Ability to recognize and diagnose co-existing mental health concerns and to
                                             distinguish these from gender dysphoria.
                                        4. Documented supervised training and competence in psychotherapy or
                                             counseling.
                                        5. Knowledgeable about gender nonconforming identities and expressions, and
                                             the assessment and treatment of gender dysphoria.
                                        6. Continuing education in the assessment and treatment of gender dysphoria.
                                             This may include attending relevant professional meetings, workshops, or
                                             seminars; obtaining supervision from a mental health professional with
                                             relevant experience; or participating in research related to gender
                                             nonconformity and gender dysphoria.
 23      Tasks of Mental            Mental health professionals should determine a client’s reasons for seeking                                                          Good
         Health Professionals       professional assistance.                                                                                                             Clinical
         Working with Adults                                                                                                                                             Practice
         Who Present with                                                                                                                                                Statement
         Gender Dysphoria
 24-25   Tasks Related to           Some clients may benefit from psychotropic medications to alleviate symptoms or treat                                                Good
         Assessment and             coexisting mental health concerns. Mental health professionals are expected to                                                       Clinical
         Referral                   recognize this and either provide pharmacotherapy or refer to a colleague who is                                                     Practice
                                    qualified to do so. The presence of co-existing mental health concerns does not                                                      Statement
         3. Assess, diagnose,       necessarily preclude possible changes in gender role or access to
         and discuss treatment      feminizing/masculinizing hormones or surgery; rather, these concerns need to be
         options for co-existing    optimally managed prior to or concurrent with treatment of gender dysphoria. In
         mental health              addition, clients should be assessed for their ability to provide educated and informed
         concerns                   consent for medical treatments.
 28      Tasks Related to           A mental health screening and/or assessment as outlined above is needed for referral                                                 Good
         Psychotherapy              to hormonal and surgical treatments for gender dysphoria. In contrast, psychotherapy –                                               Clinical
                                    although highly recommended – is not a requirement.                                                                                  Practice
                                                                                                                                                                         Statement
 28                                 The SOC do not recommend a minimum number of psychotherapy sessions prior to                                                         Good
                                    hormone therapy or surgery.                                                                                                          Clinical
                                                                                                                                                                         Practice
                                                                                                                                                                         Statement
 29                                 Therapy may consist of individual, couple, family, or group psychotherapy, the latter     •   What are the benefits and harms        Systematic
                                    being particularly important to foster peer support.                                          of different types of counseling for   Review
                                                                                                                                  adults with gender dysphoria?
 30                         Family therapy or support for family members                                                      •   What are the benefits and harms        Systematic
                            Family therapy might be offered as part of the client’s individual therapy and, if clinically         of different types of counseling for   Review
                            appropriate, by the same provider. Alternatively, referrals can be made to other                      adults with gender dysphoria?
                            therapists with relevant expertise to work with family members, or to sources of peer
                            support (e.g., online or offline support networks of partners or families).
 31                         Follow-up care throughout life                                                                    •   What are the benefits and harms        Systematic
                            Mental health professionals may work with clients and their families at many stages of                of different types of counseling for   Review
                            their lives. Psychotherapy may be helpful at different times and for various issues                   adults with gender dysphoria?
                            throughout the life cycle.
 31                         Etherapy, online counseling, or distance counseling                                               •   What are the benefits and harms        Systematic
                            Online or etherapy has been shown to be particularly useful for people who have                                                              Review
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                                                                                                                            Recommendations                            Review
                                 difficulty accessing competent psychotherapeutic treatment and who may experience             of different types of counseling for
                                 isolation and stigma. By extrapolation, etherapy may be a useful modality for                 adults with gender dysphoria?
                                 psychotherapy with transsexual, transgender, and gender nonconforming people.
 32      Other Tasks of the      2. Provide information and referral for peer support                                       •   What are the benefits and harms        Systematic
         Mental Health           For some transsexual, transgender, and gender nonconforming people, an experience              of different types of counseling for   Review
         Professional            in peer support groups may be more instructive regarding options for gender                    adults with gender dysphoria?
                                 expression than anything individual psychotherapy could offer (Rachlin, 2002). Both
                                 experiences are potentially valuable, and all people exploring gender issues should be
                                 encouraged to participate in community activities, if possible. Resources for peer
                                 support and information should be made available.
 32      Ethical Guidelines      Professionals must adhere to the ethical codes of their professional licensing or                                                     Good
         Related to Mental       certifying organizations in all of their work with transsexual, transgender, and gender                                               Clinical
         Health Care             nonconforming clients.                                                                                                                Practice
                                                                                                                                                                       Statement
 32                            Treatment aimed at trying to change a person’s gender identity and lived gender                                                         Good
                               expression to become more congruent with sex assigned at birth has been attempted in                                                    Clinical
                               the past (Gelder & Marks, 1969; Greenson, 1964), yet without success, particularly in                                                   Practice
                               the long term (Cohen-Kettenis & Kuiper, 1984; Pauly, 1965). Such treatment is no                                                        Statement
                               longer considered ethical.
 32                            If mental health professionals are uncomfortable with or inexperienced in working with                                                  Good
                               transsexual, transgender, and gender nonconforming individuals and their families, they                                                 Clinical
                               should refer clients to a competent provider or, at minimum, consult with an expert                                                     Practice
                               peer. If no local practitioners are available, consultation may be done via telehealth                                                  Statement
                               methods, assuming local requirements for distance consultation are met.
 33     Issues of Access to    When faced with a client who is unable to access services, referral to available peer                                                   Good
        Care                   support resources (offline and online) is recommended. Finally, harm reduction                                                          Clinical
                               approaches might be indicated to assist clients with making healthy decisions to                                                        Practice
                               improve their lives.                                                                                                                    Statement
 Chapter VIII - Hormone Therapy
 33     Medical Necessity of   Hormone therapy must be individualized based on a patient’s goals, the risk/benefit                                                     Good
        Hormone Therapy        ratio of medications, the presence of other medical conditions, and consideration of                                                    Clinical
                               social and economic issues. Hormone therapy can provide significant comfort to                                                          Practice
                               patients who do not wish to make a social gender role transition or undergo surgery, or                                                 Statement
                               who are unable to do so (Meyer III, 2009).
 34                            Hormone therapy is a recommended criterion for some, but not all, surgical treatments                                                   Good
                               for gender dysphoria (see section XI and Appendix C).                                                                                   Clinical
                                                                                                                                                                       Practice
                                                                                                                                                                       Statement
 34      Criteria for Hormone    The criteria for hormone therapy are as follows:                                                                                      Good
         Therapy                 1. Persistent, well-documented gender dysphoria;                                                                                      Clinical
                                 2. Capacity to make a fully informed decision and to consent for treatment;                                                           Practice
                                 3. Age of majority in a given country (if younger, follow the Standards of Care outlined                                              Statement
                                 in section VI);
                                 4. If significant medical or mental health concerns are present, they must be reasonably
                                 well-controlled.
 36      Physical Effects of     Feminizing/masculinizing hormone therapy will induce physical changes that are more        •   At what age or stage of                Systematic

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                                                                                                                         Recommendations                       Review
        Hormone Therapy        congruent with a patient’s gender identity.                                                  development should gender-         Review
                                                                                                                            affirming hormones be initiated?
                                                                                                                         •  For adolescents with male
                                                                                                                            genitalia, what are the benefits
                                                                                                                            and harms of feminizing hormone
                                                                                                                            therapy?
                                                                                                                         •  For adolescents with female
                                                                                                                            genitalia, what are the benefits
                                                                                                                            and harms of masculinizing
                                                                                                                            hormone therapy?
 38                            All other factors being equal, there is no evidence to suggest that any medically         •  At what age or stage of            Systematic
                               approved type or method of administering hormones is more effective than any other in        development should gender-         Review
                               producing the desired physical changes.                                                      affirming hormones be initiated?
                                                                                                                         •  For adolescents with male
                                                                                                                            genitalia, what are the benefits
                                                                                                                            and harms of feminizing hormone
                                                                                                                            therapy?
                                                                                                                         •  For adolescents with female
                                                                                                                            genitalia, what are the benefits
                                                                                                                            and harms of masculinizing
                                                                                                                            hormone therapy?
 39     Risks of Hormone       The risks associated with feminizing/masculinizing hormone therapy for the                •  At what age or stage of            Systematic
        Therapy                transsexual, transgender, and gender nonconforming population as a whole are                 development should gender-         Review
                               summarized in Table 2.                                                                       affirming hormones be initiated?
                                                                                                                         •  For adolescents with male
                                                                                                                            genitalia, what are the benefits
                                                                                                                            and harms of feminizing hormone
                                                                                                                            therapy?
                                                                                                                         •  For adolescents with female
                                                                                                                            genitalia, what are the benefits
                                                                                                                            and harms of masculinizing
                                                                                                                            hormone therapy?
 41     Competency of          Feminizing/masculinizing hormone therapy is best undertaken in the context of a                                                 Good
        Hormone-Prescribing    complete approach to health care that includes comprehensive primary care and a                                                 Clinical
        Physicians,            coordinated approach to psychosocial issues (Feldman & Safer, 2009). While                                                      Practice
        Relationship with      psychotherapy or ongoing counseling is not required for the initiation of hormone                                               Statement
        Other Health           therapy, if a therapist is involved, then regular communication among health
        Professionals          professionals is advised (with the patient’s consent) to ensure that the transition
                               process is going well, both physically and psychosocially.
 41                            Given the multidisciplinary needs of transsexual, transgender, and gender                                                       Good
                               nonconforming people seeking hormone therapy, as well as the difficulties associated                                            Clinical
                               with fragmentation of care in general (World Health Organization, 2008), WPATH                                                  Practice
                               strongly encourages the increased training and involvement of primary care providers in                                         Statement
                               the area of feminizing/masculinizing hormone therapy.
 42     Responsibilities of    In general, clinicians who prescribe hormone therapy should engage in the following                                             Good
        Hormone-Prescribing    tasks:                                                                                                                          Clinical

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                                                                                                                               Recommendations                          Review
          Physicians                    1.Perform an initial evaluation that includes discussion of a patient’s physical                                                Practice
                                          transition goals, health history, physical examination, risk assessment, and                                                  Statement
                                          relevant laboratory tests.
                                     2. Discuss with patients the expected effects of feminizing/masculinizing
                                          medications and the possible adverse health effects. These effects can
                                          include a reduction in fertility (Feldman & Safer, 2009; Hembree et al., 2009).
                                          Therefore, reproductive options should be discussed with patients before
                                          starting hormone therapy (see section IX).
                                     3. Confirm that patients have the capacity to understand the risks and benefits of
                                          treatment and are capable of making an informed decision about medical care.
                                     4. Provide ongoing medical monitoring, including regular physical and laboratory
                                          examination to monitor hormone effectiveness and side effects.
                                     5. Communicate as needed with a patient’s primary care provider, mental health
                                          professional, and surgeon.
                                     6. If needed, provide patients with a brief written statement indicating that they
                                          are under medical supervision and care that includes feminizing/masculinizing
                                          hormone therapy. Particularly during the early phases of hormone treatment, a
                                          patient may wish to carry this statement at all times to help prevent difficulties
                                          with the police and other authorities.
 42    Clinical Situations for There are circumstances in which clinicians may be called upon to provide hormones                                                       Good
       Hormone Therapy         without necessarily initiating or maintaining long-term feminizing/masculinizing hormone                                                 Clinical
                               therapy. By acknowledging these different clinical situations (see below, from least to                                                  Practice
                               highest level of complexity), it may be possible to involve clinicians in                                                                Statement
                               feminizing/masculinizing hormone therapy who might not otherwise feel able to offer
                               this treatment.
 44    Risk Assessment and     The initial evaluation for hormone therapy assesses a patient’s clinical goals and risk                                                  Good
       Modification for        factors for hormone-related adverse events. During the risk assessment, the patient                                                      Clinical
       Initiating Hormone      and clinician should develop a plan for reducing risks wherever possible, either prior to                                                Practice
       Therapy                 initiating therapy or as part of ongoing harm reduction.                                                                                 Statement
                               All assessments should include a thorough physical exam, including weight, height, and
                               blood pressure. The need for breast, genital, and rectal exams, which are sensitive
                               issues for most transsexual, transgender, and gender nonconforming patients, should
                               be based on individual risks and preventive health care needs
 44    Preventive Care         Hormone providers should address preventive health care with patients, particularly if a                                                 Good
                               patient does not have a primary care provider. Depending on a patient’s age and risk                                                     Clinical
                               profile, there may be appropriate screening tests or exams for conditions affected by                                                    Practice
                               hormone therapy. Ideally, these screening tests should be carried out prior to the start                                                 Statement
                               of hormone therapy.
 46    Efficacy and risk       The best assessment of hormone efficacy is clinical response: Is a patient developing a         •   What is the optimal timing of        Systematic
       monitoring during       feminized body while minimizing masculine characteristics, consistent with that patient’s           monitoring?                          Review
       feminizing hormone      gender goals? In order to more rapidly predict the hormone dosages that will achieve            •   What are the appropriate tests for
       therapy (MtF)           clinical response, one can measure testosterone levels for suppression below the upper              monitoring?
                               limit of the normal female range, and estradiol levels within a premenopausal female
                               range but well below supraphysiologic levels.
 46                            Monitoring for adverse events should include both clinical and laboratory evaluation.           •   What is the optimal timing of        Systematic
                               Followup should include careful assessment for signs of cardiovascular impairment and               monitoring?                          Review
                               venous thromboembolism (VTE) through measurement of blood pressure, weight, and                 •   What are the appropriate tests for
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 Page     Subheading               SOC7 Statement                                                                            Research Questions to Address            Systematic
                                                                                                                             Recommendations                          Review
                                pulse; heart and lung exams; and examination of the extremities for peripheral edema,           monitoring?
                                localized swelling, or pain. Laboratory monitoring should be based on the risks of
                                hormone therapy described above, a patient’s individual co-morbidities and risk factors,
                                and the specific hormone regimen itself. Specific lab monitoring protocols have been
                                published
 46     Efficacy and risk       The best assessment of hormone efficacy is clinical response: Is a patient developing a      •   What is the optimal timing of        Systematic
        monitoring during       masculinized body while minimizing feminine characteristics, consistent with that                monitoring?                          Review
        masculinizing           patient’s gender goals? Clinicians can achieve a good clinical response with the least       •   What are the appropriate tests for
        hormone therapy         likelihood of adverse events by maintaining testosterone levels within the normal male           monitoring?
        (FtM)                   range while avoiding supraphysiological levels. For patients using intramuscular (IM)
                                testosterone cypionate or enanthate, some clinicians check trough levels while others
                                prefer midcycle levels
 47                             Monitoring for adverse events should include both clinical and laboratory evaluation.        •   What is the optimal timing of        Systematic
                                Follow-up should include careful assessment for signs and symptoms of excessive                  monitoring?                          Review
                                weight gain, acne, uterine break-through bleeding, and cardiovascular impairment, as         •   What are the appropriate tests for
                                well as psychiatric symptoms in at-risk patients. Physical examinations should include           monitoring?
                                measurement of pressure, weight, pulse, and skin; and heart and lung exams.
                                Laboratory monitoring should be based on the risks of hormone therapy described
                                above, a patient’s individual co-morbidities and risk factors, and the specific hormone
                                regimen itself. Specific lab monitoring protocols have been published.
 NEW: Sexual health across the Lifespan
 Chapter IX - Reproductive Health
 50     Reproductive Health     Many transgender, transsexual, and gender nonconforming people will want to have                                                      Good
                                children. Because feminizing/masculinizing hormone therapy limits fertility (Darney,                                                  Clinical
                                2008; Zhang, Gu, Wang, Cui, & Bremner, 1999), it is desirable for patients to make                                                    Practice
                                decisions concerning fertility before starting hormone therapy or undergoing surgery to                                               Statement
                                remove/alter their reproductive organs. ... Health care professionals – including mental
                                health professionals recommending hormone therapy or surgery, hormone-prescribing
                                physicians, and surgeons – should discuss reproductive options with patients prior to
                                initiation of these medical treatments for gender dysphoria. ... MtF patients, especially
                                those who have not already reproduced, should be informed about sperm preservation
                                options and encouraged to consider banking their sperm prior to hormone therapy. ...
                                Reproductive options for FtM patients might include oocyte (egg) or embryo freezing.
 51     Reproductive Health     A special group of individuals are prepubertal or pubertal adolescents who will never                                                 Good
                                develop reproductive function in their natal sex due to blockers or cross gender                                                      Clinical
                                hormones. At this time there is no technique for preserving function from the gonads of                                               Practice
                                these individuals.                                                                                                                    Statement
 Chapter X - Voice and Communication Therapy
 52     Competency of Voice     The following are recommended minimum credentials for voice and communication                                                         Good
        and Communication       specialists working with transsexual, transgender, and gender nonconforming clients:                                                  Clinical
        Specialists                   1. Specialized training and competence in the assessment and development of                                                     Practice
                                           communication skills in transsexual, transgender, and gender nonconforming                                                 Statement
                                           clients.
                                      2. A basic understanding of transgender health, including hormonal and surgical
                                           treatments for feminization/masculinization and trans-specific psychosocial
                                           issues as outlined in the SOC; and familiarity with basic sensitivity protocols
                                           such as the use of preferred gender pronoun and name (Canadian
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 Page    Subheading               SOC7 Statement                                                                              Research Questions to Address           Systematic
                                                                                                                              Recommendations                         Review
                                            Association of Speech-Language Pathologists and Audiologists; Royal
                                            College of Speech Therapists, United Kingdom; Speech Pathology Australia).
                                       3. Continuing education in the assessment and development of communication
                                            skills in transsexual, transgender, and gender nonconforming clients. This may
                                            include attendance at professional meetings, workshops, or seminars;
                                            participation in research related to gender identity issues; independent study;
                                            or mentoring from an experienced, certified clinician.
 53      Assessment and           Voice and communication treatment plans are developed by considering the available          •   What are the benefits and harms     Systematic
         Treatment                research evidence, the clinical knowledge and experience of the specialist, and the             of surgery to change one’s voice?   Review
         Considerations           client’s own goals and values.                                                              •   What are the benefits and harms
                                                                                                                                  of speech therapy?
 Chapter XI - Surgery
 59     Criteria for           Criteria for mastectomy and creation of a male chest in FtM patients:                                                                  Good
        breast/chest surgery   1. Persistent, well-documented gender dysphoria;                                                                                       Clinical
        (one referral)         2. Capacity to make a fully informed decision and to consent for treatment;                                                            Practice
                               3. Age of majority in a given country (if younger, follow the SOC for children and                                                     Statement
                               adolescents);
                               4. If significant medical or mental health concerns are present, they must be reasonably
                               well controlled.
                               Hormone therapy is not a pre-requisite.
 59    Criteria for            Criteria for breast augmentation (implants/lipofilling) in MtF patients:                                                               Good
       breast/chest surgery    1. Persistent, well-documented gender dysphoria;                                                                                       Clinical
       (one referral)          2. Capacity to make a fully informed decision and to consent for treatment;                                                            Practice
                               3. Age of majority in a given country (if younger, follow the SOC for children and                                                     Statement
                               adolescents);
                               4. If significant medical or mental health concerns are present, they must be reasonably
                               well controlled.
                               Although not an explicit criterion, it is recommended that MtF patients undergo
                               feminizing hormone therapy (minimum 12 months) prior to breast augmentation
                               surgery. The purpose is to maximize breast growth in order to obtain better surgical
                               (aesthetic) results.
 60    Criteria for genital    Criteria for hysterectomy and ovariectomy in FtM patients and for orchiectomy in MtF                                                   Good
       surgery (two referrals) patients:                                                                                                                              Clinical
                               1. Persistent, well documented gender dysphoria;                                                                                       Practice
                               2. Capacity to make a fully informed decision and to consent for treatment;                                                            Statement
                               3. Age of majority in a given country;
                               4. If significant medical or mental health concerns are present, they must be well
                               controlled.
                               5. 12 continuous months of hormone therapy as appropriate to the patient’s gender
                               goals (unless the patient has a medical contraindication or is otherwise unable or
                               unwilling to take hormones).
 60    Criteria for genital    Criteria for metoidioplasty or phalloplasty in FtM patients and for vaginoplasty in MtF                                                Good
       surgery (two referrals) patients:                                                                                                                              Clinical
                               1. Persistent, well documented gender dysphoria;                                                                                       Practice
                               2. Capacity to make a fully informed decision and to consent for treatment;                                                            Statement
                               3. Age of majority in a given country;
                               4. If significant medical or mental health concerns are present, they must be well
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 Page    Subheading                SOC7 Statement                                                                               Research Questions to Address         Systematic
                                                                                                                                Recommendations                       Review
                                  controlled;
                                  5. 12 continuous months of hormone therapy as appropriate to the patient’s gender
                                  goals (unless the patient has a medical contraindication or is otherwise unable or
                                  unwilling to take hormones).
                                  6. 12 continuous months of living in a gender role that is congruent with their gender
                                  identity;
 61     Surgery for Persons       When patients with gender dysphoria are also diagnosed with severe psychiatric                                                      Good
        with Psychotic            disorders and impaired reality testing (e.g., psychotic episodes, bipolar disorder,                                                 Clinical
        Conditions and Other      dissociative identity disorder, borderline personality disorder), an effort must be made to                                         Practice
        Serious Mental            improve these conditions with psychotropic medications and/or psychotherapy before                                                  Statement
        Illnesses                 surgery is contemplated.
 62     Breast/Chest Surgery      For the MtF patient, a breast augmentation (sometimes called “chest reconstruction”) is       •   What are the benefits and harms   Systematic
        Techniques and            not different from the procedure in a natal female patient. It is usually performed               of breast augmentation?           Review
        Complications             through implantation of breast prostheses and occasionally with the lipofilling
                                  technique. Infections and capsular fibrosis are rare complications of augmentation
                                  mammoplasty in MtF patients (Kanhai, Hage, Karim, & Mulder, 1999).
 63     Breast/Chest Surgery      For the FtM patient, a mastectomy or “male chest contouring” procedure is available.          •   What are the benefits and harms   Systematic
        Techniques and            For many FtM patients, this is the only surgery undertaken. When the amount of breast             of a mastectomy?                  Review
        Complications             tissue removed requires skin removal, a scar will result and the patient should be so
                                  informed. Complications of subcutaneous mastectomy can include nipple necrosis,
                                  contour irregularities, and unsightly scarring (Monstrey et al., 2008).
 63     Genital Surgery           Genital surgical procedures for the MtF patient may include orchiectomy, penectomy,           •   What are the benefits and harms   Systematic
        Techniques and            vaginoplasty, clitoroplasty, and labiaplasty. Techniques include penile skin inversion,           of genital surgical procedures?   Review
        Complications             pedicled colosigmoid transplant, and free skin grafts to line the neovagina. Sexual
                                  sensation is an important objective in vaginoplasty, along with creation of a functional
                                  vagina and acceptable cosmesis.
 63     Genital Surgery           Genital surgical procedures for the MtF patient may include orchiectomy, penectomy,           •   What are the benefits and harms   Systematic
        Techniques and            vaginoplasty, clitoroplasty, and labiaplasty. Techniques include penile skin inversion,           of genital surgical procedures?   Review
        Complications             pedicled colosigmoid transplant, and free skin grafts to line the neovagina. Sexual
                                  sensation is an important objective in vaginoplasty, along with creation of a functional
                                  vagina and acceptable cosmesis. Patients without former abdominal surgery, the
                                  laparoscopic technique for hysterectomy and salpingo-oophorectomy is recommended
                                  to avoid a lowerabdominal scar.
 64     Other Surgeries           Other surgeries for assisting in body feminization include reduction thyroid                  •   What are the benefits and harms   Systematic
                                  chondroplasty (reduction of the Adam’s apple), voice modification surgery, suction-               of other surgical procedures?     Review
                                  assisted lipoplasty (contour modeling) of the waist, rhinoplasty (nose correction), facial
                                  bone reduction, face-lift, and blepharoplasty (rejuvenation of the eyelid). Other
                                  surgeries for assisting in body masculinization include liposuction, lipofilling, and
                                  pectoral implants. Voice surgery to obtain a deeper voice is rare but may be
                                  recommended in some cases, such as when hormone therapy has been ineffective.
 Chapter XII - Postoperative Care and Follow-Up
 64     Postoperative Care        Long-term postoperative care and follow-up after surgical treatments for gender                                                     Good
        and Follow-up             dysphoria are associated with good surgical and psychosocial outcomes (Monstrey et                                                  Clinical
                                  al., 2009). Follow-up is important to a patient’s subsequent physical and mental health                                             Practice
                                  and to a surgeon’s knowledge about the benefits and limitations of surgery.                                                         Statement
 Chapter XIII - Lifelong Preventive and Primary Care

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 Page    Subheading              SOC7 Statement                                                                              Research Questions to Address           Systematic
                                                                                                                             Recommendations                         Review
 65      Lifelong Preventive     Primary care and health maintenance issues should be addressed before, during, and          •  What are the benefits and harms      Systematic
         and Primary Care        after any possible changes in gender role and medical interventions to alleviate gender        of screening in the transgender      Review
                                 dysphoria. While hormone providers and surgeons play important roles in preventive             population for cardiovascular
                                 care, every transsexual, transgender, and gender nonconforming person should partner           disease, cancer, sexually
                                 with a primary care provider for overall health care needs (Feldman, 2007).                    transmitted diseases, and urinary
                                                                                                                                tract infections?
                                                                                                                                o How does this differ for those
                                                                                                                                     who have had surgery?
 65      General Preventive      Screening guidelines developed for the general population are appropriate for organ                                                 Good
         Health Care             systems that are unlikely to be affected by feminizing/masculinizing hormone therapy.                                               Clinical
                                 However, in areas such as cardiovascular risk factors, osteoporosis, and some cancers                                               Practice
                                 (breast, cervical, ovarian, uterine, and prostate), such general guidelines may either                                              Statement
                                 over- or underestimate the cost-effectiveness of screening individuals who are receiving
                                 hormone therapy.
                                 Several resources provide detailed protocols for the primary care of patients
                                 undergoing feminizing/masculinizing hormone therapy, including therapy that is
                                 provided after sex reassignment surgeries (Center of Excellence for Transgender
                                 Health, UCSF, 2011; Feldman & Goldberg, 2006; Feldman, 2007; Gorton, Buth, &
                                 Spade, 2005). Clinicians should consult their national evidence-based guidelines and
                                 discuss screening with their patients in light of the effects of hormone therapy on their
                                 baseline risk.
 66      Cancer Screening        Cancer screening of organ systems that are associated with sex can present particular       •   What are the benefits and harms     Systematic
                                 medical and psychosocial challenges for transsexual, transgender, and gender                    of screening in the transgender     Review
                                 nonconforming patients and their health care providers.                                         population for cardiovascular
                                                                                                                                 disease, cancer, sexually
                                                                                                                                 transmitted diseases, and urinary
                                                                                                                                 tract infections?
                                                                                                                                 o How does this differ for those
                                                                                                                                      who have had surgery?
 66      Urogenital Care         All MtF patients should receive counseling regarding genital hygiene, sexuality, and                                                Systematic
                                 prevention of sexually transmitted infections; those who have had genital surgery                                                   Review
                                 should also be counseled on the need for regular vaginal dilation or penetrative
                                 intercourse in order to maintain vaginal depth and width (van Trotsenburg, 2009)
 67      Urogenital Care         Lower urinary tract infections occur frequently in MtF patients who have had surgery        •   What are the benefits and harms     Systematic
                                 because of the reconstructive requirements of the shortened urethra. In addition, these         of screening in the transgender     Review
                                 patients may suffer from functional disorders of the lower urinary tract; such disorders        population for cardiovascular
                                 may be caused by damage of the autonomous nerve supply of the bladder floor during              disease, cancer, sexually
                                 dissection between the rectum and the bladder, and by a change of the position of the           transmitted diseases, and urinary
                                 bladder itself. A dysfunctional bladder (e.g., overactive bladder, stress or urge urinary       tract infections?
                                 incontinence) may occur after sex reassignment surgery.                                         o How does this differ for those
                                                                                                                                      who have had surgery?
 67      Urogenital Care    Most FtM patients do not undergo vaginectomy (colpectomy). For patients who take                 •   What are the benefits and harms     Systematic
                            masculinizing hormones, despite considerable conversion of testosterone to estrogens,                of screening in the transgender     Review
                            atrophic changes of the vaginal lining can be observed regularly and may lead to                     population for cardiovascular
                            pruritus or burning. Examination can be both physically and emotionally painful, but lack            disease, cancer, sexually
                            of treatment can seriously aggravate the situation. Gynecologists treating the genital               transmitted diseases, and urinary
                            complaints of FtM patients should be aware of the sensitivity that patients with a male              tract infections?
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 Page    Subheading                SOC7 Statement                                                                              Research Questions to Address         Systematic
                                                                                                                               Recommendations                       Review
                                  gender identity and masculine gender expression might have around having genitals               o How does this differ for those
                                  typically associated with the female sex.                                                           who have had surgery?
 Chapter XIV - Applicability of the Standards of Care to People Living in Institutional Environments
 67     Applicability of the      All elements of assessment and treatment as described in the SOC can be provided to                                                Good
        Standards of Care to      people living in institutions (Brown, 2009). Access to these medically necessary                                                   Clinical
        People Living in          treatments should not be denied on the basis of institutionalization or housing                                                    Practice
        Institutional             arrangements.                                                                                                                      Statement
        Environments
 68     Applicability of the      People who enter an institution on an appropriate regimen of hormone therapy should                                                Good
        Standards of Care to      be continued on the same, or similar, therapies and monitored according to the SOC. A                                              Clinical
        People Living in          “freeze frame” approach is not considered appropriate care in most. People with gender                                             Practice
        Institutional             dysphoria who are deemed appropriate for hormone therapy (following the SOC)                                                       Statement
        Environments              should be started on such therapy. The consequences of abrupt withdrawal of
                                  hormones or lack of initiation of hormone therapy when medically necessary include a
                                  high likelihood of negative outcomes such as surgical self-treatment by autocastration,
                                  depressed mood, dysphoria, and/or suicidality (Brown, 2010).
 68     Applicability of the      Housing and shower/bathroom facilities for transsexual, transgender, and gender                                                    Good
        Standards of Care to      nonconforming people living in institutions should take into account their gender identity                                         Clinical
        People Living in          and role, physical status, dignity, and personal safety. Placement in a single-sex                                                 Practice
        Institutional             housing unit, ward, or pod on the sole basis of the appearance of the external genitalia                                           Statement
        Environments              may not be appropriate and may place the individual at risk for victimization (Brown,
                                  2009).
 Chapter XV - Applicability of the Standards of Care to People With Disorders of Sex Development
 70     Health History            Health professionals assisting patients with both a DSD and gender dysphoria need to                                               Good
        Considerations            be aware that the medical context in which such patients have grown up is typically                                                Clinical
                                  very different from that of people without a DSD.                                                                                  Practice
                                                                                                                                                                     Statement
 NEW: Applicability of the Standards of Care to Eunuchs
 NEW: Competency, Training, Education, Ethics




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From:              Karen Robinson
To:                soc8chapterleads@wpath.org
Subject:           Materials for discussion: consensus process and chapter structure
Date:              Friday, July 20, 2018 9:49:00 AM
Attachments:       WPATH_SOC8_ChapterStructureTemplate.docx
                   WPATH_SOC8_ConsensusProcess.docx
                   Notes_IdentifyingStatements.pdf


All –
I look forward to speaking with you either today (20 July) or next week (25 July).
I have attached documents related to some of what we will be discussing.
As a reminder, my evidence review team needs the questions for the systematic reviews to be
conducted. One way to ensure that the questions are specific and will inform a recommendation is
for you to think about the end product or the recommendation statements. What are the decision
points for which SOC8 should provide guidance? Recall that you do not need to know the specific
details. For instance you may not know if CBT or group therapy is better. You could say: We
recommend use of CBT/group therapy for addressing <condition>. I would then know that you
would like a review on the potential benefits and harms for CBT and group. I would respond with any
questions I may have and send back to you a proposed systematic review question.
You may send me any draft statements, whether you think they may be evidence-based or best
practice statements. I can provide feedback on distinction and on wording. I have attached notes
about identifying statements and specific PICO format questions.
Thanks,
Karen
-----------------------
Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
               REDACTED




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WPATH SOC8: Notes regarding initial identification of recommendation statements

Clinical Practice Guidelines: Systematically developed statements that include recommendations,
strategies, or information that assist physicians and/or other health care practitioners and patients make
decisions about appropriate health care for specific clinical circumstances.

“Clinical practice guidelines are statements that include recommendations intended to optimize patient
care that are informed by a systematic review of the evidence and an assessment of the benefits and
harms of alternative care options.” IOM (Institute of Medicine). 2011. Clinical Practice Guidelines We
Can Trust. Washington, DC: The National Academies Press.

Evidence-based Recommendation Statements:

    •   Based on systematic review with clear link to evidence
    •   Will be graded

Good Practice or Consensus-based Statements:

    •   Common sense or reminders of obvious
    •   Not appropriate for a systematic review or formal assessment of evidence

All recommendation statements should be:

    •   Clear and actionable
    •   Define all elements needed to implement (under what circumstances do something; exactly
        what to do under defined circumstances)
    •   Easily identifiable (i.e., typed in bold, summarized in a box, etc.)



Examples of Evidence-based Recommendation Statement (note different grading systems used):

        Antibiotics should be prescribed in children two years or older with a diagnosis of acute otitis
        media if the pain lasts longer than three days or if the pain increases after the consultation
        despite adequate treatment with painkillers; in these cases, amoxicillin should be given for 7
        days (supplied with a dosage scheme). (Strong)

        The USPSTF recommends against the use of combined estrogen and progestin for the primary
        prevention of chronic conditions in postmenopausal women. (D recommendation)

Examples of Good Practice or Consensus-based Statements:

        In patients presenting with heart failure, clinicians should make an initial assessment of the
        patient's ability to perform routine/desired activities of daily living (ungraded good practice
        statement).

        Health services should be made available, accessible, and acceptable to sex workers based on
        the principles of avoidance of stigma, nondiscrimination, and the right to health (ungraded good
        practice statement).




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Evidence-based Recommendation statements will be translated into questions for systematic review.
These questions drive the entire process: what is identified, eligibility criteria, what is extracted and
presented, and what analyses are completed. Questions are specified using the PICO format:

 P      Patient, population

 I      Intervention

 C      Comparison

 O      Outcome

 T      Timing

 S      Setting

 D      Study design




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Structure for chapters
20 July 2018

The following is the general structure. See following pages for a template and a mockup using the
template.

    •   Background – brief introduction outlining scope of chapter (1-2 pages maximum).
    •   Summary of Recommendations – each recommendation statement in a box
    •   Within main text, with subheadings/sections of chapter as warranted, the recommendations
        with accompanying text. (maximum of approximately 3 paragraphs per recommendation
        statement)
            o Text should precede each statement providing the rationale or reasoning for the
                recommendation. This should include outlining the available evidence, providing details
                about benefits and harms, a description of uncertainty, role of values and experience in
                developing the recommendation, and information about implementation of the
                recommendation, including expected barriers or challenges. Links to resources should
                also be provided, as appropriate.
            o Following the text the recommendation statement is provided in a standard, consistent
                format (see below)


Recommendation statements

    •  Evidence-based statements (wording followed by grading information in parentheses):
           o Strong recommendation: We recommend
           o Weak recommendation: We suggest
Example: We recommend that people with X receive Y (certainty of evidence, grade of
recommendation)

    •  Best practice statements (wording followed by ‘ungraded best practice statement’)
           o We advise
Example: We advise that people with X be referred to Y (ungraded best practice statement)




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Background
This is where the scope of the chapter is described in 1-2 pages. Provide background information from a
general review, including any definitions, as needed.



 Summary of Recommendations

 List all recommendations from this chapter here.

 We recommend that people with X receive Y (certainty of evidence, grade of recommendation)

 We advise that people with X be referred to Y (ungraded best practice statement)




Subheading for Chapter Topic A
Brief paragraph about what is included in this topic.



Here is where text providing rationale for the recommendation statement would go (about 3 paragraphs
maximum). See notes about what should be included here.

Here is the text for recommendation statement. Here is an evidence-based statement (grade). Here is
a good practice statement (ungraded best practice statement).



Here is where text providing rationale for the recommendation statement would go (about 3 paragraphs
maximum). See notes about what should be included here.

Here is the text for recommendation statement. Here is an evidence-based statement (grade). Here is
a good practice statement (ungraded best practice statement).



Here is where text providing rationale for the recommendation statement would go (about 3 paragraphs
maximum). See notes about what should be included here.

Here is the text for recommendation statement. Here is an evidence-based statement (grade). Here is
a good practice statement (ungraded best practice statement).




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EXAMPLE MOCKUP
Chapter(assessment of adults presenting with symptoms of eating disorders)
Background
This is where the scope of the chapter is described in 1-2 pages.

The following chapter will discuss the main assessment process when working with adults presenting
symptoms of an eating disorder. The chapter will discuss the recommendations regarding the
background of the professionals working with people presenting with symptoms of eating disorders
first. This will be followed by the assessment process and will conclude by the tools recommended to be
used with working with people with eating disorders. This chapter will discuss the complex process of
assessing an individual with an eating disorders. Before discussing this topic it is important for the
professional to be able to differentiate the difference between clinical and non-clinical eating disorders.
A non clinical eating disorders…




 Summary of Recommendations

 List all recommendations from this chapter here.
      - We advise that the assessment of an adult with possible eating disorders should take into
           consideration the age, gender and the culture background of the individual (ungraded best
           practice statement).
      - We advise that adults with symptoms suggesting the presence of an eating disorder should be
           assessed by professionals trained in this specialty (ungraded best practice statement).
      - We advise that the assessment process for an individual presenting with symptoms of eating
           disorders should include assessment of capacity, medical assessment and psychiatric
           assessment (ungraded best practice statement).
      - We recommend that the eating disorders questionnaire (EDQ) and the SCOFF questionnaire
           should be used as part of the assessment process (moderate; strong).
      - We suggest that the assessment process should take into consideration risk factors such as
           age, gender and the existence of high levels of compulsive exercise (low; weak).




Subheading for Chapter Topic A (<not relevant in this example>)
Brief paragraph about what is included in this topic.

Here is where text providing rationale for the recommendation statement would go (about 3 paragraphs
maximum).

The assessment of people with symptoms suggesting the existence of eating disorders can be complex
as the definition of eating disorders varies according to age, gender and culture (REF). For example,




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Asian cultures present with lack of body fat consent and BMI which appear to be low for western
cultures are found to be not abnormal for certain Asian countries (REF, REF, REF). In addition gender
could affect the presentation of an eating disorders as male, particularly athletes, could present with a
full eating disorders in spite of having a healthy BMI (18-25). However, studies have also found that
opposite findings although those studies have been biased by the lack of controls. In view of this we
suggest that



    -   Here is the text for the recommendation statement. We advise that the assessment of an
        adult with possible eating disorders should take into consideration the age, gender and the
        culture background of the individual (ungraded best practice statement).




Here is where text providing rationale for the recommendation statement would go (about 3 paragraphs
maximum).

We commissioned a systematic review on tools for the assessment of eating disorders. The review
identify 12 studies evaluating the performance of tools. The studies were generally well-designed, but
there were concerns about risk of bias in 3 of the studies due to reporting bias. Overall, the body of
evidence was considerate moderate for two tools…



    -   Here is the text for the recommendation statement. We recommend that the eating disorders
        questionnaire (EDQ) and the SCOFF questionnaire should be used as part of the assessment
        process (moderate; strong).
    -




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Consensus Process
20 July 2018


We need the draft recommendation statements from each Chapter. Recall that recommendation
statements should be explicit and actionable (please see notes on identifying recommendations).

<To be added to the WPATH Guideline Development Methods document>

The following is the consensus process for recommendation statements. This will be used for the best
practice statements and for the evidence-based recommendation statements:
    1. Chapter members draft and reach consensus within chapter on recommendations statements.
    2. All recommendation statements are sent to the Guideline Steering Committee for review and
        revision.
    3. An online Delphi will be set up to be used by all SOC8 members to vote on recommendation
        statements. Members will be able to opt out of voting on statements they feel are outside of
        their expertise or experience, and will also have opportunity to provide feedback on each
        statement. Consensus will be considered reached if recommendation statement is agreed to by
        80% or more of votes. Those statements not reaching consensus will be sent back to all for
        another round of voting. These statements may be, as appropriate, revised based on feedback
        received. Three rounds will be held. Recommendation statements reaching consensus will be
        included in SOC8.




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From:                    Karen Robinson
To:                      Scott Leibowitz; ALC de <alc. devries@vumc. nl> Vries
Cc:                      Jon Arcelus; Tangpricha Vin; Eli Coleman; Blaine Vella
Subject:                 RE: adolescent chapter
Date:                    Thursday, November 1, 2018 9:37:00 AM


Scott – my apologies, I had tried to access the file when you first sent the link but got sidetracked as I was
unable to sign in. I just tried again with no luck so will create a new account and try to get to the file
before I need to head to the airport.
Thanks
Karen
From: Scott Leibowitz [mailto:scottleibowitzmd@gmail.com]
Sent: Sunday, October 28, 2018 11:42 AM
To: ALC de <alc. devries@vumc. nl> Vries <alc.devries@vumc.nl>
Cc: Karen Robinson <         REDACTED       Jon Arcelus <Jon.Arcelus@nottingham.ac.uk>; Tangpricha Vin
<vin.tangpricha@emory.edu>; Eli Coleman <colem001@umn.edu>; Blaine Vella <blaine@wpath.org>
Subject: Re: adolescent chapter
Hi all-
Thanks for sending these out Annelou.
Karen, I did add you to that drop box right during our last call last week. There's a column in our
document for your feedback regarding the actual literature review statement question you need for
the literature reviews we are requesting. We know we are up on the deadline, and everyone is
traveling to Buenos Aires in a few days. Let me know if you are able to find the document in the
drop box folder. It starts with: "USE THIS DOCUMENT"
THanks,
Scott
Scott Leibowitz, MD
Child and Adolescent Psychiatrist | Nationwide Children’s Hospital, Columbus, OH
Medical Director of Behavioral Health | THRIVE (gender and sex development) program
Associate Clinical Professor | The Ohio State University College of Medicine
(614) 722-2427 (office) | (614) 722-3913 (fax)
Scott.Leibowitz@nationwidechildrens.org (hospital) | scottleibowitzmd@gmail.com (academic, non-hospital related)
On Thu, Oct 25, 2018 at 2:23 AM Vries, A.L.C. de <alc.devries@vumc.nl> wrote:

   Dear Karen
   I promised you some articles on decision making in teens; these are review articles, but show that there
   is some evidence.
   I think we need this sort of evidence base on decision making capacity in adolescents, regarding
   medical affirming treatment.
   Hope this is of help and clarifies what we mean.
   Kind regards,
   Annelou
   Van: Karen Robinson <      REDACTED

   Verzonden: woensdag 17 oktober 2018 19:43
   Aan: 'Jon Arcelus' <Jon.Arcelus@nottingham.ac.uk>; vin.tangpricha@emory.edu
   CC: Scott Leibowitz <scottleibowitzmd@gmail.com>; Vries, A.L.C. de <alc.devries@vumc.nl>; Eli
   Coleman <colem001@umn.edu>; Blaine Vella <blaine@wpath.org>
   Onderwerp: RE: adolescent chapter
   Could someone send around the current version of the statements prior to the call? Thanks!
   From: Jon Arcelus [mailto:Jon.Arcelus@nottingham.ac.uk]
   Sent: Wednesday, October 17, 2018 1:23 PM



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 To: vin.tangpricha@emory.edu
 Cc: Karen Robinson <     REDACTED      Scott Leibowitz <scottleibowitzmd@gmail.com>; Vries, ALC de
 <alc.devries@vumc.nl>; Eli Coleman <colem001@umn.edu>; Blaine Vella <blaine@wpath.org>
 Subject: Re: adolescent chapter
 In order to make sure that we have one, shall we schedule a teleconference tomorrow Thursday at
 9:00 am EST time which is 14:00 UK time? Blaine can you plan one, please? Eli, can you join
 us?
 Prof. Jon Arcelus, MD, PhD
 Professor of Mental Health and of Transgender Health
 Academic address: Room B18, Institute of Mental Health, Jubilee Campus, University of
 Nottingham, Nottingham, NG7 2TU, UK
 Tel: +44 (0)115 7484098
 Clinical Address: Nottingham Centre for Transgender Health, 12 Broad street, Nottingham NG1
 3AL
 https://www.nottingham.ac.uk/medicine/about/psychiatryandappliedpsychology/people/jon.arcelus

 On 17 Oct 2018, at 16:21, Vin Tangpricha <vin.tangpricha@emory.edu> wrote:

       Hi Jon,
       Sorry, I am just seeing this now. I am at the airport heading to Denver for a meeting.
       I might be able to meet in the afternoons on Thur or Friday.
       On Wed, Oct 17, 2018 at 8:57 AM Jon Arcelus <Jon.Arcelus@nottingham.ac.uk>
       wrote:
         Thanks karen and Scott,
         Once we know whether vin, eli and annalou can do at 8:00 am 9:00 am or 10:00
         am EST time, which is 13:00, 14:00 and 15:00 in UK and one hour later in Holland,
         maybe Blaine can help us organizing a teleconference.
         thanks
         Jon
         Prof. Jon Arcelus, MD, PhD
         Professor of Mental Health and Transgender Health



         Academic address: Centre for Social Futures, Room B18, Institute of Mental Health, Jubilee Campus,
         Triumph Road, University of Nottingham, Nottingham, NG7 2TU, UK

         Clinical Address: Nottingham Centre for Transgender Health, 12 Broad Street, Nottingham NG1 3AL
         UK

         TEL +44 (0)115 8760160 (clinical)

         https://www.nottingham.ac.uk/medicine/about/psychiatryandappliedpsychology/people/jon.arcelus




         NEW BOOK: The Transgender Handbook: A Guide for Transgender People, Their Families and
         Professionals


         From: Karen Robinson <     REDACTED

         Sent: 17 October 2018 1:46 PM


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       To: 'Scott Leibowitz'; Jon Arcelus
       Cc: ALC de <alc. devries@vumc. nl> Vries; Eli Coleman
       Subject: RE: Re:

       All –

       I could do a call tomorrow (Thurs) between 8-10 or 1-3:00.

       It would be good if the current version of the statements could be forwarded.
       Systematic reviews covering bullet point one below are already underway for the
       endocrine chapter.

       Thanks,

       Karen

       From: Scott Leibowitz [mailto:scottleibowitzmd@gmail.com]
       Sent: Wednesday, October 17, 2018 8:33 AM
       To: Jon Arcelus <Jon.Arcelus@nottingham.ac.uk>
       Cc: ALC de <alc. devries@vumc. nl> Vries <alc.devries@vumc.nl>; Karen Robinson
       <     REDACTED        Eli Coleman <colem001@umn.edu>
       Subject: Re:

       Hi Jon-

       Glad you went into your spam folder to see that we are committee that is actively
       working on this and haven't been sitting quiet ducks! I agree- a conference call
       with me, you, Annelou, and Karen would probably very helpful. The current
       document is in the drop box and starts with "USE THIS DOCUMENT" but I have not
       yet updated the statements themselves to reflect all the feedback and lively
       discussion that our chapter calls have yielded. The columns to the right are notes
       from our chapter phone calls. We realize some of the statements need to be split
       into two and need to be made more actionable, than the way they are currently
       written. I was planning on doing that in the next day or so- after I get Eli and you
       the two slides for Buenos Aires. If I could simply update that later on tonight and
       send if that would be helpful going into a conference call, depending on when we
       schedule a call for.

       As you all know, the Adolescent chapter is going to be one of the most scrutinized
       chapters in the entire standards of care. We are a unique chapter when it comes
       to the evidence based review because we do feel that there is a justification to do
       a literature review on what we postulate will be evidence based statements about
       the interventions (even though we expect the evidence to be graded low).
       Essentially the literature reviews on some of our statements- as we plan on
       submitting once I edit them to incorporate the feedback from our workgroup- are
       important for the following reasons:




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                 Studies that demonstrate the psychological effectiveness of some of the
                 interventions (blockers, hormones) in adolescence all included cohorts who
                 went through a rather rigorous psychological assessment. We would like to
                 talk this through as a group because it's a very important point.
                 There is also literature on adolescent decision making and capacity to make
                 informed decisions that carry lifelong ramifications. Since our chapter is a
                 new chapter for the standards of care, and it focuses in on a developmental
                 age group/assessment, (as opposed to other chapters that are more
                 intervention specific), we are going to want to justify certain statements
                 with graded evidence in terms of looking at the literature on decision
                 making in the developmental cohort (adolescence) in general.

       I happen to have time tomorrow morning EST. Any time between 8-10 AM if that
       happens to work for you, Annelou and Karen. I also have time tomorrow between
       1-3:30 PM. (I'm not in clinic tomorrow- but rather at a local regional conference so
       there is some flexibility for me). Next week I'm in Seattle all week at AACAP, so
       hoping to finish all of this in short order and get our statements submitted. So the
       sooner the better.

       Thanks,

       Scott

       Scott Leibowitz, MD

       Child and Adolescent Psychiatrist | Nationwide Children’s Hospital, Columbus, OH

       Medical Director of Behavioral Health | THRIVE (gender and sex development) program

       Associate Clinical Professor | The Ohio State University College of Medicine

       (614) 722-2427 (office) | (614) 722-3913 (fax)

       Scott.Leibowitz@nationwidechildrens.org (hospital) | scottleibowitzmd@gmail.com (academic, non-hospital related)


       On Wed, Oct 17, 2018 at 4:30 AM Jon Arcelus <Jon.Arcelus@nottingham.ac.uk>
       wrote:

          Dear Scott and Annalou,
          I have just found a lot of emails from Scott in my spam box, so I am a bit lost as
          to where we are.
          will it help to plan a telephone conference?
          As far as I understand there is some confusion as to the fact that you both feel
          that some statements need a systematic literature review and the feedback you
          got from karen and myself was they were consensus statements, hence they did
          not.
          It is very confusing, I do agree with you.
          I wonder whether having a telephone conference between the 4 of us, may
          help to clarify things, so Karen can explain things a bit better. As I cant access


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           the last version of the document, it will be good so attach it too.
           if you feel that this is a possibility, I am quite flexible tomorrow (except from
           6:30-10 pm uk time), Friday and Saturday (I can move things around) , so send
           us some dates and times and see if we can have a chat.
           regards
           Jon

           Prof. Jon Arcelus, MD, PhD
           Professor of Mental Health and Transgender Health




           Academic address: Centre for Social Futures, Room B18, Institute of Mental Health, Jubilee
           Campus, Triumph Road, University of Nottingham, Nottingham, NG7 2TU, UK



           Clinical Address: Nottingham Centre for Transgender Health, 12 Broad Street, Nottingham NG1
           3AL UK

           TEL +44 (0)115 8760160 (clinical)

           https://www.nottingham.ac.uk/medicine/about/psychiatryandappliedpsychology/people/jon.arcelus




           NEW BOOK: The Transgender Handbook: A Guide for Transgender People, Their Families and
           Professionals



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      Vin Tangpricha, M.D., Ph.D.

      Professor of Medicine
      Program Director, Endocrinology & Metabolism Fellowship
      Program Director, ABIM Physician Scientist Pathway, Internal Medicine Residency
      Division of Endocrinology, Metabolism & Lipids
      Department of Medicine
      Emory University School of Medicine

      Staff Physician, Section of Endocrinology, Atlanta VA Medical Center
      Distinguished Physician, Emory Healthcare
      Clinic appointments, 404-778-3280
      Fellowship program inquires, Ms. Marcela Santamaria-Appling, 404-727-1549

      101 Woodruff Circle NE- WMRB1301
      Atlanta GA 30322
      Ph (404) 727-7254
      Fax (404) 592-6257
      Email vin.tangpricha@emory.edu
      Twitter: @vtangpricha
      Editor in Chief, Journal of Clinical and Translational Endocrinology (JCTE),
      www.jctejournal.com

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From:             Karen Robinson
To:               "Eli Coleman"
Cc:               Jon Arcelus; Asa Radix; Blaine Vella; Donna Kelly
Subject:          RE: Conference Call - SOC 8 Chapter Leads
Date:             Tuesday, May 1, 2018 8:05:30 AM


Thanks, Eli. It is important that we are on same page on the overall guideline development methods. There
remain several outstanding issues, as you noted below. I will ask someone on my team to work to get a call
with the chairs.
Thanks,
Karen
From: Eli Coleman [mailto:colem001@umn.edu]
Sent: Monday, April 30, 2018 2:56 PM
To: Karen Robinson <       REDACTED

Cc: Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Asa Radix <ARadix@callen-lorde.org>; Blaine Vella
<blaine@wpath.org>; Donna Kelly <donna@veritasmeetingsolutions.com>
Subject: Re: Conference Call - SOC 8 Chapter Leads
This looks good
The devil is on the details
If we could highlight the specific tasks for the workgroups and at least initial time lines
We need a general time line of the project
I don’t think the mechanism for community input and even membership has been thought through ases
mostly in expert opinion. And would not like that these recommendation graded as insufficient or inadequate.
We also need a vehicle for arriving at this expert opinion
There are still so many areas that we make recommendations

Sent from my iPhone

On Apr 30, 2018, at 1:30 PM, Karen Robinson <                   REDACTED   wrote:

       Forwarding document again.
       I look forward to responses and feedback. And, yes, I had requested that we meet again before
       meeting with the chapter leads but we will make it work.
       Thanks
       Karen
       From: Karen Robinson
       Sent: Wednesday, April 25, 2018 1:44 PM
       To: Eli Coleman <colem001@umn.edu>; Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Asa Radix
       <ARadix@callen-lorde.org>
       Cc: 'Blaine Vella' <blaine@wpath.org>; Donna Kelly <donna@veritasmeetingsolutions.com>
       Subject: RE: Conference Call - SOC 8 Chapter Leads
       All –
       For second call, do you mean Monday May 7th or May 9th, which is Wednesday.
       Also, please find attached a draft overview of the methods for guideline development. I had
       hoped to discuss this with the chairs first but it looks like the chapter lead calls are already
       scheduled. I have some questions for you, some of which are noted in comment boxes.
       Please also clarify what role you would like me to take during the calls. I have penciled in both.
       Thanks
       Karen
       From: Blaine Vella [mailto:blaine@wpath.org]


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   Sent: Wednesday, April 25, 2018 12:49 PM
   To: SOC 8 Chapter Leads <soc8chapterleads@wpath.org>
   Cc: Karen Robinson <        REDACTED

   Subject: Conference Call - SOC 8 Chapter Leads
   Importance: High
   Hello SOC8 Chapter Leads
   Listed below are the two scheduled calls for the next SOC8 call. If you cannot make one, I hope
   you can make the other. Eli & the co-chairs will follow up with agenda items, etc. I will also be
   sending out an Outlook calendar invite which should adjust to your time zone. If your time zone
   is not listed in the chart below, please let me know ASAP so I can access the number for you.
   Have a great morning, evening, afternoon
   Best
   Blaine
   Tuesday, May 1, 2018 10:00am – 11:00am (US, ET)
                Location                   Call Time     Call In Number     Call In Number 2      Passcode
                                        7 am Pacific
                                        9am Central
    North America (US & Canada)         10am Eastern     REDACTED          REDACTED              REDACTED


                                                                           REDACTED
    Amsterdam                           4pm              REDACTED                                REDACTED

    Ghent                               4pm              REDACTED                                REDACTED

                                                                            REDACTED
    London                              3pm              REDACTED                                REDACTED

                                                                            REDACTED
    Oslo                                4pm              REDACTED                                REDACTED

    Perth                               10pm             REDACTED                                REDACTED

    Venezuela                           10am             REDACTED                                REDACTED



   Monday, May 9, 2018 3:00pm – 4:00pm (US, ET)
                Location                   Call Time     Call In Number     Call In Number 2      Passcode
                                        7 am Pacific
                                        9am Central
    North America (US & Canada)         10am Eastern     REDACTED          REDACTED              REDACTED


                                                                           REDACTED
    Amsterdam                           9pm              REDACTED                                REDACTED

    Ghent                               9pm              REDACTED                                REDACTED

                                                                            REDACTED
    London                              8pm              REDACTED                                REDACTED

                                                                            REDACTED
    Oslo                                9pm              REDACTED                                REDACTED

    Perth                               3am              REDACTED                                REDACTED

    Venezuela                           3pm              REDACTED                                REDACTED



   <WPATH Guideline Development Methodology_Draft_24April2018.docx>




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From:              Karen Robinson
To:                Vries, ALC de
Cc:                Scott Leibowitz; ARCELUS Jon - Consultant Psychiatrist (Jon.Arcelus@nottshc.nhs.uk); Eli Coleman; Asa Radix
Subject:           RE: documents mentioned during call today
Date:              Monday, July 16, 2018 10:11:00 AM
Attachments:       image001.png


Thanks, all!
In general, given that this is a chapter focused on a particular subpopulation, I would suggest the
group think about what recommendations from the other chapters apply here. I don’t think we want
to duplicate recommendations made about surgery or hormone therapy, for instance. Instead, think
about what is different for this group – either in terms of adapting recommendations for general
trans population or in unique decisions needing guidance in this age group.
Also, for several of the questions, while they are interesting, it is not clear what recommendation
statement a review would inform.
e.g., for “1. Evidence for improved outcome when mental health is involved ?”
Define ‘mental health’ and ‘involved’
What is statement?
We advise that trans adolescents or those with gender dysphoria received assessment/treatment/?
from a mental health professional
Also, some questions would be useful for background but not lead to a recommendation:
e.g., Is there evidence for making a strict distinction between prepubescent children and pubescent
adolescents? Define adolescence transgender care.
     - This is a definitional background question not one leading to a specific recommendation.
I will send detailed comments on your question document later. I’m happy to have or join a call to
discuss.
Thanks,
Karen
From: Vries, ALC de [mailto:alc.devries@vumc.nl]
Sent: Monday, July 16, 2018 8:16 AM
                           REDACTED
To: Karen Robinson <
Cc: Scott Leibowitz <scottleibowitzmd@gmail.com>; ARCELUS Jon - Consultant Psychiatrist
(Jon.Arcelus@nottshc.nhs.uk) <Jon.Arcelus@nottshc.nhs.uk>
Subject: RE: documents mentioned during call today
Dear Karen
It’s been awhile since our conference call. Since then chapter members have continued working with
the documents that you sent around. We have selected the statements concerning adolescent care
and asked every member whether they thought that it should remain, change or be deleted or that
there should be statements added. From the replies of everyone Scott and I have merged one file
with what we now think should be the research questions for the systematic reviews. There is one
more round to go, everyone has the chance to comment on this document, but before finishing, we
are interested if these are the questions you can work with? Please let us know what your thoughts
are, or how you would suggest we proceed,
Best regards,
Annelou
-on behalf of Scott and Jon-



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             o Any statements missing?
             o Any statements to add?
             o Finalize classification as to evidence-based or good practice statement
As noted on the call, we know that this process will take time to fully complete. However, please let
Chairs and me know of statements you think will be evidence-based by end of this month so that we
can begin the systematic reviews.
I am happy to respond to questions individually and/or to join calls with Chapter members if that
would be useful.
This is a very important stage and we appreciate your guidance!
As promised, here are links to some of the resources/tools referenced in the methods document (we
will add references to the document as it continues to be revised):
GRADE www.gradeworkinggroup.org
Cochrane Risk of Bias, ROBINS: Cochrane Handbook training.cochrane.org/handbook
ROBIS http://www.bristol.ac.uk/population-health-sciences/projects/robis/robis-tool/
Thanks,
Karen
Evidence Review Team
Attachments:
SOC7 Statements - as Word doc
Notes about recommendation statements – as PDF




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From:             Karen Robinson
To:               Tishelman, Amy; Eli Coleman; Jon Arcelus (Jon.Arcelus@nottingham.ac.uk)
Cc:               Blaine Vella (blaine@wpath.org)
Subject:          RE: WPATH SOC8: Identification of statements [EXTERNAL]
Date:             Monday, May 21, 2018 7:54:00 AM
Attachments:      image001.jpg


You can think of them as questions if you like. Most people I work with find it easier to think of the
statement that they want to make or the guidance needed. You don’t need consensus around the
draft statements, nor do they need to be directional at this point. I am looking for something like, we
need a statement for whether to do X or Y for Z.
If you send questions, I will translate.
Thanks,
Karen
From: Tishelman, Amy [mailto:Amy.Tishelman@childrens.harvard.edu]
Sent: Friday, May 18, 2018 6:55 PM
                             REDACTED
To: Karen Robinson <                         Eli Coleman <colem001@umn.edu>; Jon Arcelus
(Jon.Arcelus@nottingham.ac.uk) <Jon.Arcelus@nottingham.ac.uk>
Cc: Blaine Vella (blaine@wpath.org) <blaine@wpath.org>
Subject: RE: WPATH SOC8: Identification of statements [EXTERNAL]
Some of the statements are very straightforward and I could generate them now and I don’t think
they would be controversial—many were included in the SOC7. However, I think that there are some
controversies in my chapter and we have a group of people with a diversity of ideas (I believe) which
is fine. A review of literature first may help us to develop consensus around statements, and be
more empirically grounded when possible. I talked this over today with another chapter Lead. I am
more familiar with this process: develop questionsàconduct lit search->read literature-> interpret
literature-> write statements/recommendations based on science and/or clinic expertise when
science is unavailable.
I am already familiar with a lot of relevant literature but I anticipate we will want to review literature
not examined before. Would it be okay if we took this path and send questions for you to review
prior to making statements/recommendations in some areas?
______________________________________
Amy C. Tishelman, Ph.D.
Senior Attending Psychologist
Director of Clinical Research
Disorders of Sex Development-
Gender Management Service (DSD-GeMS)
Assistant Professor of Psychology
Harvard Medical School
From: Karen Robinson [mailto:     REDACTED
Sent: Friday, May 18, 2018 9:38 AM
To: Tishelman, Amy; Eli Coleman; Jon Arcelus (Jon.Arcelus@nottingham.ac.uk)
Cc: Blaine Vella (blaine@wpath.org)
Subject: RE: WPATH SOC8: Identification of statements [EXTERNAL]
Amy –
Think about the final chapter – what are the statements you will want included? You can think about
what decision points or areas of uncertainty there are.. what are those points, regardless of whether


                                                                                            JHU_000001559
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this is evidence for rationale or not?
I am happy to have a call with you to discuss. Let me know some times that might work for you.
Thanks
Karen
From: Tishelman, Amy [mailto:Amy.Tishelman@childrens.harvard.edu]
Sent: Thursday, May 17, 2018 3:48 PM
                                                                REDACTED
To: Eli Coleman <colem001@umn.edu>; Karen Robinson <                            Jon Arcelus
(Jon.Arcelus@nottingham.ac.uk) <Jon.Arcelus@nottingham.ac.uk>
Cc: Blaine Vella (blaine@wpath.org) <blaine@wpath.org>
Subject: RE: WPATH SOC8: Identification of statements [EXTERNAL]
Hi All,
I don’t mean to belabor this conversation and I appreciate your email. I feel that it is hard to make
recommendations prior to doing the literature review, and I think this has been confusing me a bit.
Doesn’t it make sense to pose the questions, do the literature review and then, based on the data,
make recommendations? And when the data is lacking, then come up with recommendations based
on clinical judgement?
Thanks for weighing in on this.
Amy
______________________________________
Amy C. Tishelman, Ph.D.
Senior Attending Psychologist
Director of Clinical Research
Disorders of Sex Development-
Gender Management Service (DSD-GeMS)
Assistant Professor of Psychology
Harvard Medical School
From: Eli Coleman [mailto:colem001@umn.edu]
Sent: Thursday, May 17, 2018 2:52 PM
To: Karen Robinson
Cc: soc8chapterleads@wpath.org
Subject: Re: WPATH SOC8: Identification of statements [EXTERNAL]
Dear Amazing Chapter Leads,

I know that there has been some confusion and challenges regarding next steps - and
particularly setting up teleconferences with your committee members.

Jon, Asa and myself met today and we wanted to clarify some things:

      While we would like you to plan a teleconference with your committee as soon as
      possible, you do not have to wait for that meeting to get started with your work. If you
      can't get everyone on a call - they can catch up with minutes.

      You can start a lot of the process by email - and follow up with a conference call
      (allowing for more discussion time)

      You do not have to make sure that Karen, Jon, Asa, or myself are on your first
      teleconference. Most importantly you find out when your committee can best meet. We
      will try to be there - but you have enough information to get started. Just let Blaine and


                                                                               JHU_000001560
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        all of us when you are going to set it up. Blaine will offer assistance in making the call
        happen - or use your own teleconferencing capability.

        We suggest that the chapter leads review the summarized recommendations (for existing
        chapters) and add any suggested recommendations for consideration by your committee
        for input. Drafting something for your committee will facilitate things moving along.
        For new chapters, we suggest that you start drafting some recommendations for your
        committee to consider as well.

        Keep in mind the main thing we are looking for is prioritized recommendations that
        need systematic reviews by JH. We need to get the obvious ones to JH to begin their
        work. Others can be considered as we work through this process.

        You decide how you are going to work with your committee keeping in mind the time
        line. There is no one right way of doing this. Regular calls,email correspondence,
        meetign in a coffee shop in Amsterdam is all up to you.
        Start thinking about using the Buenos Aires Meeting as a possible face-to-face - with
        teleconference input for committee work. We will have a meeting scheduled on
        November 3 with the chapter leads followed by a broad meeting of all committee
        members. November 3 is a good day to think about meetings (or before) - and there are
        also lunch times through the conference. Jon will be preparing some options for times
        that your committees will meet - but for sure we will have a committee chapter lead
        meeting followed by a broad meeting just prior to the opening ceremony on Nov 3.
        Please plan accordingly .
        We are available any time for consult to move things along.

Hope these suggestions are helpful to you.

Best,

Eli, Asa and Jon
                                                                REDACTED
On Fri, May 11, 2018 at 10:16 AM, Karen Robinson <                             wrote:
All –
As discussed during our initial phone calls, a first task is to identify the specific statements to
be considered for SOC8. We therefore would ask that you (Chapter Leads initially, and then
Chapter Members) do following:

· Consider the end product. Think explicitly about the decisions for which you would like to
make recommendation statements. What are the areas of uncertainty in practice? Where is
guidance needed?

· Consider whether recommendations from other organizations may be adopted. For instance,
for decisions around hormone therapy the recommendations from the Endocrine Society may
be considered. For relevant statements, the Evidence Review Team would conduct a limited
search to identify any studies published since development of recommendation(s) being
considered for adoption.

· Review statements from SOC7 (for those chapters included in SOC7). The Evidence Review
Team extracted statements from SOC7. I have attached a document that lists these statements
by chapter. We have also made an initial classification as to whether the statement may be


                                                                              JHU_000001561
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evidence-based (for which a systematic review will be conducted) or a good practice statement
(see attached notes for definitions and examples).

               o Any statements missing?

               o Any statements to add?

               o Finalize classification as to evidence-based or good practice statement

As noted on the call, we know that this process will take time to fully complete. However,
please let Chairs and me know of statements you think will be evidence-based by end of this
month so that we can begin the systematic reviews.
I am happy to respond to questions individually and/or to join calls with Chapter members if
that would be useful.
This is a very important stage and we appreciate your guidance!
As promised, here as links to some of the resources/tools referenced in the methods document
(we will add references to the document as it continues to be revised):
GRADE www.gradeworkinggroup.org
Cochrane Risk of Bias, ROBINS: Cochrane Handbook training.cochrane.org/handbook
ROBIS http://www.bristol.ac.uk/population-health-sciences/projects/robis/robis-tool/
Thanks,
Karen
Evidence Review Team
Attachments:
SOC7 Statements - as Word doc
Notes about recommendation statements – as PDF
------------------------
Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
             REDACTED
      REDACTED
  REDACTED
    REDACTED




--
Eli Coleman, PhD
Academic Chair in Sexual Health
Professor and Director
Image removed by sender.




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                                              54
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From:            Karen Robinson
To:              Tishelman, Amy; Eli Coleman (colem001@umn.edu); Jon Arcelus (Jon.Arcelus@nottingham.ac.uk)
Subject:         RE: WPATH SOC8: Identification of statements [EXTERNAL]
Date:            Tuesday, May 15, 2018 4:48:00 PM


Amy –
The quick answer is do not feel limited by the prior statements. I would have members think about
decisions made by care providers, including parents, where guidance would be useful. What are the
areas of uncertainty? I would think first about those decision points. The question of whether there
might be evidence is secondary.
Does that help? I’m happy to have a chat with you and/or join a call with the chapter members.
Thanks
Karen
From: Tishelman, Amy [mailto:Amy.Tishelman@childrens.harvard.edu]
Sent: Tuesday, May 15, 2018 4:42 PM
To: Eli Coleman (colem001@umn.edu) <colem001@umn.edu>; Jon Arcelus
(Jon.Arcelus@nottingham.ac.uk) <Jon.Arcelus@nottingham.ac.uk>
                           REDACTED
Cc: Karen Robinson <
Subject: [ALERT: ATTACHMENT(S) MAY CONTAIN VIRUS]FW: WPATH SOC8: Identification of
statements [EXTERNAL]
Hi,
I have a quick question. The SOC8 chapter I am working on is new, and I think it is likely we will have
questions never posed before (e.g., how does general literature say that preschoolers, and school
age children communicate and what factors impact their verbalizations; what does research say
about validated measures of gender identity in young children, etc). We may not know our end
statements until we get the research (but we can make up something). To what extent do you want
us to be governed by the statements you have already sent?
Thanks,
Amy
______________________________________
Amy C. Tishelman, Ph.D.
Senior Attending Psychologist
Director of Clinical Research
Disorders of Sex Development-
Gender Management Service (DSD-GeMS)
Assistant Professor of Psychology
Harvard Medical School
From: Karen Robinson [mailto:    REDACTED
Sent: Friday, May 11, 2018 11:17 AM
To: 'soc8chapterleads@wpath.org'
Subject: WPATH SOC8: Identification of statements [EXTERNAL]
All –
As discussed during our initial phone calls, a first task is to identify the specific statements to be
considered for SOC8. We therefore would ask that you (Chapter Leads initially, and then Chapter
Members) do following:
     · Consider the end product. Think explicitly about the decisions for which you would like to make



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                                                        55
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          recommendation statements. What are the areas of uncertainty in practice? Where is
          guidance needed?
     · Consider whether recommendations from other organizations may be adopted. For instance,
          for decisions around hormone therapy the recommendations from the Endocrine Society
          may be considered. For relevant statements, the Evidence Review Team would conduct a
          limited search to identify any studies published since development of recommendation(s)
          being considered for adoption.
     · Review statements from SOC7 (for those chapters included in SOC7). The Evidence Review
          Team extracted statements from SOC7. I have attached a document that lists these
          statements by chapter. We have also made an initial classification as to whether the
          statement may be evidence-based (for which a systematic review will be conducted) or a
          good practice statement (see attached notes for definitions and examples).
                o Any statements missing?
                o Any statements to add?
                o Finalize classification as to evidence-based or good practice statement
As noted on the call, we know that this process will take time to fully complete. However, please let
Chairs and me know of statements you think will be evidence-based by end of this month so that we
can begin the systematic reviews.
I am happy to respond to questions individually and/or to join calls with Chapter members if that
would be useful.
This is a very important stage and we appreciate your guidance!
As promised, here as links to some of the resources/tools referenced in the methods document (we
will add references to the document as it continues to be revised):
GRADE www.gradeworkinggroup.org
Cochrane Risk of Bias, ROBINS: Cochrane Handbook training.cochrane.org/handbook
ROBIS http://www.bristol.ac.uk/population-health-sciences/projects/robis/robis-tool/
Thanks,
Karen
Evidence Review Team
Attachments:
SOC7 Statements - as Word doc
Notes about recommendation statements – as PDF
------------------------
Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
             REDACTED
     REDACTED
  REDACTED
   REDACTED




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From:            Karen Robinson
To:              Tangpricha, Vin
Subject:         Re: [External] Hormone chapter reviews: KQ 4, 5, 6, 7, 8, 9
Date:            Wednesday, November 6, 2019 8:16:51 PM


Hi Vin!
I can do between 10:15 and 12:30 ET on Friday. Would any of those times work?

Sent from my iPhone

On Nov 6, 2019, at 4:05 PM, Tangpricha, Vin <vtangpr@emory.edu> wrote:


       I think we agree more than disagree. Do you have anytime Friday? I am on a
       flight 1:30 to 3:30 but outside those windows I have good availability.

       Sent from my iPhone


             On Nov 6, 2019, at 3:41 PM, Karen Robinson < REDACTED
             wrote:



             Vin –
             In looking at the summary prompted by your question I noticed some text
             that could be clarified. Please see attached revised summary.
             I’m happy to have a call.
             In case helpful prior to call, please note a few things:
                    Biological plausibility is not (currently) a domain in grading strength
                    or certainty of evidence; we did not assess or consider this in the
                    systematic reviews.
                    I would expect the panel members to have some disagreements
                    with how we assessed some studies and classified the strength of
                    evidence. The benefit is that you should be able to see clearly how
                    we came to our conclusions (transparency) and the request would
                    be that the panel members be explicit about what they think needs
                    to be reconsidered.
                    Recommendations are based on more than the body of evidence.
                    The panel can certainly, for instance, consider biologic basis, other
                    types of evidence, as well as other issues like resource use,
                    acceptability, etc. in drafting recommendation statements.
                    Finally, as I am sure you know, it is unfortunately often the case
                    that we are disappointed at end of review to find, despite finding
                    additional studies, careful data extraction, risk of bias assessment,
                    etc. that there is a lack of evidence upon which to draw
                    conclusions. We actually talked about this challenge yesterday
                    during our quarterly AHRQ EPC meeting – no one likes it when our


                                                                                  JHU_000001573
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               end product says that we can’t draw conclusions because the
               evidence base is insufficient!
         Let me know a few times that would work for you
         Thanks
         Karen
         From: Tangpricha, Vin <vtangpr@emory.edu>
         Sent: November 6, 2019 2:22 PM
         To: Karen Robinson < REDACTED
         Subject: Re: [External] Hormone chapter reviews: KQ 4, 5, 6, 7, 8, 9
         Hi Karen,
         I have looked over these reports. Could we have a quick call maybe
         Friday morning about these? I agree with some of these reports that
         you couldn't make a conclusion on some of the questions but I
         wonder about KQ #6 which has a solid biologic basis. Could we
         discuss these before I send out to the group. My worry is that the
         group will say that the evidence reviews did not provide any
         additional information (and thus not useful).
         Sincerely,
         Vin
         Vin Tangpricha, M.D., Ph.D.

         Professor of Medicine
         Program Director, Endocrinology & Metabolism Fellowship
         Division of Endocrinology, Metabolism & Lipids
         Department of Medicine
         Emory University School of Medicine

         Staff Physician, Section of Endocrinology, Atlanta VA Medical
         Center
         Distinguished Physician, Emory Healthcare
         Clinic appointments, 404-778-3280
         Fellowship program inquires, Ms. Marcela Santamaria-Long,
         404-727-1549
         Pronouns: He/Him/His

         101 Woodruff Circle NE- WMRB1301
         Atlanta GA 30322
         Ph (404) 727-7254
         Fax (404) 592-6257
         Email vin.tangpricha@emory.edu
         Twitter: @vtangpricha
         Editor in Chief, Journal of Clinical and Translational
         Endocrinology (JCTE), www.jctejournal.com

         From: Karen Robinson < REDACTED


                                                                           JHU_000001574
                                             58
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         Sent: Tuesday, November 5, 2019 23:20
         To: Tangpricha, Vin <vtangpr@emory.edu>
         Subject: [External] Hormone chapter reviews: KQ 4, 5, 6, 7, 8, 9
         Vin –
         Please find attached the reports for 7 key questions (key questions were
         defined in protocol). We are working to finalize the other questions and
         will send as soon as complete.
         Thanks
         Karen

         This e-mail message (including any attachments) is for the sole use of
         the intended recipient(s) and may contain confidential and privileged
         information. If the reader of this message is not the intended
         recipient, you are hereby notified that any dissemination, distribution
         or copying of this message (including any attachments) is strictly
         prohibited.

         If you have received this message in error, please contact
         the sender by reply e-mail message and destroy all copies of the
         original message (including attachments).
         <Hormone KQ6 Transgender Men 31Oct19 06Nov19.docx>




                                                                                   JHU_000001575
                                                          59
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From:            Karen Robinson
To:              Asa Radix
Cc:              Jon Arcelus; Eli Coleman
Subject:         my slides from Saturday
Date:            Sunday, November 4, 2018 7:16:00 PM
Attachments:     WPATH SOC8 ChapterLeadsMeeting 3Nov18.pptx


Asa – Per request, please find my slides from Saturday.
I will upload these, as well as the other documents I have previously distributed, to the DropBox
folder when I get back to office.
Thanks,
Karen




                                                                                JHU_000001611
                                                    60
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Overview of Methods and Status

                November 2018

  WPATH SOC8 Chairs, Chapter Leads
          and ERT (JHU)



                                                                   JHU_000001612

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   Clinical Practice Guidelines
Systematically developed statements that
include recommendations, strategies, or
information that assist physicians and/or
other health care practitioners and patients
make decisions about appropriate health care
for specific clinical circumstances.




                                WPATH SOC8                        JHU_000001613
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                                                             JHU_000001614

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                Guideline Process

1. Identify scope
2. Convene group
3. Refine questions
4. Assess evidence
5. Draft guideline
6. External review
7. Disseminate guidelin


                                  WPATH SOC8                         JHU_000001615
                                          64
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           What makes a good guideline?


                        Domains:
                        1. Scope & Purpose
                        2. Stakeholder Involvement
                        3. Rigour of Development
                        4. Clarity of Presentation
                        5. Applicability
                        6. Editorial Independence



                               WPATH SOC8                        JHU_000001616
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                 1. Identify Scope
• Develop SOC8
  – Chapters, including new chapters identified

                                                      AGREE
                                                      - Scope and Purpose




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                                         66
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              2. Convene group
• Chairs
• Chapter Leads and Members
• Methodologist             AGREE
                                                     - Stakeholder
                                                       involvement
                                                     - Editorial
                                                       independence



                                 WPATH SOC8                        JHU_000001618
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    AGREE Domain 6. Editorial Independence

Items:
• View of funding bod
   have not influenced
   content
• Competing interests
   development group
   members recorded a
   addressed



April 2016                                                                JHU_000001619
                                               68
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              3. Refine questions
Task discussed during initial calls:
To identify and refine questions for systematic
reviews
                                                              AGREE
                                                              - Scope
• Review statements from SOC7                                 - Rigour of
• Draft recommendations                                         development




                                   WPATH SOC8                        JHU_000001620
                                          69
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               SOC7 Statements
                               (May)




                              WPATH SOC8                       JHU_000001621
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                              WPATH SOC8                     JHU_000001622

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                 4. Assess Evidence
• ERT:
  – Conduct systematic reviews
  – Strength of evidence
• Chapter Members:
  – Provide guidance
  – Confirm summary and strength of evidence
                                                         AGREE
                                                         - Rigour of
                                                           development
                                    WPATH SOC8                       JHU_000001623

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 AGREE Domain 3. Rigour of Development

Items:
• Systematic search                           • Health benefits, side
• Clear selection criteria                      effects and risks
• Strengths and                                 considered
   limitations of body of                     • Explicit link between
   evidence                                     recommendations and
• Methods for                                   evidence
   formulating                                • Externally reviewed
   recommendations                            • Procedure for updating

                                     WPATH SOC8                        JHU_000001624
                                         73
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                5. Draft guideline
• Chapter Members:
  – Write/Revise recommendation statements
    (informed by systematic review, as applicable)
  – Rate strength of each statement (as applicable)
  – Write accompanying text
                                 AGREE
                                 - Clarity of
                                     presentation


                                  WPATH SOC8                        JHU_000001625
                                         74
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                             WPATH S                          JHU_000001626

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                6. External review
• External to SOC8 members:
  – Presentation to WPATH Board
  – Public review
• SOC8 members respond to comments and
  revise guideline
                                                    AGREE
                                                    - Rigour of
                                                      development


                                  WPATH SOC8                        JHU_000001627
                                         76
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                 7. Implementation
• Publication
• Other formats or method?




                                    WPATH SOC8                        JHU_000001628
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                                                             JHU_000001629

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         Systematic Reviews 101




                             WPATH SOC8                          JHU_000001630
                                  79
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               Systematic Reviews
A review of existing evidence that uses explicit
methods of identification, selection and
validation of included information
• Meta-analysis uses statistical methods to
  quantitatively summarize results of similar but
  separate studies



                                   WPATH SOC8                        JHU_000001631
                                         80
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Systematic Review Process

          Definition of question(s)

         Identification of evidence

            Selection of evidence

            Evaluation of evidence

            Synthesis of evidence

                           WPATH SOC8                        JHU_000001632
                                   81
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        Timeline for Systematic Review


    Protocol
Refine Question              Screening                        Synthesis




0                                                                            ≥ 12 months

               Searching                   Abstraction & Appraisal




                                      WPATH SOC8                        JHU_000001633
                                           82
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           Definition of Questions
• Can it be answered?
  – uncertainty
  – availability of evidence
• Clear and specific
  – specify inclusion/exclusion criteria


 Drive ALL steps in process


                                     WPATH SOC8                        JHU_000001634
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Example of vague question:

What is the best strategy to prevent smoking in
                  young people?




                                   WPATH SOC8                          JHU_000001635
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                                                             JHU_000001637

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        Identification of Evidence
• Identify all possibly relevant studies
• Develop search protocol:
  – Sources: databases and hand searching
  – How searched
  – Dates
  – Strategies
  – Tracking
  – Documentation


                                     WPATH SOC8                        JHU_000001638
                                       87
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            Selection of Evidence
• Apply specific pre-defined inclusion/exclusion
  criteria
• Screen at two levels:
  – abstracts and titles
  – full-text
• Tracking



                                   WPATH SOC8                        JHU_000001639
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                                                • Two independent screeners
                                                • All data entered into database
                                                • Disagreements resolved by
                                                 consensus or by third reviewer


                                  WPATH SOC8                      JHU_000001640
                                  89
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Summary of Search and Review Process




                                WPATH SOC8                        JHU_000001641
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                                                   •Articles excluded at full-text level
                                                   listed with reason(s) excluded
                                                   •Included in report




                            WPATH SOC8                      JHU_000001642
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          Evaluation of Evidence
• Assess risk of bias of individual studies:
  – Select tool based on study design


• Abstraction of relevant data
  – Including elements of PICO




                                     WPATH SOC8                        JHU_000001643
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             Synthesis of Evidence
• Qualitative
• Quantitative




                                    WPATH SOC8                        JHU_000001644
                                      93
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                                                             JHU_000001645

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                                                             JHU_000001646

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                Certainty in Evidence
        GRADE Quality of the Evidence
Four levels
A     High       We are very confident that the true effect lies
                 close to that of the estimate of the effect

                                  We are moderately confident in the effect
B      Moderate                   estimate: The true effect is likely to be close to
                                  the estimate of the effect, but there is a
                                  possibility that it is substantially different

                                  Our confidence in the effect estimate is limited:
C      Low                        The true effect may be substantially different
                                  from the estimate of the effect

                                  We have very little confidence in the effect
D      Very low                   estimate: The true effect is likely to be
                                  substantially different from the estimate of effect
                                   WPATH SOC8                       JHU_000001647
                                          96
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                       GRADE System

     HIGH     ⊕⊕⊕⊕                                A
     MODERATE ⊕⊕⊕                                B
                                                                  Confidence
     LOW      ⊕⊕                                C
     VERY LOW ⊕                                D

Randomised controlled trials start as High
Observational studies start as Low

                                     WPATH SOC8                        JHU_000001648
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                                                             JHU_000001649

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                                                             JHU_000001650

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                    Current Status of SRs
Chapter        Number of   Protocol    Searching          Citations screen at   Citations screen     Data abstraction
               SR                      electronic         the title-abstract    at the article
               questions               databases          screening             screening




Hormone        13          Completed   Completed          N =1508               N =390               Not started yet
Therapy
                                       (PubMed®,          Completed             Ongoing
                                       Embase®, and
                                       Pyscinfo)




Voice          8           Completed   Completed          N =631                Not started yet      Not started yet
                                                          Ongoing
                                       (PubMed®,
                                       CINAHL, Embase®,
                                       and Pyscinfo)




Surgery        11          Drafted




                                            WPATH SOC8                                             JHU_000001651
                                                    100
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   REDACTED
    REDACTED

 From: Strang, John [mailto:JStrang@childrensnational.org]
 Sent: Wednesday, May 30, 2018 8:56 AM
 To: Scott Leibowitz <scottleibowitzmd@gmail.com>; adolescentsoc8@wpath.org
                             REDACTED
 Cc: Karen Robinson <                        Blaine Vella <blaine@wpath.org>; Eli Coleman
 <colem001@umn.edu>; Jon Arcelus <jon.arcelus@nottingham.ac.uk>
 Subject: RE: [EXTERNAL] SOC8- Adolescent- call and identification of statements
 Thanks, Scott!
 Might I jump in and ask about the research review team (Johns Hopkins) – would it make sense for
 us to meet with them at least once to provide some context? Do they deeply understand gender
 care and the broad gender spectrum? Do they understand limitations and challenges of research
 in this field including groups that are not yet represented in research?
 I completely support an independent research review, but I would hope that those doing the
 review would be alerted to key aspects of care and challenges in this research to provide them
 some context for interpretations.
 John
 From: Scott Leibowitz [mailto:scottleibowitzmd@gmail.com]
 Sent: Wednesday, May 30, 2018 8:44 AM
 To: adolescentsoc8@wpath.org
 Cc:    REDACTED      Blaine Vella; Eli Coleman; Jon Arcelus
 Subject: [EXTERNAL] SOC8- Adolescent- call and identification of statements
 ATTENTION: External Email! Do not click attachments/links unless sender is known.

 Dear Adolescent SOC8 committee:
 OK, thank you all for getting your doodle polls in. There are two times that had the most
 attendees participating which stand out as general possibilities. One had 7 responses (Laura
 and Jon cannot do, although perhaps we can get Laura to participate in a 7AM call if we
 send her a coffee gift certificate) and the other had 8 responses (everyone can do except for
 me which is during a time I usually see a patient, so I will have to move my patient around
 in order to accommodate this time).
 The two general times are:

        Mondays: 7A PST/10A EST/3PM London/4PM Amsterdam
        Wednesdays: 7A PST/10A EST/3PM London/ 4 PM Amsterdam
 Task 1: Identification of gaps and statements we would like to be able to include in
 SOC8.
 PLEASE START DOING THIS OVER EMAIL. Our statements will be classified as
 either evidence-based or "good practice statement." I already sent this out to folks a few
 weeks back, but now we really need to start doing this. I'm copying Karen Robinson from
 the Johns Hopkins group who is leading the evidence review team. The more we discuss the
 statements and gaps over email in advance, the more productive our phone call will be.
 Per the evidence review team at Johns Hopkins, think the following:

         · Consider the end product. Think explicitly about the decisions for which you would like
         to make recommendation statements. What are the areas of uncertainty in practice?
         Where is guidance needed?

         · Consider whether recommendations from other organizations may be adopted. For


                                                                               JHU_000001662
                                               101
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            instance, for decisions around hormone therapy the recommendations from the
            Endocrine Society may be considered. For relevant statements, the Evidence Review Team
            would conduct a limited search to identify any studies published since development of
            recommendation(s) being considered for adoption.

            · Review SOC7 to see what is not included.
 Task 2: Initial phone call date
 Here are the four options at the above times. Mon June 4th, Weds June 6th, Mon June 11th,
 Weds June 13th.
 Will set up another doodle poll right now. Please fill it out within the next two days so we
 can get this first call scheduled.
 https://doodle.com/poll/a8mve2ryvigcab5w
 Thanks everyone,
 Scott
 Scott Leibowitz, MD
 Child and Adolescent Psychiatrist | Nationwide Children’s Hospital, Columbus, OH
 Medical Director of Behavioral Health | THRIVE (gender and sex development) program
 Associate Clinical Professor | The Ohio State University College of Medicine
 (614) 722-2427 (office) | (614) 722-3913 (fax)
 Scott.Leibowitz@nationwidechildrens.org (hospital) | scottleibowitzmd@gmail.com (academic, non-hospital related)




                                                                                                                    JHU_000001663
                                                                    102
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From:            Karen Robinson
To:              Strang, John; Scott Leibowitz; adolescentsoc8@wpath.org
Cc:              Blaine Vella; Eli Coleman; Jon Arcelus
Subject:         RE: [EXTERNAL] SOC8- Adolescent- call and identification of statements
Date:            Wednesday, May 30, 2018 9:52:00 AM


John –
To confirm as others have chimed in, I am trying to participate in all of the chapter calls. As the
domain experts please share with me the specific challenges in the field for your chapter scope,
including challenges in the research literature. It is also very important for us to have discussions at
the start of the guideline process so that the questions are well-defined and ‘right’. That is, that the
questions lead to explicit recommendation statements, and are fully defined in terms of PICO
(population, intervention, comparison, outcomes, plus timing, setting).
Please feel free to contact me directly with any questions or concerns. I look forward to working with
you all.
Thanks,
Karen
-----------------------
Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
            REDACTED




   REDACTED

From: Strang, John [mailto:JStrang@childrensnational.org]
Sent: Wednesday, May 30, 2018 8:56 AM
To: Scott Leibowitz <scottleibowitzmd@gmail.com>; adolescentsoc8@wpath.org
                           REDACTED
Cc: Karen Robinson <                       Blaine Vella <blaine@wpath.org>; Eli Coleman
<colem001@umn.edu>; Jon Arcelus <jon.arcelus@nottingham.ac.uk>
Subject: RE: [EXTERNAL] SOC8- Adolescent- call and identification of statements
Thanks, Scott!
Might I jump in and ask about the research review team (Johns Hopkins) – would it make sense for
us to meet with them at least once to provide some context? Do they deeply understand gender
care and the broad gender spectrum? Do they understand limitations and challenges of research in
this field including groups that are not yet represented in research?
I completely support an independent research review, but I would hope that those doing the review
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John
From: Scott Leibowitz [mailto:scottleibowitzmd@gmail.com]
Sent: Wednesday, May 30, 2018 8:44 AM
To: adolescentsoc8@wpath.org
Cc:    REDACTED      Blaine Vella; Eli Coleman; Jon Arcelus
Subject: [EXTERNAL] SOC8- Adolescent- call and identification of statements
ATTENTION: External Email! Do not click attachments/links unless sender is known.


                                                                                          JHU_000001666
                                                         103
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Dear Adolescent SOC8 committee:
OK, thank you all for getting your doodle polls in. There are two times that had the most
attendees participating which stand out as general possibilities. One had 7 responses (Laura
and Jon cannot do, although perhaps we can get Laura to participate in a 7AM call if we send
her a coffee gift certificate) and the other had 8 responses (everyone can do except for me
which is during a time I usually see a patient, so I will have to move my patient around in
order to accommodate this time).
The two general times are:

      Mondays: 7A PST/10A EST/3PM London/4PM Amsterdam
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Task 1: Identification of gaps and statements we would like to be able to include in
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PLEASE START DOING THIS OVER EMAIL. Our statements will be classified as either
evidence-based or "good practice statement." I already sent this out to folks a few weeks back,
but now we really need to start doing this. I'm copying Karen Robinson from the Johns
Hopkins group who is leading the evidence review team. The more we discuss the statements
and gaps over email in advance, the more productive our phone call will be.
Per the evidence review team at Johns Hopkins, think the following:

           · Consider the end product. Think explicitly about the decisions for which you would like to
           make recommendation statements. What are the areas of uncertainty in practice? Where is
           guidance needed?

           · Consider whether recommendations from other organizations may be adopted. For
           instance, for decisions around hormone therapy the recommendations from the Endocrine
           Society may be considered. For relevant statements, the Evidence Review Team would
           conduct a limited search to identify any studies published since development of
           recommendation(s) being considered for adoption.

           · Review SOC7 to see what is not included.
Task 2: Initial phone call date
Here are the four options at the above times. Mon June 4th, Weds June 6th, Mon June 11th,
Weds June 13th.
Will set up another doodle poll right now. Please fill it out within the next two days so we can
get this first call scheduled.
https://doodle.com/poll/a8mve2ryvigcab5w
Thanks everyone,
Scott
Scott Leibowitz, MD
Child and Adolescent Psychiatrist | Nationwide Children’s Hospital, Columbus, OH
Medical Director of Behavioral Health | THRIVE (gender and sex development) program
Associate Clinical Professor | The Ohio State University College of Medicine
(614) 722-2427 (office) | (614) 722-3913 (fax)
Scott.Leibowitz@nationwidechildrens.org (hospital) | scottleibowitzmd@gmail.com (academic, non-hospital related)




                                                                                                                   JHU_000001667
                                                                      104
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From:            Karen Robinson
To:              Vries, A.L.C. de; "Jon Arcelus"; vin.tangpricha@emory.edu
Cc:              Scott Leibowitz; Eli Coleman; Blaine Vella
Subject:         RE: adolescent chapter
Date:            Thursday, November 1, 2018 9:19:00 AM


Thanks for forwarding these articles.
From our prior discussions, I understood the issue for this topic to be the age criteria for decision
making, the capacity for informed consent. Here is the question I noted from our phone call: “At what
age (by x, or range) does an individual have capacity for medical decision making?” Let me know if I
have this wrong.
The articles forwarded provide limited indirect evidence for this question. Please let me know if I
missed something:
    · Quinn summarizes a variety of studies mostly focused on adolescent patients desires to be part of
        decision making. I didn’t see any studies that assessed ‘capacity’ or age of such capacity.
    · Byrnes is a narrative review of different aspects of decision making and I didn’t see any specific
        studies cited.
    · Grootens provides an overview of the components of decision making and, in particular, the brain
        or neurodevelopment aspects of competence. The conclusion of around 12 years of age as the
        threshold for competence seemed to be based on one study assessing the use of the
        MacArthur Tool. I did a quick search and found no such studies in transgender or any more
        generally in adolescents. Are there studies in transgender or other populations assessing age of
        decision making capacity? Is this the question you want assessed?
In general, I think you would be better served to cite these and related reviews as rationale for good
practice statement(s). However, I am happy to discuss further and look forward to any clarifications.
Thanks
Karen
From: Vries, A.L.C. de [mailto:alc.devries@vumc.nl]
Sent: Thursday, October 25, 2018 2:23 AM
To: Karen Robinson <       REDACTED        'Jon Arcelus' <Jon.Arcelus@nottingham.ac.uk>;
vin.tangpricha@emory.edu
Cc: Scott Leibowitz <scottleibowitzmd@gmail.com>; Eli Coleman <colem001@umn.edu>; Blaine Vella
<blaine@wpath.org>
Subject: RE: adolescent chapter
Dear Karen
I promised you some articles on decision making in teens; these are review articles, but show that there
is some evidence.
I think we need this sort of evidence base on decision making capacity in adolescents, regarding
medical affirming treatment.
Hope this is of help and clarifies what we mean.
Kind regards,
Annelou
Van: Karen Robinson <       REDACTED

Verzonden: woensdag 17 oktober 2018 19:43
Aan: 'Jon Arcelus' <Jon.Arcelus@nottingham.ac.uk>; vin.tangpricha@emory.edu
CC: Scott Leibowitz <scottleibowitzmd@gmail.com>; Vries, A.L.C. de <alc.devries@vumc.nl>; Eli
Coleman <colem001@umn.edu>; Blaine Vella <blaine@wpath.org>


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                                                            105
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Onderwerp: RE: adolescent chapter
Could someone send around the current version of the statements prior to the call? Thanks!
From: Jon Arcelus [mailto:Jon.Arcelus@nottingham.ac.uk]
Sent: Wednesday, October 17, 2018 1:23 PM
To: vin.tangpricha@emory.edu
Cc: Karen Robinson <     REDACTED      Scott Leibowitz <scottleibowitzmd@gmail.com>; Vries, ALC de
<alc.devries@vumc.nl>; Eli Coleman <colem001@umn.edu>; Blaine Vella <blaine@wpath.org>
Subject: Re: adolescent chapter
In order to make sure that we have one, shall we schedule a teleconference tomorrow Thursday at
9:00 am EST time which is 14:00 UK time? Blaine can you plan one, please? Eli, can you join
us?
Prof. Jon Arcelus, MD, PhD
Professor of Mental Health and of Transgender Health
Academic address: Room B18, Institute of Mental Health, Jubilee Campus, University of
Nottingham, Nottingham, NG7 2TU, UK
Tel: +44 (0)115 7484098
Clinical Address: Nottingham Centre for Transgender Health, 12 Broad street, Nottingham NG1
3AL
https://www.nottingham.ac.uk/medicine/about/psychiatryandappliedpsychology/people/jon.arcelus

On 17 Oct 2018, at 16:21, Vin Tangpricha <vin.tangpricha@emory.edu> wrote:

      Hi Jon,
      Sorry, I am just seeing this now. I am at the airport heading to Denver for a meeting.
      I might be able to meet in the afternoons on Thur or Friday.
      On Wed, Oct 17, 2018 at 8:57 AM Jon Arcelus <Jon.Arcelus@nottingham.ac.uk>
      wrote:
        Thanks karen and Scott,
        Once we know whether vin, eli and annalou can do at 8:00 am 9:00 am or 10:00
        am EST time, which is 13:00, 14:00 and 15:00 in UK and one hour later in Holland,
        maybe Blaine can help us organizing a teleconference.
        thanks
        Jon
        Prof. Jon Arcelus, MD, PhD
        Professor of Mental Health and Transgender Health



        Academic address: Centre for Social Futures, Room B18, Institute of Mental Health, Jubilee Campus,
        Triumph Road, University of Nottingham, Nottingham, NG7 2TU, UK

        Clinical Address: Nottingham Centre for Transgender Health, 12 Broad Street, Nottingham NG1 3AL
        UK

        TEL +44 (0)115 8760160 (clinical)

        https://www.nottingham.ac.uk/medicine/about/psychiatryandappliedpsychology/people/jon.arcelus




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      NEW BOOK: The Transgender Handbook: A Guide for Transgender People, Their Families and
      Professionals


      From: Karen Robinson <        REDACTED

      Sent: 17 October 2018 1:46 PM
      To: 'Scott Leibowitz'; Jon Arcelus
      Cc: ALC de <alc. devries@vumc. nl> Vries; Eli Coleman
      Subject: RE: Re:

      All –

      I could do a call tomorrow (Thurs) between 8-10 or 1-3:00.

      It would be good if the current version of the statements could be forwarded.
      Systematic reviews covering bullet point one below are already underway for the
      endocrine chapter.

      Thanks,

      Karen

      From: Scott Leibowitz [mailto:scottleibowitzmd@gmail.com]
      Sent: Wednesday, October 17, 2018 8:33 AM
      To: Jon Arcelus <Jon.Arcelus@nottingham.ac.uk>
      Cc: ALC de <alc. devries@vumc. nl> Vries <alc.devries@vumc.nl>; Karen Robinson
      <     REDACTED        Eli Coleman <colem001@umn.edu>
      Subject: Re:

      Hi Jon-

      Glad you went into your spam folder to see that we are committee that is actively
      working on this and haven't been sitting quiet ducks! I agree- a conference call
      with me, you, Annelou, and Karen would probably very helpful. The current
      document is in the drop box and starts with "USE THIS DOCUMENT" but I have not
      yet updated the statements themselves to reflect all the feedback and lively
      discussion that our chapter calls have yielded. The columns to the right are notes
      from our chapter phone calls. We realize some of the statements need to be split
      into two and need to be made more actionable, than the way they are currently
      written. I was planning on doing that in the next day or so- after I get Eli and you
      the two slides for Buenos Aires. If I could simply update that later on tonight and
      send if that would be helpful going into a conference call, depending on when we
      schedule a call for.

      As you all know, the Adolescent chapter is going to be one of the most scrutinized
      chapters in the entire standards of care. We are a unique chapter when it comes
      to the evidence based review because we do feel that there is a justification to do


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      a literature review on what we postulate will be evidence based statements about
      the interventions (even though we expect the evidence to be graded low).
      Essentially the literature reviews on some of our statements- as we plan on
      submitting once I edit them to incorporate the feedback from our workgroup- are
      important for the following reasons:

                Studies that demonstrate the psychological effectiveness of some of the
                interventions (blockers, hormones) in adolescence all included cohorts who
                went through a rather rigorous psychological assessment. We would like to
                talk this through as a group because it's a very important point.
                There is also literature on adolescent decision making and capacity to make
                informed decisions that carry lifelong ramifications. Since our chapter is a
                new chapter for the standards of care, and it focuses in on a developmental
                age group/assessment, (as opposed to other chapters that are more
                intervention specific), we are going to want to justify certain statements
                with graded evidence in terms of looking at the literature on decision
                making in the developmental cohort (adolescence) in general.

      I happen to have time tomorrow morning EST. Any time between 8-10 AM if that
      happens to work for you, Annelou and Karen. I also have time tomorrow between
      1-3:30 PM. (I'm not in clinic tomorrow- but rather at a local regional conference so
      there is some flexibility for me). Next week I'm in Seattle all week at AACAP, so
      hoping to finish all of this in short order and get our statements submitted. So the
      sooner the better.

      Thanks,

      Scott

      Scott Leibowitz, MD

      Child and Adolescent Psychiatrist | Nationwide Children’s Hospital, Columbus, OH

      Medical Director of Behavioral Health | THRIVE (gender and sex development) program

      Associate Clinical Professor | The Ohio State University College of Medicine

      (614) 722-2427 (office) | (614) 722-3913 (fax)

      Scott.Leibowitz@nationwidechildrens.org (hospital) | scottleibowitzmd@gmail.com (academic, non-hospital related)


      On Wed, Oct 17, 2018 at 4:30 AM Jon Arcelus <Jon.Arcelus@nottingham.ac.uk>
      wrote:

         Dear Scott and Annalou,
         I have just found a lot of emails from Scott in my spam box, so I am a bit lost as
         to where we are.
         will it help to plan a telephone conference?


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        As far as I understand there is some confusion as to the fact that you both feel
        that some statements need a systematic literature review and the feedback you
        got from karen and myself was they were consensus statements, hence they did
        not.
        It is very confusing, I do agree with you.
        I wonder whether having a telephone conference between the 4 of us, may
        help to clarify things, so Karen can explain things a bit better. As I cant access
        the last version of the document, it will be good so attach it too.
        if you feel that this is a possibility, I am quite flexible tomorrow (except from
        6:30-10 pm uk time), Friday and Saturday (I can move things around) , so send
        us some dates and times and see if we can have a chat.
        regards
        Jon

        Prof. Jon Arcelus, MD, PhD
        Professor of Mental Health and Transgender Health




        Academic address: Centre for Social Futures, Room B18, Institute of Mental Health, Jubilee
        Campus, Triumph Road, University of Nottingham, Nottingham, NG7 2TU, UK



        Clinical Address: Nottingham Centre for Transgender Health, 12 Broad Street, Nottingham NG1
        3AL UK

        TEL +44 (0)115 8760160 (clinical)

        https://www.nottingham.ac.uk/medicine/about/psychiatryandappliedpsychology/people/jon.arcelus




        NEW BOOK: The Transgender Handbook: A Guide for Transgender People, Their Families and
        Professionals



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       communications with the University of Nottingham may be monitored
       where permitted by law.




     --
     Vin Tangpricha, M.D., Ph.D.

     Professor of Medicine
     Program Director, Endocrinology & Metabolism Fellowship
     Program Director, ABIM Physician Scientist Pathway, Internal Medicine Residency
     Division of Endocrinology, Metabolism & Lipids
     Department of Medicine
     Emory University School of Medicine

     Staff Physician, Section of Endocrinology, Atlanta VA Medical Center
     Distinguished Physician, Emory Healthcare
     Clinic appointments, 404-778-3280
     Fellowship program inquires, Ms. Marcela Santamaria-Appling, 404-727-1549

     101 Woodruff Circle NE- WMRB1301
     Atlanta GA 30322
     Ph (404) 727-7254
     Fax (404) 592-6257
     Email vin.tangpricha@emory.edu
     Twitter: @vtangpricha
     Editor in Chief, Journal of Clinical and Translational Endocrinology (JCTE),
     www.jctejournal.com

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 From:             Karen Robinson
 To:               "Nahata, Leena"; Reproductive Health SOC8 (reproductivehealthsoc8@wpath.org)
 Cc:               blaine@wpath.org; "ARadix@callen-lorde.org"
 Subject:          RE: draft and next call
 Date:             Monday, June 25, 2018 9:48:33 AM


 Leena –
 Thanks for sending the draft.
 I have copied section title “Preliminary Recommendations” and provide brief comments below. I
 hope this helps, Karen
 PRELIMINARY RECOMMENDATIONS:

Research is needed to understand fertility related perspectives as TG youth age and
 mature – do they experience distress and regret in a similar way as we have seen in
 oncology?

 KR: future research needs will be included in the SOC. I would suggest listing these
 separately from the recommendations.

Providers of TG care should be better trained to discuss infertility risk and FP.

 KR: This is on right track but needs more detail to be a recommendation. What does
 ‘better trained’ mean? Which providers? Think about make explicit statements that
 are actionable.

 From: Nahata, Leena [mailto:Leena.Nahata@nationwidechildrens.org]
 Sent: Monday, June 25, 2018 9:24 AM
 To: Reproductive Health SOC8 (reproductivehealthsoc8@wpath.org)
 <reproductivehealthsoc8@wpath.org>
 Cc: blaine@wpath.org; 'ARadix@callen-lorde.org' <ARadix@callen-lorde.org>; Karen Robinson
         REDACTED
 <
 Subject: draft and next call
 Hi all,
 To follow-up on our last call, I thought I’d get things going by sending a draft of my sections.
 Blaine/Asa/Karen – please let us know if this seems to be on the right track so that others can use
 the feedback as they are working on their drafts.
 I have included the minutes from the last call as a reminder of everyone’s sections.
 I’d like to have another group call in the next couple of weeks. Based on availability for the last call, I
 would propose the following options (all eastern standard time):
       1. Friday July 6 11am-12pm
       2. Friday July 13 10-11am
       3. Friday July 13 11am-12pm
 Please let me know if any of these DO NOT work for you and we will pick the one the majority of
 people can join. Thanks!
 Leena
 Leena Nahata, MD
 Assistant Professor of Clinical Pediatrics
 The Ohio State University College of Medicine


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Division of Endocrinology
Medical Director, Program for Fertility and Reproductive Health
Principal Investigator, Center for Biobehavioral Health
The Research Institute at Nationwide Children's Hospital
Phone 614-722-4502




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From:            Karen Robinson
To:              Jon Arcelus
Subject:         Re: Just checking with you
Date:            Thursday, September 27, 2018 6:19:06 AM
Attachments:     image001.png


I agree, Jon. This is a best practice statement. (It is also too long and needs revision to be
actionable.). I haven’t seen the statements Would you like to send to me for review?
Karen

Sent from my iPhone

On Sep 27, 2018, at 4:47 AM, Jon Arcelus <Jon.Arcelus@nottingham.ac.uk> wrote:


      Dear Karen,
      I am trying to look at the statements from the adolescent chapter and they have indicated
      quite a few requiring literature review, but in my view they are practice statements, this is
      an example:
      We recommend/suggest that for adolescents with gender dysphoria, the degree of
      reversibility of interventions should be based on the age, physical development and
      emotional maturity of the adolescent (e.g. most reversible medical treatment is with
      pubertal suppression which should be used before more definitive steps with sex
      hormones or surgical interventions).
      What do you think?
      Regards
      Jon
      Prof. Jon Arcelus, MD, PhD
      Professor of Mental Health and Transgender Health
      Academic address: Room B18, Institute of Mental Health, Jubilee Campus, Triumph Road,
      University of Nottingham, Nottingham, NG7 2TU, UK
      Clinical Address: Nottingham Centre for Transgender Health, 12 Broad Street, Nottingham,
      NG1 3AL, UK
      TEL +44 (0)115 7484098
      https://www.nottingham.ac.uk/medicine/about/psychiatryandappliedpsychology/people/jon.arcelus
      <image001.png>
      This message and any attachment are intended solely for the addressee
      and may contain confidential information. If you have received this
      message in error, please contact the sender and delete the email and
      attachment.
      Any views or opinions expressed by the author of this email do not
      necessarily reflect the views of the University of Nottingham. Email
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From:                    Karen Robinson
To:                      Scott Leibowitz
Cc:                      Jon Arcelus; ALC de <alc. devries@vumc. nl> Vries; Eli Coleman; Blaine Vella
Subject:                 RE: next steps- Adolescent SOC8
Date:                    Sunday, November 25, 2018 4:35:00 PM


Sure, let me know some good times. I think that Blaine can help setting up a call so I have copied her
here.
Thanks,
Karen
From: Scott Leibowitz [mailto:scottleibowitzmd@gmail.com]
Sent: Saturday, November 24, 2018 6:39 PM
                          REDACTED
To: Karen Robinson <
Cc: Jon Arcelus <jon.arcelus@nottingham.ac.uk>; ALC de <alc. devries@vumc. nl> Vries
<alc.devries@vumc.nl>; Eli Coleman <colem001@umn.edu>
Subject: Re: next steps- Adolescent SOC8
I hope that for those of us who celebrated, your Thanksgiving was a nice one.
Karen, Annelou, Jon- I think maybe we should get a call set up soon so we can finalize the
PICO structure for family acceptance.
Thanks,
Scott

Scott Leibowitz, MD
Child and Adolescent Psychiatrist | Nationwide Children’s Hospital, Columbus, OH
Medical Director of Behavioral Health | THRIVE (gender and sex development) program
Associate Clinical Professor | The Ohio State University College of Medicine
(614) 722-2427 (office) | (614) 722-3913 (fax)
Scott.Leibowitz@nationwidechildrens.org (hospital) | scottleibowitzmd@gmail.com (academic, non-hospital related)
                                                                                            REDACTED
On Tue, Nov 20, 2018 at 11:18 AM Karen Robinson <                                                                  wrote:

   Sorry for confusion, Scott. I was looking at the list you provided and thought it fell into same
   category as decision making. I have checked my notes and confirm that we will review ‘family
   acceptance’ looking at psychosocial outcomes. A couple of studies were mentioned as potentially
   eligible (NCT, US Trans Study, per my scribbles so might not be correct full names!).
   Let me know if you want to have a call. I think we have two things to clarify:

   1. For adolescent decision making, which bodies of indirect evidence are to be considered.

   2. Refinement of question for family acceptance (i.e., PICO).

   Thanks,
   Karen
   From: Scott Leibowitz [mailto:scottleibowitzmd@gmail.com]
   Sent: Tuesday, November 20, 2018 8:16 AM
                             REDACTED
   To: Karen Robinson <
   Cc: Jon Arcelus <jon.arcelus@nottingham.ac.uk>; ALC de <alc. devries@vumc. nl> Vries
   <alc.devries@vumc.nl>; Eli Coleman <colem001@umn.edu>
   Subject: Re: next steps- Adolescent SOC8
   Hi Karen,
   I apologize but I thought that the concept of family acceptance was something we discussed


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 has direct evidence and could be turned into a statement that has a systematic literature
 review done on it, with an actionable statement.
 My interpretation from last we left it was that you were going to help us with formulating
 the statement so we can make it actionable and turn it into PICO format.
 I know we're at the last and final step with this so we have to be quick. Thanks so much,
 Scott

 Scott Leibowitz, MD
 Child and Adolescent Psychiatrist | Nationwide Children’s Hospital, Columbus, OH
 Medical Director of Behavioral Health | THRIVE (gender and sex development) program
 Associate Clinical Professor | The Ohio State University College of Medicine
 (614) 722-2427 (office) | (614) 722-3913 (fax)
 Scott.Leibowitz@nationwidechildrens.org (hospital) | scottleibowitzmd@gmail.com (academic, non-hospital related)
                                                                                            REDACTED
 On Mon, Nov 19, 2018 at 9:07 PM Karen Robinson <                                                                    wrote:
    Thanks, Scott. It was nice to meet you and the rest of the chapter!
    As clarification, for those last two items you/your chapter are to identify the bodies of indirect
    evidence to be considered (for instance, for decision making we discussed several!). Also, we
    will help to identify evidence but will not be conducting systematic reviews and thus will not be
    grading the evidence.
    Thanks,
    Karen
    From: Scott Leibowitz [mailto:scottleibowitzmd@gmail.com]
    Sent: Monday, November 19, 2018 8:29 AM
                                                                               REDACTED
    To: Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Karen Robinson <
    Cc: ALC de <alc. devries@vumc. nl> Vries <alc.devries@vumc.nl>; Eli Coleman
    <colem001@umn.edu>
    Subject: next steps- Adolescent SOC8
    Hi Jon and Karen,
    It was wonderful getting a chance to meet in person with both of you while in Buenos
    Aires. Annelou and I are ready to discuss our next steps. We realize we are so far behind
    on finalizing "the questions" for systematic review. We spoke this morning and are going
    to be touching base again later on this evening to strategize a timeline for our chapter and
    to discuss logistical aspects of what is needed. We thought it would be a good idea to
    reach out to you both and get a sense as to what we need to discuss for our own call that
    is happening later tonight (5PM my time/11PM Annelou time).
    Summarizing our understanding from the meeting:

            Very little is happening in terms of systematic reviews for our chapter
            We understand the difference between direct evidence and indirect evidence.
            That what our committee has felt (and continues to feel) is evidence based
            (questions on stigma in community, family acceptance/rejection tied with
            outcomes, question on the role of mental health professional/assessment prior to
            medical interventions, gender identity change efforts/conversion therapies etc.) is
            thought of as indirect evidence.
            Adolescent medical decision making literature is something that the Johns Hopkins
            team is able to help out in terms of a literature review and grading.
            Family acceptance is something that the Johns Hopkins team is also willing to help
            out with in terms of a lit review and grading.
    We simply want to make sure we are now on the same page and have the correct to-do
    list/timeline in front of us.


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   Thanks,
   Scott

   Scott Leibowitz, MD
   Child and Adolescent Psychiatrist | Nationwide Children’s Hospital, Columbus, OH
   Medical Director of Behavioral Health | THRIVE (gender and sex development) program
   Associate Clinical Professor | The Ohio State University College of Medicine
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   Scott.Leibowitz@nationwidechildrens.org (hospital) | scottleibowitzmd@gmail.com (academic, non-hospital related)




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From:                    Karen Robinson
To:                      Scott Leibowitz; ALC de <alc. devries@vumc. nl> Vries
Cc:                      Eli Coleman; Jon Arcelus; Blaine Vella; Tangpricha Vin
Subject:                 RE: next steps- Adolescent SOC8
Date:                    Tuesday, December 4, 2018 7:30:00 AM


That is correct. We will send draft protocol to Scott and Annelou for review.
Thanks,
Karen
From: Scott Leibowitz [mailto:scottleibowitzmd@gmail.com]
Sent: Tuesday, December 4, 2018 7:10 AM
To: ALC de <alc. devries@vumc. nl> Vries <alc.devries@vumc.nl>
Cc: Eli Coleman <colem001@umn.edu>; Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Blaine Vella
<blaine@wpath.org>; Tangpricha Vin <vin.tangpricha@emory.edu>; Karen Robinson
      REDACTED
<
Subject: Re: next steps- Adolescent SOC8
Hi,
My understanding is that we discussed the PICO (which for us is actually PECO for this group
because the E/Exposure replaces the I/Intervention) yesterday morning and so I want to clarify
if that discussion was sufficient enough or not. Karen, do you need more from me on this?
THanks,
Scott

Scott Leibowitz, MD
Child and Adolescent Psychiatrist | Nationwide Children’s Hospital, Columbus, OH
Medical Director of Behavioral Health | THRIVE (gender and sex development) program
Associate Clinical Professor | The Ohio State University College of Medicine
(614) 722-2427 (office) | (614) 722-3913 (fax)
Scott.Leibowitz@nationwidechildrens.org (hospital) | scottleibowitzmd@gmail.com (academic, non-hospital related)
On Mon, Dec 3, 2018 at 10:05 AM Vries, A.L.C. de <alc.devries@vumc.nl> wrote:

   No Eli, that is not correct, sorry for the confusion, systematic review will be done on family
   acceptance/social acceptance and well-being; Scott will send the PICO out for that subject .
   Best
   Annelou
   Van: Eli Coleman <colem001@umn.edu>
   Verzonden: maandag 3 december 2018 15:23
   Aan: Vries, A.L.C. de <alc.devries@vumc.nl>
   CC: Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Blaine Vella <blaine@wpath.org>; Vin
   Tangpricha <vin.tangpricha@emory.edu>; Scott Liebowitz <scottleibowitzmd@gmail.com>; Karen
                    REDACTED
   Robinson <
   Onderwerp: Re: next steps- Adolescent SOC8
   This is good to hear. If I understand correctly, you Karen will not be conducting any
   systematic reviews for your chapter correct?
   Best,
   Eli
   On Mon, Dec 3, 2018 at 8:03 AM Vries, A.L.C. de <alc.devries@vumc.nl> wrote:
       Dear SOC steering committee,
       Scott, Karen and I had a good call today on the adolescent chapter. Since all of you could not



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   participate, Scott will summarize the call later and send out the reformulated recommendation
   on the relevance of family and social acceptance and the PICO we distracted from that
   recommendation.
   With regard to my questions below I have now understood from Karen that

   1) After finalizing the recommendations within our chapter (we probably need 1-2 more
   conference calls in December and January), Scott and I will send them to Karen and you as the
   steering committee; with your help they will be reformulated them so that consistency within
   the SOC is guaranteed and necessary rewording is proposed to increase actionability and clarity
   etc.

   2) After receiving the reformulated version of the recommendations, we as the adolescent
   chapter (leads , optionally with help of members) will work on writing the background
   information

   3) Karen will support us in finding some of the ‘indirect evidence literature’ with regard to
   medical decision making in adolescence, adolescent (neurobiological) development and it’s
   consequences for decision making, as well as providing evidence for appropriate ages for the
   different hormonal and surgical gender affirming interventions.

   I felt we made good progress today and the process we should follow was clarified!
   Best
   Annelou
   Van: Vries, A.L.C. de
   Verzonden: maandag 26 november 2018 13:32
                                                                                      REDACTED
   Aan: 'Scott Leibowitz' <scottleibowitzmd@gmail.com>; Karen Robinson <
   CC: Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Eli Coleman <colem001@umn.edu>; Blaine
   Vella <blaine@wpath.org>; vin.tangpricha@emory.edu
   Onderwerp: RE: next steps- Adolescent SOC8
   And if we make a call, I would like to clarify also what Karen’s role will be in re-formulating the
   recommendations? In our chapter, many of the formulations at present were considered by
   Karen as

   - not actionable

   - not precise or clear enough, in need of rewording

   - unsure how to implement them

   - more background information than a recommendation

   at present, our chapter group is not working yet on writing background information, but it
   seems that would only make sense at the moment that we have consensus about the
   recommendations? And will that be our task or will we get help for that?
   Annelou
   Van: Scott Leibowitz <scottleibowitzmd@gmail.com>
   Verzonden: zondag 25 november 2018 22:38

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Case 2:22-cv-00184-LCB-CWB Document 560-18 Filed 05/27/24 Page 120 of 297
                              REDACTED
   Aan: Karen Robinson <
   CC: Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Vries, A.L.C. de <alc.devries@vumc.nl>; Eli
   Coleman <colem001@umn.edu>; Blaine Vella <blaine@wpath.org>; vin.tangpricha@emory.edu
   Onderwerp: Re: next steps- Adolescent SOC8
   And I like Eli’s suggestion to include Vin, so I am copying him too.

   Sent by my iPhone
                                                                                       REDACTED
   On Nov 25, 2018, at 4:35 PM, Karen Robinson <                                                              wrote:

   Sure, let me know some good times. I think that Blaine can help setting up a call so I have
   copied her here.
   Thanks,
   Karen
   From: Scott Leibowitz [mailto:scottleibowitzmd@gmail.com]
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                             REDACTED
   To: Karen Robinson <
   Cc: Jon Arcelus <jon.arcelus@nottingham.ac.uk>; ALC de <alc. devries@vumc. nl> Vries
   <alc.devries@vumc.nl>; Eli Coleman <colem001@umn.edu>
   Subject: Re: next steps- Adolescent SOC8
   I hope that for those of us who celebrated, your Thanksgiving was a nice one.
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   the PICO structure for family acceptance.
   Thanks,
   Scott

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   Scott.Leibowitz@nationwidechildrens.org (hospital) | scottleibowitzmd@gmail.com (academic, non-hospital related)
                                                                                               REDACTED
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   1. For adolescent decision making, which bodies of indirect evidence are to be considered.

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   Thanks,
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   From: Scott Leibowitz [mailto:scottleibowitzmd@gmail.com]
   Sent: Tuesday, November 20, 2018 8:16 AM
                             REDACTED
   To: Karen Robinson <
   Cc: Jon Arcelus <jon.arcelus@nottingham.ac.uk>; ALC de <alc. devries@vumc. nl> Vries


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   <alc.devries@vumc.nl>; Eli Coleman <colem001@umn.edu>
   Subject: Re: next steps- Adolescent SOC8
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   discussed has direct evidence and could be turned into a statement that has a systematic
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   My interpretation from last we left it was that you were going to help us with formulating
   the statement so we can make it actionable and turn it into PICO format.
   I know we're at the last and final step with this so we have to be quick. Thanks so much,
   Scott

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   Child and Adolescent Psychiatrist | Nationwide Children’s Hospital, Columbus, OH
   Medical Director of Behavioral Health | THRIVE (gender and sex development) program
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   Scott.Leibowitz@nationwidechildrens.org (hospital) | scottleibowitzmd@gmail.com (academic, non-hospital related)
                                                                                              REDACTED
   On Mon, Nov 19, 2018 at 9:07 PM Karen Robinson <                                                                   wrote:
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   evidence to be considered (for instance, for decision making we discussed several!). Also, we
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   From: Scott Leibowitz [mailto:scottleibowitzmd@gmail.com]
   Sent: Monday, November 19, 2018 8:29 AM
                                                                              REDACTED
   To: Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Karen Robinson <
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   Subject: next steps- Adolescent SOC8
   Hi Jon and Karen,
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   Summarizing our understanding from the meeting:

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            We understand the difference between direct evidence and indirect evidence.
            That what our committee has felt (and continues to feel) is evidence based
            (questions on stigma in community, family acceptance/rejection tied with
            outcomes, question on the role of mental health professional/assessment prior to
            medical interventions, gender identity change efforts/conversion therapies etc.) is
            thought of as indirect evidence.
            Adolescent medical decision making literature is something that the Johns Hopkins
            team is able to help out in terms of a literature review and grading.


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           Family acceptance is something that the Johns Hopkins team is also willing to help
           out with in terms of a lit review and grading.
   We simply want to make sure we are now on the same page and have the correct to-do
   list/timeline in front of us.
   Thanks,
   Scott

   Scott Leibowitz, MD
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   Medical Director of Behavioral Health | THRIVE (gender and sex development) program
   Associate Clinical Professor | The Ohio State University College of Medicine
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   Scott.Leibowitz@nationwidechildrens.org (hospital) | scottleibowitzmd@gmail.com (academic, non-hospital related)




 --
 Eli Coleman, PhD
 Academic Chair in Sexual Health
 Professor and Director




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From:             Karen Robinson
To:               Jon Arcelus; Eli Coleman; Asa Radix
Cc:               Blaine Vella
Subject:          RE: Notes on consensus process.
Date:             Monday, July 16, 2018 9:50:00 AM


I agree that several are struggling. Part of this is due to lack of experience in guidelines and the very
short orientation we provided over the phone. A few leads seem to think that they are writing a
textbook or conducting research. There is an issue with the scope and purpose of chapters.
Clarification that SOC8 are guidelines not a textbook would be helpful.
I’m happy to have separate discussions with people. I think we talked about having another call with
the leads.
I have certainly heard the argument that they cannot make a statement without knowing the
evidence. However, these are guidelines and not research papers. As guidelines we want to provide
guidance for areas where the target audience needs guidance (areas of variation in practice,
addressing needs, areas of decisional uncertainty). The ‘results’ of a review should not dictate the
decisions for which statements are needed.
Some of the questions I just received from the adolescent chapter look ok. Many of the questions
provided, including the one you note below, are not specific enough for systematic review (seem to
be writing that textbook). That is one reason to ask back – what is the recommendation statement
this will inform?
For instance:
“what models of care exist? What evidence these is for efficacy?” à We advise using X model of
care in caring for transgender adolescents. I doubt there is evidence so I translated it to a best
practice statement
“they want to have a review as to the most effective psychological care for young people with
gender dysphoria” à Do they want to make a statement about a particular type of care? If so, then
a review on the effect of this type of care is needed. ‘Psychological support’ is not a specific type of
care – I would not use that in a recommendation statement as it is not actionable without definition.
I will copy you all in my response back to the adolescent group.
I am not sure what to suggest as way forward. Having the leads and chapters received consistent
feedback would be good. To that end, I am happy to participate in calls or respond to emails. It
seems that for many this is a scope/definitional issue – guidelines versus textbook.
Thanks,
Karen
From: Jon Arcelus [mailto:Jon.Arcelus@nottingham.ac.uk]
Sent: Monday, July 16, 2018 8:49 AM
                          REDACTED
To: Karen Robinson <                    Eli Coleman <colem001@umn.edu>; Asa Radix
<asa.radix@gmail.com>
Cc: Blaine Vella <blaine@wpath.org>
Subject: Re: Notes on consensus process.
Thanks Karen,
Yes, I have seen this document. I still think that chapter leads and members are having major
problems understanding how to put together a statement, as most think of developing a
question for a review.



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I have explained this a lot of times and most have seen the document you sent but they still
cant.
You must have received a list of questions from the adolescent chapter today which clearly
shows this. The issue that most have is that if we dont know what evidence is there, how can
we put together a statement to make a possible recommendation.
I think they have a point.
This is particularity the case for new chapters such as adolescent or assessments or the
adapted ones such as child. as they cant follow what it was done before.
No matter how many times I have a conversation about it they still come with questions and
no statements, I think we have a problem and not sure how to help them. I worry that people
are starting to give up,
for example: they want to have a review as to the most effective psychological care for young
people with gender dysphoria. This is usually a question for a literature review. and I think this
is reasonable. how can they translate this into statement?
psychological support is as effective/less effective/ more effective as blockers or family work is
as effective/less effective/more effective as ....and on and on...do you know what I mean?
The questions that they sent you, really shows the issues very clearly. I am starting to be
concerned about this.
I include a review I did sometime ago where the question is: what are the mortality rates for
people with eating disorders. as you can see , this is a question and cant be translated into a
statement. I know this does not lead to a recommendation but it could be "what are the risk
factors for mortality in people with eating disorders?"
I hope I am making sense.
Regards
Jon
Prof. Jon Arcelus, MD, PhD
Professor of Mental Health and Transgender Health



Academic address: Centre for Social Futures, Room C09, Institute of Mental Health, Jubilee Campus, Triumph Road,
University of Nottingham, Nottingham, NG7 2TU, UK

Clinical Address: Nottingham Centre for Transgender Health, 12 Broad Street, Nottingham NG1 3AL UK

TEL +44 (0)115 8760160 (clinical)

https://www.nottingham.ac.uk/medicine/about/psychiatryandappliedpsychology/people/jon.arcelus




NEW BOOK: The Transgender Handbook: A Guide for Transgender People, Their Families and Professionals


                            REDACTED
From: Karen Robinson <
Sent: 16 July 2018 13:27:24


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To: Eli Coleman; Jon Arcelus; Asa Radix
Cc: Blaine Vella
Subject: Notes on consensus process.
For your review:
We need the draft recommendation statements from each Chapter. Recall that recommendation
statements should be explicit and actionable (please see attached notes).
The following is the consensus process for recommendation statements. This will be used for the
best practice statements and for the evidence-based recommendation statements:
    1. Chapter members draft and reach consensus within chapter on recommendations statements.
    2. All recommendation statements are sent to the Guideline Steering Committee for review and
         revision.
    3. An online Delphi will be set up to be used by all SOC8 members to vote on recommendation
         statements. Members will be able to opt out of voting on statements they feel are outside of
         their expertise or experience, and will also have opportunity to provide feedback on each
         statement. Consensus will be considered reach if recommendation statement is agreed to by
         80% or more of votes. Those statements not reaching consensus will be sent back to all for
         another round of voting. These statements may be, as appropriate, revised based on
         feedback received. Three rounds will be held. Recommendation statements reaching
         consensus will be included in SOC8.

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From:            Karen Robinson
To:              Obedin-Maliver, Juno; Nahata, Leena
Subject:         RE: question
Date:            Sunday, November 25, 2018 5:00:00 PM
Attachments:     SOC8 ReproductiveHealth 2018-11-05 KR.docx
                 Protocol HormoneTherapy 17Oct18.docx


All –
Please see attached with suggestions and questions.
I am happy to discuss further.
Thanks,
Karen
From: Obedin-Maliver, Juno [mailto:Juno.Obedin-Maliver@ucsf.edu]
Sent: Tuesday, November 20, 2018 12:28 PM
                          REDACTED
To: Karen Robinson <                      Nahata, Leena <Leena.Nahata@nationwidechildrens.org>
Subject: Re: question
Hi Leena and Karen,
Hope this finds you both well. I sent along questions on 11/5/18. I am re-attaching those questions
we wrote for review here.
Hope this helps!
Cheers,
Juno
--
Juno Obedin-Maliver, MD, MPH, MAS
(Pronouns: she, her, hers)
Chief, Division of Gynecology
San Francisco VA Medical Center
Co-Director
The PRIDE Study
University of California, San Francisco
http://www.pridestudy.org/
Assistant Professor, Obstetrics, Gynecology & Reproductive Sciences
University of California, San Francisco
(e)ObedinMaliverJ(at)obgyn.ucsf.edu
                            REDACTED
From: Karen Robinson <
Date: Tuesday, November 20, 2018 at 8:38 AM
To: "Nahata, Leena" <Leena.Nahata@nationwidechildrens.org>
Cc: "Obedin-Maliver, Juno" <Juno.Obedin-Maliver@ucsf.edu>
Subject: RE: question
Leena – First, I checked my notes but Juno should feel free to correct me! My understanding is that
there are no systematic reviews to be conducted.
Thanks,
Karen
From: Nahata, Leena [mailto:Leena.Nahata@nationwidechildrens.org]
Sent: Tuesday, November 20, 2018 11:01 AM
                         REDACTED
To: Karen Robinson <
Cc: 'Obedin-Maliver, Juno' <Juno.Obedin-Maliver@ucsf.edu>


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Subject: question
Hi Karen,
Eli has asked the SOC chapter leads to complete a survey re: status of our chapters. The first
question is:
“Our committee has submitted all potential systematic review questions to Karen Robinson – Yes,
No, N/A (No systematic review needed)”
I know you and Juno had a discussion about this at WPATH and not sure if there was a decision
about whether we should, in fact, submit questions to your team or if we should proceed with best
practice recommendations only for the Reproductive Health chapter?
Thanks,
Leena




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                                   Systematic Review Protocol
           Systematic Review Title: Effects of Hormone Therapy in Transgender People
                                          17th October 2018
 Objective: Update the Standards of Care recommendations/statements about the effects of hormone
therapy treatment in transgender people. We will address the following key questions in this review:

KQ1. For transgender women, what are the safety and efficacy of androgen lowering medications
compared to Spironolactone vs cyproterone vs GnRH agonists in terms of surrogate outcomes, clinical
outcomes, and harms?

KQ2. For transgender adolescent, what are the long term effect of GnRH agonists compared to no
treatment, in terms of surrogate outcomes, clinical outcomes, and harms?

KQ3. For transfeminine people on gender-affirming hormone therapy with estrogen, what are the
comparative risks of prolactinomas and hyperprolactinemia between spironolactone, cyproterone, and
GnRH agonists, in terms of prolactin levels and presence of prolactinomas confirmed by imaging?

KQ4. For transgender people, what are the effect of progesterones (cyproterone) compared to
Medroxyprogesterone and other progesterones in terms of breast growth (adults), delay of puberty
(children), and side effects?

KQ5. For transgender women, what are the comparative risks of different regimens of gender-
affirming hormone therapy with estrogens (conjugated estrogen, estradiol, ethinyl estradiol) in terms of
pulmonary embolism, deep-vein thrombosis, stroke, and myocardial infarction?

KQ6. For transgender men, what is the risk of polycythemia among transgender men on gender-
affirming therapy with testosterone, as measured by hematocrit and hemoglobin levels?

KQ7. For transgender men, what is the effect of testosterone therapy on uterine, ovarian, cervical,
vaginal, and breast pathology in transgender men who have not had a hysterectomy or oophorectomy?

KQ8. For transgender women what is the effect of estrogen therapy on breast, testicular, prostate and
penile tissue in transgender women who have not had a gonedectomy?

KQ9. For transgender women, what is the safety of different routes of administration for estrogen (oral,
cutaneous, intramuscular) in terms of myocardial infarction, stroke, deep-vein thrombosis, and
pulmonary embolism?

KQ10. For transgender adolescent, what are the effects of suppressing puberty with GnRH agonists on
quality of life?

KQ11. For transgender people, what are the psychological effects (including quality of life) associated
with hormone therapy

KQ12. For transgender people, what are the effects of hormone therapy on metabolic syndrome?

KQ13. For transgender people, what are the effects of hormone therapy on fertility?



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Methods

A. PICOT for each KQ in the Review
   Inclusion and exclusion criteria are provided in Table 1

   Table 1: List of Inclusion/Exclusion Criteria

                   Inclusion                                      Exclusion
Population         • Transfeminine individuals (male-to-female       Animal studies
                       [MTF], transsexual or transgender
                       woman/female, assigned male at birth
                       [AMAB])

                   •    Transmasculine individuals (female-to-
                        male [FTM], transsexual or transgender
                        man/male, assigned female at birth
                        [AFAB])

                   • Gender-nonconforming individuals
Interventions      All studies must evaluate an intervention of   5-alpha reductase inhibitors (e.g.,
                   interest as defined by KQ1-13 (Table 2)        finasteride, dutasteride), Flutamide

                                                                  No intervention of interest as
                                                                  defined by KQ1-13 (Table 2)

                                                                  Type of hormone therapy not
                                                                  described (except qualitative
                                                                  studies)
Comparisons        No intervention, or one or more of the
                   interventions of interest
Outcomes           Outcome of interest as defined by KQ1-13       We will exclude studies that do not
                   (Table 3)                                      report the outcomes of interest.

                                                                  Do not report separate outcomes
                                                                  for transgender population
Type of Study      Any study design except single case reports    Publications with no original data
                                                                  (e.g., editorials, letters, comments,
                                                                  reviews)

                                                                  Full text not presented or
                                                                  unavailable, abstracts

                                                                  Single case reports
Timing             Participants must have been treated for at     Duration of treatment is less than 3
                   least 3 months                                 months
Setting                All settings




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Table 2: List of Hormone Therapy Drugs (Interventions)1-5

 Hormone Therapy Drugs                 Brand Name           Route
 Children at Puberty
 Leuprorelin                           Lupron               Injection
 Goserelin                             Zoladex              Injection
 Buserelin                             Suprefact            Injection
 Triptorelin                           Trelstar             Injection
 Histrelin                        Supprelin LA              Implant
 Transmasculine Adolescents and Adults
                                       Andriol              Oral
 Testosterone undecanoate
                                       Aveed                Injection
                                       Delatestryl
 Testosterone enanthate                                     Injection
                                       Primoteston
 Testosterone cypionate                Depo-Testosterone    Injection
 Testosterone propionate               Generic              Injection
 Testosterone caproate + isocaproate
                                       Omnadren             Injection
 + phenylpropionate + propionate
 Testosterone decanoate +
 isocaproate + phenylpropionate +      Sustanon             Injection
 propionate
 Testosterone propionate + enanthate   Testoviron           Injection

                                       AndroGel
                                       Testim
                                       Fortesta
                                                            Transdermal (gel)
                                       Testogel
                                       Tostran
                                       Vogelxo
                                       Androderm
 Testosterone                                               Transdermal (patch)
                                       Testoderm
                                       Testopatch
                                                            Transdermal
                                       Axiron
                                                            (solution)
                                       Natesto              Intranasal
                                       Striant              Buccal
                                       Nebido
                                                            Implant
                                       Testopel
 Dihydrotestosterone                   Andractim            Injection
 Testosterone cypionate + estradiol
                                       Depo-Testadiol       Injection
 cypionate




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 Hormone Therapy Drugs                Brand Name        Route
 Testosterone enanthate + estradiol
                                      Ditate-DS         Injection
 valerate

 Selective estrogen receptor
                                      Tamoxifen         Oral
 modulators (Estrogen blocker)
 Aromatase inhibitors (Estrogen
                                                        Oral
 blocker)                          Anastrazole
 Transfeminine Adolescents and Adults
                                                        Oral, injection,
                                      Premarin
                                                        vaginal
 Conjugated estrogens                 Cenestin
                                      Enjuvia
                                      Amnestrogen
                                      Estratab
 Esterified estrogens                 Evex              Oral
                                      Femogen
                                      Menest
                                      Femring           Vaginal
 Estradiol acetate
                                      Femtrace
                                                        Oral
                                      Synapause
 Estriol                                                Oral
                                      Ovestin
                                      Estropipate
 Estropipate                          Ogen              Oral
                                      Ortho-Est
 Ethinyl estradiol                    Estinyl           Oral
 Ethinyl estradiol + norethisterone
                                      FemHRT            Oral
 acetate
 Estradiol cypionate                  Depo-Estradiol    Injection
                                      Progynova         Oral
 Estradiol valerate
                                      Delestrogen       Injection
                                      Alora
                                      Climara
                                      Esclim
                                      Estraderm
                                                        Transdermal (patch)
                                      Fempatch
                                      Menostar
 Estradiol (17-β estradiol)           Minivelle
                                      Vivelle
                                      Divigel
                                      Elestrin
                                                        Transdermal (gel)
                                      Estrogel
                                      Sandrena
                                      Evamist           Intranasal




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 Hormone Therapy Drugs          Brand Name       Route
                                Estrace
                                Gynodiol         Oral
                                Innofem
                                Vagifem
                                Imvexxy          Vaginal
                                Estring
 Estradiol benzoate             Progynon-B       Injection
 Polyestradiol phosphate        Estradurin       Injection
                                                 Transdermal
 Estradiol hemihydrate          Estrasorb
                                                 (solution)
 Spironolactone                 Aldactone        Oral

 Progesterone                   Prometrium       Oral

                                Makena
 Hydroxyprogesterone caproate                    Injection
                                Proluton

 Dydrogesterone                 Duphaston        Oral

 Norethisterone acetate         Primolut-Nor     Oral

                                Provera
 Medroxyprogesterone acetate                     Oral
                                Depo-Provera
 Cyproterone acetate            Androcur         Oral
 Enzalutamide                   Xtandi           Oral
 Epalutamide                    Erleada          Oral
 Bicalutamide                   Casodex          Oral
                                Anandron
 Nilutamide                                      Oral
                                Nilandron
 Leuprorelin                    Lupron           Injection
 Goserelin                      Zoladex          Injection
 Buserelin                      Suprefact        Injection
 Triptorelin                    Trelstar         Injection
 Histrelin                      Supprelin LA     Implant
 Nafarelin                      Synarel          Intranasal
 Degarelix                      Firmagon         Injection
 Elagolix                       Orilissa         Oral
 Abarelix                       Plenaxis         Injection
 Cetrorelix                     Cetrotide        Injection
                                Orgalutran and
 Ganirelix                                       Injection
                                Antagon




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Table 3: List of Outcomes of Interest

 Domain                           Specific Measurement
 Physical Health Outcomes
 Adiposity                •       BMI
                          •       Weight
                          •       Height
 Metabolic                •       Glucose metabolism
                          •       Lipid levels
                          •       Potassium (serum electrolytes)- If MTF on
                                  spironolactone
                               • Hemoglobin A1c or glucose levels
                              • Prolactin levels – (Only if symptoms of Prolactinoma
                                  develop)
                              • Total testosterone level [only transgender women]
 Bone health/bone         All measures of bone mineral density; fractures
 outcomes
 Mental Health Outcomes
 Cognitive ability            •   Perception [Recognition and interpretation of sensory
                                  stimuli]
                              • Memory
                              • Visual and Spatial Processing
 Mental health                • Suicide
                              • Mood disorders/disturbance (depression/anxiety)
 Quality of life and      Validated scales
 Satisfaction regarding
 outcome
 Transition-related Outcomes
 Delay of puberty
 (children)
 Uterine, Ovarian,        Changes during testosterone administration
 Cervical, Vaginal, and
 Breast pathology
 (transgender men)
 Breast, Testicular,      Changes during estrogen administration
 Prostate and Penile
 tissue
 (transgender women)
 Impact on fertility          •   Pregnancy rates
                              •   Sperm counts
                              •   Egg counts
                              •   Ability to conceive
 Voice change                 •   Acoustic (pitch, quality, pitch range, resonance,
                                  intonation)
                              •   Perceptual (self-perception, listener perception)

 Masculinization          Caused by testosterone:
                              • Facial and body hair growth
                              • Redistribution of subcutaneous fat (away from the face,
                                hips, and extremities; towards the abdomen)
                              • Increased muscle mass
                              • Deeper voice pitch
                              • Baldness
                              • Clitoral growth
                              • Cessation of menses




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      Domain                         Specific Measurement
      Feminization            Caused by estrogen (usually in conjunction with an anti-
                              androgen):
                                 • Breast development
                                 • Redistribution of subcutaneous fat (towards the face,
                                     hips, and extremities)
                                 • Reduction of muscle mass
                                 • Reduction of body hair
                                 • Arrest of scalp hair loss
                                 • Reduction in erectile function
                                 • Reduced testicular size
      Adverse events             • VTE (DVT and PE)
                                 • Myocardial infarction
                                 • Stroke
                                 • Hyperprolactinemia/prolactinoma (Pituitary adenoma)/
                                     Prolactinomas, confirmed by imaging
                                 • Meningiomas
                                 • Hematocrit/hemoglobin
                                 • Acne and hair loss in transgender men
                                 • Any side effect of hormone


B.    Searching for the Evidence: Literature Search Strategies for Identification of Relevant
     Studies to Answer the Key Questions: We will search PubMed®, Embase®, and Pyscinfo,
     We will also review the reference lists of relevant systematic reviews and hand search the
     International Journal of Transgenderism (IJT) journal to identify articles that may have been
     missed by the database searches.

     We will use DistillerSR (Evidence Partners, 2010) to manage the screening process. DistillerSR
     is a web-based database management program that manages all levels of the review process. All
     applicable citations identified by the search strategies are uploaded to the system and reviewed in
     the following manner:
            i. Abstract screening: Two reviewers will independently review abstracts, which will be
     excluded if both reviewers agree that the article meets one or more of the exclusion criteria listed
     in Table 2. Differences between reviewers regarding abstract eligibility will be tracked and
     resolved through consensus adjudication.
            ii. Full-text screening: Citations promoted on the basis of abstract review will undergo
     another independent parallel review using full-text of the articles to determine if they should be
     included in the final systematic review. The differences regarding article inclusion will again be
     tracked and resolved through consensus adjudication.

C. Data Abstraction and Data Management: We will create and pilot test forms for data
   extraction. Each article will undergo double review for data abstraction. The second reviewer
   will confirm the first reviewer‘s data abstraction for completeness and accuracy. A third reviewer
   will audit a random sample of articles by the first two reviewers to ensure consistency in the data
   abstraction of the articles.

     Articles referring to the same study will be abstracted on a single review form if reporting the
     same data or on separate forms if necessary with clear information that the results should be
     interpreted as from the same study.




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        For all articles, reviewers will extract information on eligibility criteria, study characteristics
        (e.g., study design, study period, and follow-up), population characteristics (MF or FM,
        comorbid psychiatric conditions, mean age and number of participants), intervention
        characteristics (type, dose, route and duration of hormonal treatment), outcome measures, and
        the results of each outcome.

        We will complete the data abstraction process using the Systematic Review Data
        RepositoryTM(SRDR). Data will be exported from SRDR into a project-specific Access database
        (Microsoft, Redmond, WA) to serve as archived or back-up copies and to create detailed
        evidence tables and summary tables.

D.      Data Synthesis: We will create a set of detailed evidence tables. We will include and synthesize
        the data only for transgender population if study targets transgender populations in addition to
        other populations and report data for transgender participants separately.

        We plan to conduct meta-analyses of summary data when there are sufficient data (at least 2
        studies of the same design) and studies are sufficiently homogenous with respect to key variables
        (population characteristics, intervention, and outcome) using a random effects model.
        Randomized controlled trials and nonrandomized studies will be analyzed separately. Statistical
        significance (will be set at a two-sided alpha of 0.05). All studies, including those that are not
        amenable to pooling, will be summarized qualitatively.

     E. Assessment of Methodological Risk of Bias of Individual Studies: The assessment of risk of
        bias of included trials of treatment interventions will be conducted independently and in
        duplicate using the Cochrane Collaboration‘s Risk of Bias Tool.6 For non-randomized studies of
        treatment interventions, we will use the Cochrane Risk Of Bias Assessment Tool for Non-
        Randomized Studies of Interventions (ROBINS-I tool).7 For before-after (pre-post) studies with
        no control group, we will answer the question about intervention independent of other changes8
        in addition to the questions from ROBINS-I tool
        Differences between reviewers will be resolved through consensus adjudication.


F.      Grading the Strength of Evidence: At the completion of our review, two reviewers will
        independently grade the strength of evidence by adapting the GRADE methodology.9 Conflicts
        will be resolved through consensus or third-party adjudication




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References

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From:              Karen Robinson
To:                "Eli Coleman"; Jon Arcelus; Asa Radix
Subject:           SOC Methods: draft document for review
Date:              Wednesday, May 2, 2018 1:12:31 PM
Attachments:       WPATH Guideline Development Methodology Draft 2May2018.docx


All –
Thank you for the helpful call earlier today. Please find attached a revised methods document.
I look forward to your feedback. I will make further revisions based on your input then send to a)
WPATH Board and b) chapter leads. The plan, as I understand it, is to distribute the document by
early next week (i.e., not wait for Board approval and with sufficient time for review prior to call on
May 9th).
Thanks,
Karen
------------------------
Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
               REDACTED
      REDACTED
  REDACTED
   REDACTED




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WPATH Standards of Care:
Guideline Development
Methodology
2 May 2018
Objective

WPATH Mission
The World Professional Association for Transgender Health (WPATH) is an interdisciplinary
professional and educational organization dedicated to transgender health. The mission of
WPATH is to promote evidence-based care, education, research, advocacy, public policy, and
respect in transgender health.
Purpose of the Standards of Care
The overall goal of the guidelines from WPATH, called “Standards of Care”, is to provide
clinical guidance for health professionals to assist transsexual, transgender, and gender
nonconforming1 people with safe and effective pathways to achieve lasting personal comfort
with their gendered selves, and to maximize their overall health, psychological well-being, and
self-fulfillment. This assistance may include primary care, gynecologic and urologic care,
reproductive options, voice and communication therapy, mental health services (e.g., assessment,
counseling, psychotherapy), and hormonal and surgical treatments.
Target Audience
While this is primarily a document for health professionals, the Standards of Care may also be
used by individuals, their families, and social institutions to promote optimal health for members
of this diverse population.
Target Population
The recommendations in the Standards of Care are developed to apply to transsexual,
transgender, and gender nonconforming people1. Transsexual people are individuals who seek to
change or who have changed their primary and/or secondary sex characteristics through
feminizing or masculinizing medical interventions (hormones and/or surgery), typically
accompanied by a permanent change in gender role. Transgender people are a diverse group of
individuals who cross or transcend culturally-defined categories of gender. The gender identity
of transgender people differs to varying degrees from the sex they were assigned at birth. Gender
nonconformity refers to the extent to which a person’s gender identity, role, or expression differs
from the cultural norms prescribed for people of a particular sex.
Footnote: 1 Terminology for Standards of Care to be determined by members of “Chapter 2- Terminology”




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While the Standards of Care are intended for broad use across countries, WPATH acknowledges
that much of the recorded clinical experience and knowledge in this area of health care is derived
from North America and Western Europe.
History of the Standards of Care
The Standards of Care were originally published in 1979. Updated Standards of Care were
published in 1980, 1981, 1990, 1998, 2001, and 2011.
About Standards of Care 8th Version
This version of the Standards of Care is the first to be developed using an evidence-based
approach. Evidence-based guidelines include recommendations intended to optimize patient care
that are informed by a systematic review of evidence and an assessment of the benefits and
harms of alternative care options. This document provides an overview of the methodological
approach for updating the Standards of Care.

Overview of Process
The steps for updating the Standards of Care are summarized below:
      Establish Guideline Steering Committee
      Determine topics for chapters (scope of guidelines)
      Select Chapter Members and Evidence Review Team
      Refine the topics and review questions
      Conduct the systematic reviews
      Draft the recommendation statements
      Distribute Standards of Care for review
      Disseminate the Standards of Care
      Plan to update

Establish Guideline Steering Committee
The WPATH Guideline Steering Committee oversees the guideline development process for all
chapters of the Standards of Care. Members of the Guideline Steering Committee are nominated
to the WPATH Board which then vets and approves membership. The Guideline Steering
Committee:
      Appoints the Chapter Leads and Members for each chapter
      Selects topics for the chapters
      Provides general oversight of the guideline development process
The Guideline Steering Committee reviews all chapters of the Standards of Care to confirm
adherence to the WPATH guideline methodology and to ensure consistency of statements across
the Standards of Care.
Members for Standards of Care 8th Version include:



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       Eli Coleman, PhD (Chair)
        Professor, Department of Family Medicine and Community Health
        Director and Chair in Sexual Health, Program in Human Sexuality
        University of Minnesota
       Asa Radix, MD, MPH (Co-chair)
        Director, Research and Education
        Callen-Lorde Community Health Center
        Assistant Clinical Professor of Medicine
        New York University
       Jon Arcelus, MD, PhD (Co-chair)
        Professor, Youth Mental Health, Transgender Health
        University of Nottingham
       Karen A. Robinson, PhD (Lead, Evidence Review Team)
        Associate Professor of Medicine, Epidemiology and Health Policy & Management
        Johns Hopkins University

Determine Topics for Chapters
The Guideline Steering Committee determines the chapters for inclusion in the Standards of
Care. The chapters in the Standards of Care 8th Version are:
   1.  Global Applicability of the Standards of Care
   2.  Terminology – Diagnostic Criteria
   3.  Epidemiologic Considerations
   4.  Overview of Therapeutic Approaches for Gender Health
   5.  Assessment, Support and Therapeutic Approaches for Children
   6.  NEW: Assessment, Support and Therapeutic Approaches for Adolescents with Gender
       Variance/Dysphoria
   7. Assessment of Adults
   8. Assessment, Support and Therapeutic Approaches for Non-Binary Individuals
   9. Managing Mental and Behavioral Health Conditions in Adults
   10. Primary Care for Adults
   11. Hormone Therapy for Adolescents and Adults
   12. NEW: Sexual Health Across The Lifespan
   13. Reproductive Health for Adolescents and Adults
   14. Voice and Communication Therapy
   15. Surgery For Adolescents and Adults
   16. Postoperative Care and Follow-Up
   17. Applicability of the Standards of Care to People Living in Institutional Environments
   18. Applicability of the Standards of Care to People with Intersex Conditions
   19. NEW: Applicability of the Standards of Care to Eunuchs
   20. NEW: Competency, Training, Education, Ethics




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Select Chapter Members
Members of the transgender community apply to serve as a Chapter Members (Chapter Lead or
Member)
(http://www.wpath.org/site_page.cfm?pk_association_webpage_menu=1352&pk_association_w
ebpage=11139). The Guideline Steering Committee appoints the members for each chapter,
ensuring representation from a variety of disciplines and perspectives.
Chapter Leads and Members are expected to be WPATH Full Members in good standing, and
have expertise in transgender health, including in the specific chapter topic. Chapter Leads are
expected to be well known advocates for WPATH and the Standards of Care. Chapter Leads
report to the Guideline Steering Committee and are responsible for coordinating the participation
of Chapter Members. Chapter members report directly to the Chapter Lead.
Each chapter also includes stakeholders as members. The stakeholders are expected to be
Associate Members of WPATH and bring perspective of trans health advocacy or work in the
community, or as a member of a family that includes a transgender child, sibling, partner, parent,
etc.
The Chapter Members are expected to:
      participate in refinement of review questions
      read and provide comments on all materials from the Evidence Review Team
      critically review draft documents, including the draft evidence report
      with other members, review and assess evidence and draft recommendations
      participate in consensus process to draft and confirm recommendations
      as appropriate and as requested, draft section(s) of the guidelines document
      review comments from peer review process and assist in revision of guidelines, as
       necessary
      provide input and participate in the dissemination of guidelines
Training and orientation for Chapter Leads and Members will be provided, as needed. Training
content includes formulation and refinement of questions (i.e., use of PICO), reviewing the
evidence, developing recommendation statements, grading the evidence and the
recommendations, and information about the guideline development program and process.



Select Evidence Review Team
The WPATH Board issues a request for applications. For Standards of Care 8th Version the
WPATH Board has engaged an Evidence Review Team at Johns Hopkins University.


Conflict of Interest
Members of the Guideline Steering Committee, Chapter Leads and Members, and members of
the Evidence Review Team are asked to disclose any conflicts of interest. Also reported, in



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addition to potential financial and competing interests conflicts, are personal or direct reporting
relationships with a chair, co-chair or a WPATH Board Member or the holding of a position on
the WPATH Board of Directors.                                                                          Commented [K1]: These need to be collected.
                                                                                                         -Are disclosures available?
                                                                                                         -How are potential COI managed?
Refine the Topics and Review Questions
The Evidence Review Team abstracts the recommendation statements from the prior version of
the Standards of Care. With input from the Evidence Review Team, the Guideline Steering
Committee and Chapter Leads determine which recommendation statements need to be updated,
which should be evidence-based (based on a systematic review), and which will be consensus-
based statements. Additional chapters and/or decisions/topic areas requiring recommendations
statements are also identified during this stage.
For the statements requiring a systematic review, the Evidence Review Team drafts review
questions, specifying the population, interventions, comparisons, and outcomes (PICO elements).
Chapter Leads and Members review the research questions and provide feedback.

Conduct the Systematic Reviews
The Evidence Review Team conducts systematic reviews. Details of the systematic review
methodology can be found in the Systematic Review Methodology document. The Evidence
Review Team presents evidence tables and evidence matrices to the members of the relevant
chapter.

Draft the Recommendation Statements
Chapter Leads and Members draft recommendation statements. The statements are crafted to be
explicit and actionable.
For evidence-based recommendation statements, with assistance from the Evidence Review
Team, the Chapter Leads and Members also assign a grade of the recommendation (using
GRADE system); describe the health benefits, side effects, and risks; and provide an explicit link
between the recommendations and the supporting evidence.
For consensus-based statements a formal consensus method, such as Delphi, will be used.
Consensus is sought within the chapter for each consensus-based recommendation statement.
The Guidelines Steering Committee, Chapter Leads and Evidence Review Team review all
recommendation statements for clarity and consistency in wording, and where relevant, grading.
During this review any overlap between chapters is also addressed.

Distribute Standards of Care for Review
The draft Standards of Care document is circulated among the broader SOC Revision Committee
and International Advisory Group. Feedback from these groups is considered, and any necessary
revisions are made, by the Chapter Leads and the Guideline Steering Committee, with assistance
from the Evidence Review Team.




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The revised draft version of the Standards of Care document is posted for comment from the
public, including WPATH members, on the WPATH website.
The Chapter Leads and Guideline Steering Committee, with assistance from Evidence Review
Team, considers feedback and makes any necessary revisions. The final document is presented to
the WPATH Board of Directors for approval.

Disseminate the Standards of Care
The Standards of Care are disseminated in a number of venues and in a number of formats.            Commented [K2]: Specify:
                                                                                                      -URL?
                                                                                                      -Examples of other formats?
Plan to Update
The Standards of Care are reviewed at 3 years after the release date to determine if an update is
needed. In addition, updates may be triggered by events such as new evidence or new therapies.
The WPATH Board of Directors determines the timing of any revision of the Standards of Care.




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WPATH Systematic Review
Methodology
2 May 2018
Protocol
A separate detailed systematic review protocol is developed for each review question or topic, as
appropriate. Each protocol is registered on PROSPERO.
Literature Search
The Evidence Review Team will develop a search strategy appropriate for each research
question. At a minimum, the Evidence Review Team will search MEDLINE®, Embase™, and
the Cochrane Central Register of Controlled Trials (CENTRAL). The Evidence Review Team
may search additional databases as deemed appropriate for the research question. The search
strategy will include MeSH and text terms and will not be limited by language of publication or
date.
The Evidence Review Team will handsearch the reference lists of all included articles and
recent, relevant systematic reviews. The Evidence Review Team will search ClinicalTrials.gov
for any additional relevant studies.
We will update the searches during the peer review process.
Study Selection
The Evidence Review Team, with input from the Chapter Workgroup Leads, will define the
eligibility criteria for each research question a priori.
Two reviewers from the Evidence Review Team will independently screen titles and abstracts
and full-text articles for eligibility. To be excluded, both reviewers will need to agree that the
study meets at least one exclusion criteria. Reviewers will resolve differences regarding
eligibility through discussion.
Studies that do not meet the eligibility criteria will not be considered as evidence, but may be
used in background sections of the Standards of Care.
Data Extraction
The Evidence Review Team will use standardized forms to abstract data on general study
characteristics, participant characteristics, interventions, and outcome measures. One reviewer
will abstract the data, and a second reviewer will confirm the abstracted data.
Assessment of Risk of Bias
Two reviewers from the Evidence Review Team will independently assess the risk of bias for
each included study. For randomized controlled trials, we will use the Cochrane Risk of Bias
Tool. For observational studies, we will use Risk of Bias in Non-Randomized Studies – of



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Interventions (ROBINS-I) tool. Where deemed appropriate, existing recent systematic reviews
may be considered and will be evaluated using ROBIS.
Data Synthesis and Analysis
The Evidence Review Team will create evidence tables detailing the data abstracted from the
included studies. The members of the Chapter Workgroups will review and provide comment on
the evidence tables.
Grading of the Evidence
The Evidence Review Team will assign evidence grades using the GRADE methodology. The
Evidence Review Team will assign evidence grade to pre-defined critical outcomes for each
question. We will assess the strength of the evidence by assessing the limitations to individual
study quality/risk of bias, consistency, directness, precision, and reporting bias.
We will classify evidence pertaining to the review questions into four basic categories: 1) “high”
grade (indicating high confidence that the evidence reflects the true effect and that further
research is very unlikely to change our confidence in the estimate of the effect); 2) “moderate”
grade (indicating moderate confidence that the evidence reflects the true effect and that further
research may change our confidence in the estimate of the effect and may change the estimate);
3) “low” grade (indicating low confidence that the evidence reflects the true effect and that
further research is likely to change our confidence in the estimate of the effect and is likely to
change the estimate); and 4) “insufficient” grade (evidence is unavailable or does not permit a
conclusion).




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From:              Karen Robinson
To:                Stan Monstrey; Loren Schechter; Jon Arcelus
Subject:           SOC8: Systematic Review Protocol
Date:              Tuesday, November 20, 2018 3:14:00 PM
Attachments:       WPATH Draft Protocol Surgery 20Nov18.docx


All –
Please find attached a revised protocol for the systematic reviews to be completed for the surgical
chapter. Revisions were made based on discussion in Buenos Aires. There are now 5 general
questions with sub-questions related to subgroups, comorbidities, etc.
Please review and let me know of any questions or concerns. Please let me know as soon as possible
as we are starting the review process.
Thanks,
Karen
-----------------------
Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
               REDACTED
     REDACTED
  REDACTED
   REDACTED




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                            SYSTEMATIC REVIEW PROTOCOL

Effects of Gender-Affirming Surgeries for Treatment of Gender Dysphoria in Transgender
                                         People
                                   (Surgery Chapter)

                                       November 15, 2018

OBJECTIVE: Update the Standards of Care recommendations/statements about the effects of
gender-affirming surgeries for treatment of gender dysphoria in transgender people. This
protocol does not include voice-related surgeries as these topics will be addressed in reviews for
the voice chapter. We will address the following key questions in this review.

Breast/Chest Surgery:

KQ1: What are the benefits and risks of chest reconstruction surgery (“top surgery”) for
transmasculine individuals and gender-nonconforming individuals assigned female at birth?

       KQ1a: What are the benefits and risks of top surgery in terms of factors aside from
       gender dysphoria (e.g., BRCA-1 mutation, family history of breast cancer, identification
       of pre-cancerous breast pathology) for transmasculine individuals and gender-
       nonconforming individuals assigned female at birth?

       KQ1b: How does hormone therapy status affect the benefits and risks of top surgery for
       transmasculine individuals and gender-nonconforming individuals assigned female at
       birth?

       KQ1c: How does chest binding status affect the benefits and risks of top surgery for
       transmasculine individuals and gender-nonconforming individuals assigned female at
       birth?

       KQ1d: How does the presence of potential contraindications for surgery (e.g., smoking,
       BMI, active psychotic conditions or other serious mental illness) affect the benefits and
       risks of top surgery for transmasculine individuals and gender-nonconforming individuals
       assigned female at birth?

       KQ1e: How does age affect the benefits and risks of top surgery for transmasculine
       individuals and gender-nonconforming individuals assigned female at birth, particularly
       for those under age 18?

KQ2: What are the benefits and risks of breast augmentation surgery (“top surgery”) for
transfeminine individuals and gender-nonconforming individuals assigned male at birth?

       KQ2a: What are the benefits and risks of top surgery for transfeminine individuals and
       gender-nonconforming individuals assigned male at birth in terms of factors aside from
       gender dysphoria (e.g., BRCA-1 mutation, family history of breast cancer)?




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       KQ2b: How does hormone therapy status affect the benefits and risks of top surgery for
       transfeminine individuals and gender-nonconforming individuals assigned male at birth?

       KQ2c: How does the presence of potential contraindications for surgery (e.g., smoking,
       BMI, active psychotic conditions or other serious mental illness) affect the benefits and
       risks of top surgery for transfeminine individuals and gender-nonconforming individuals
       assigned male at birth?

       KQ2d: How does age affect the benefits and risks of top surgery, particularly for those
       under age 18 for transfeminine individuals and gender-nonconforming individuals
       assigned male at birth?

Genital Surgery:

KQ3: What are the benefits and risks of genital surgeries for transfeminine individuals and
gender-nonconforming individuals assigned male at birth?

       KQ3a: How does hormone therapy status affect the benefits and risks of genital surgeries
       for transfeminine individuals and gender-nonconforming individuals assigned male at
       birth?

       KQ3b: How does a prerequisite of 12 months of living in a gender role that is congruent
       with the gender identity of the patient (the “real life test”) affect the benefits and risks of
       genital surgeries for transfeminine individuals and gender-nonconforming individuals
       assigned male at birth?

       KQ3c: How does the presence of potential contraindications for surgery (e.g., smoking,
       BMI, active psychotic conditions or other serious mental illness) affect the benefits and
       risks of genital surgeries for transfeminine individuals and gender-nonconforming
       individuals assigned male at birth?

KQ4: What are the benefits and risks of genital surgeries for transmasculine individuals and
gender-nonconforming individuals assigned female at birth?

       KQ4a: How does hormone therapy status affect the benefits and risks of genital surgeries
       for transmasculine individuals and gender-nonconforming individuals assigned female at
       birth?

       KQ4b: How does a prerequisite of 12 months of living in a gender role that is congruent
       with the gender identity of the patient (the “real life test”) affect the benefits and risks of
       genital surgeries for transmasculine individuals and gender-nonconforming individuals
       assigned female at birth?

       KQ4c: How does the presence of potential contraindications for surgery (e.g., smoking,
       BMI, active psychotic conditions or other serious mental illness) affect the benefits and




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       risks of genital surgeries for transmasculine individuals and gender-nonconforming
       individuals assigned female at birth?

Other Surgeries/Procedures:

KQ5: What are the benefits and risks of facial gender confirmation surgeries for transfeminine
individuals and gender-nonconforming individuals assigned male at birth?

       KQ5a: How does hormone therapy status affect the benefits and risks of facial gender
       confirmation surgeries for transfeminine individuals and gender-nonconforming
       individuals assigned male at birth?

       KQ5b: How does the presence of potential contraindications for surgery (e.g., smoking,
       BMI, active psychotic conditions or other serious mental illness) affect the benefits and
       risks of facial gender confirmation surgeries for transfeminine individuals and gender-
       nonconforming individuals assigned male at birth?

METHODS

A. Inclusion and Exclusion Criteria: Inclusion and exclusion criteria in PICOTS format are
   provided in Table 1.

       Table 1: Inclusion/Exclusion Criteria

                          Inclusion                                          Exclusion
         Population        • Transfeminine individuals (male-to-female       Animal studies
                               [MTF], transsexual or transgender             Cisgender-only
                               woman/female, assigned male at birth
                               [AMAB])
                           • Transmasculine individuals (female-to-
                               male [FTM], transsexual or transgender
                               man/male, assigned female at birth
                               [AFAB])
                           • Gender-nonconforming individuals
         Interventions    1. Gender-affirming surgeries for                  No surgical
                          transmasculine individuals:                        intervention of
                              • Top surgery:                                 interest
                                     o Subcutaneous mastectomy
                                     o Nipple grafts
                                     o Chest reconstruction/contouring
                              • Top surgery techniques:
                                     o Keyhole
                                     o Peri-areolar
                                     o Double incision
                              • Bottom surgery:
                                     o Hysterectomy



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                             o   Salpingo-oophorectomy
                             o   Urethroplasty
                             o   Vaginectomy/colpectomy
                             o   Vulvectomy
                             o   Scrotoplasty
                             o   Implantation of erectile and/or
                                 testicular prostheses
                             o Phalloplasty
                             o Metoidioplasty
                       • Phalloplasty techniques:
                             o Free flap
                             o Pedicle
                       • Metoidioplasty techniques:
                             o Simple release
                             o Ring
                             o Centurion
                       • Body contouring/liposuction/lipectomy
                   2. Gender-affirming surgeries for
                   transfeminine individuals:
                       • Facial gender-confirmation surgeries:
                             o Rhytidectomy (“facelift”)
                             o Blepharoplasty
                             o Rhinoplasty
                             o Osteoplasty
                             o Genioplasty
                             o Platysmaplasty
                             o Chondrolaryngoplasty
                       • Top surgery:
                             o Breast augmentation
                                 (mammaplasty/mammoplasty)
                       • Bottom surgeries:
                             o Orchiectomy
                             o Prostatectomy
                             o Penectomy
                             o Clitoroplasty
                             o Vulvoplasty
                             o Labiaplasty
                             o Urethroplasty
                             o Vaginoplasty
                       • Vaginoplasty techniques:
                             o Penile inversion
                             o Intestinal/sigmoid
                             o Peritoneal
                       • Body contouring/liposuction/lipectomy
                       • Hair transplant
                       • Electrolysis



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                             • Laser hair removal
         Comparison      No comparison, before/after, or any other
                         procedure
         Outcomes of     1. Health-related quality of life                 Studies that do not
         interest        2. Patient satisfaction                           report the outcomes
                         3. Mental health:                                 of interest
                             • Depression/anxiety
                             • Gender dysphoria
                                     o Patient self-report
                                     o Utrecht Gender Dysphoria Scale
                                         score
                                     o Gender Identity/Gender
                                         Dysphoria Questionnaire for
                                         Adolescents and Adults
                                         (GIDYQ-AA) score
                                     o Body Uneasiness Test (BUT)
                                         score
                         4. Sexual functioning
                             • Physical functioning and appearance
                             • Sexual/erotic functioning
                         5. Harms
         Study           Any study design except single case reports       •   Single case
         designs                                                               reports
                                                                           •   Publications
                                                                               with no original
                                                                               data (e.g.,
                                                                               editorials,
                                                                               letters,
                                                                               comments,
                                                                               reviews)
                                                                           •   Full text not
                                                                               presented or
                                                                               unavailable,
                                                                               abstracts
         Setting         Any setting

B. Searching for the Evidence: We will search PubMed®, CINAHL, and Embase® for
   relevant studies to answer the key questions. We will also review the reference lists of
   relevant systematic reviews and hand search the International Journal of Transgenderism
   (IJT) to identify articles that may have been missed by the database searches.

   We will use DistillerSR (Evidence Partners, 2010) to manage the screening process.
   DistillerSR is a web-based database management program that manages all levels of the




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   review process. All applicable citations identified by the search strategies will be uploaded to
   the system and reviewed in the following manner:

     I.       Abstract screening: Two reviewers will independently review abstracts, which will
              be excluded if both reviewers agree that the article meets one or more of the
              exclusion criteria listed in Table 2. Differences between reviewers regarding abstract
              eligibility will be tracked and resolved through consensus adjudication.
    II.       Full-text screening: Citations promoted on the basis of abstract review will undergo
              another independent parallel review using full-text of the articles to determine if they
              should be included in the final systematic review. The differences regarding article
              inclusion will again be tracked and resolved through consensus adjudication.

C. Data Abstraction and Data Management: We will create and pilot test forms for data
   extraction. Each article will undergo double review for data abstraction. The second reviewer
   will confirm the first reviewer’s data abstraction for completeness and accuracy. A third
   reviewer will audit a random sample of articles by the first two reviewers to ensure
   consistency in the data abstraction of the articles.

   Articles referring to the same study will be abstracted on a single review form if reporting the
   same data or on separate forms if necessary with clear information that the results should be
   interpreted as from the same study. Reviewers will extract the following information from
   each included study:

          •   Description of the population
                 o Transmasculine, transfeminine, or gender-nonconforming individuals
                 o Comorbid psychiatric conditions
                 o Mean age
                 o Number of participants
                 o Surgery status
                 o Hormone therapy status
                 o Puberty delay medication status
                 o Demographic and health factors such as race/ethnicity and smoking status
          •   Description of the exposure
                 o Type of surgery (i.e., top surgery, genital surgery, other procedure)
                 o Specific surgical technique
          •   Study design
          •   Outcomes

   We will complete the data abstraction process using the Systematic Review Data
   RepositoryTM (SRDR). Data will be exported from SRDR into a project-specific Access
   database (Microsoft, Redmond, WA) to serve as archived or back-up copies and to create
   detailed evidence tables and summary tables.

D. Data Synthesis: We will create a set of detailed evidence tables. From studies that include
   cisgender participants as well as transgender participants, we will only include data from
   transgender participants. Different surgical techniques will not be compared. For studies that




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   compare different techniques, we will pool and present the results across techniques
   wherever possible.

   We plan to conduct meta-analyses of summary data when there are sufficient data (at least 2
   studies of the same design) and studies are sufficiently homogenous with respect to key
   variables (population characteristics, intervention, and outcome) using a random effects
   model. Randomized controlled trials and nonrandomized studies will be analyzed separately.
   Statistical significance will be set at a two-sided alpha of 0.05. All studies, including those
   that are not amenable to pooling, will be summarized qualitatively.

E. Assessment of Methodological Risk of Bias of Individual Studies: The assessment of risk
   of bias of included trials of treatment interventions will be conducted independently and in
   duplicate using the Cochrane Collaboration’s Risk of Bias Tool.1 For non-randomized studies
   of treatment interventions, we will use the Cochrane Risk of Bias Assessment Tool for Non-
   Randomized Studies of Interventions (ROBINS-I tool).2 For before/after (pre/post) studies
   with no control group, we will answer the question about intervention independent of other
   changes3 in addition to the questions from ROBINS-I tool. Differences between reviewers
   will be resolved through consensus adjudication.

F. Grading the Strength of Evidence: At the completion of our review, two reviewers will
   independently grade the strength of evidence by adapting the GRADE methodology.4
   Conflicts will be resolved through consensus or third-party adjudication.

REFERENCES

1. Higgins JPT, Green S (eds). Cochrane handbook for systemic reviews of interventions
   Version 5.1.0. The Cochrane Collaboration. 2011;Oxford, England. Available from:
   http://handbook.cochrane.org.
2. Sterne JAC, Hernán MA, Reeves BC, et al. ROBINS-I: a tool for assessing risk of bias in
   non-randomized studies of interventions. BMJ 2016; 355; i4919.
3. Cochrane Effective Practice and Organisation of Care (EPOC). Suggested risk of bias
   criteria for EPOC reviews. EPOC Resources for review authors, 2017. Available at:
   http://epoc.cochrane.org/resources/epoc-resources-review-authors
4. Guyatt GH, Oxman AD, Vist GE, et.al. GRADE Working Group. GRADE: an emerging
   consensus on rating quality of evidence and strength of recommendations. BMJ. 2008 Apr
   26;336(7650):924-6.




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WPATH Review Status Report
5 November 2019

Chapter              Number of             Abstractions Second review/Data Evidence tables                  Synthesis         Submission Status
                     included                           Check
                     studies
Hormone              138 studies           Done                 Done                           Done         Done:             4 Sep: all draft evidence
therapy              (reported in                                                                           KQ 4              tables, flow diagram, list of
                     136 articles)*                                                                         KQ6               included and list of excluded
                                                                                                            KQ7               studies
                                                                                                            KQ8
                                                                                                                              5 Nov:
                                                                                                            Ongoing:          reports/synthesis/tables for
                                                                                                            KQ11              KQ 4, 5, 6, 7, 8, 9 submitted
                                                                                                            KQ5-9

                                                                                                            Not started:
                                                                                                            KQ3
                                                                                                            KQ12
                                                                                                            KQ1
                                                                                                            KQ2 -10
Surgery              111 studies*          Done                 Done                           Ongoing      Not started yet

                                                                                               Data being
                                                                                               updated in
                                                                                               SRDR**

Voice                35 studies            Done                 Done                           Completed    Not started yet
                     (reported in
                     41 articles)*
Adolescent           17 studies            Done                 NA                             Done         Done              24 Sep: report and tables sent
                                                                                                                              to chapter leads.
*Numbers may change after second review/synthesis
** Systematic Review Data Repository – will be publically available repository of extracted data




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STANDARDS OF CARE- 8
      (SOC-8)
                WPATH Meeting
           Buenos Aires, November 2018
                              Update

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                           INTRODUCTION


• Chair: Eli Coleman, USA
• Co-Chairs:
  • Asa Radix, USA
  • Jon Arcelus, UK


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                         What is a Guideline?



“Guidelines are recommendations intended to assist providers and
recipients of health care and other stakeholders to make informed
decisions”



                                        World Health Organization

                                                                                     JHU_000003258

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               Hierarchy of Evidence




                                                                             JHU_000003259
                                            http://sciencedrivennutrition.com/science-in-fitness/
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How do we
move from
questions to
guidelines
creation?




          Image from: https://www.cdc.gov/vaccines/acip/recs/grade/downloads/guide-dev-grade.pdf
                                                                              JHU_000003260

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                   Formulate a Question


Does breast augmentation improve health outcomes?
• Population: Transgender women, non-binary AMAB
• Intervention: Gender affirming surgery (Breast augmentation)
• Comparison: No surgery
• Outcomes: Psychological outcomes (depression, anxiety)



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                                 GRADE

• Quality of evidence:
   • ⊕⊕⊕⊕ (High) RCTs
   • ⊕⊕⊕ (Moderate)
   • ⊕⊕ (Low) Observational studies
   • ⊕(Very low)
• Recommendation:
   • Weak
   • strong

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            Criteria for SOC8 Involvement

• WPATH member
• Advocate for WPATH and the SOC
• Recognized expert in trans health
• Scholar/researcher (publication record)
• Can assess the evidence-based literature
• Able to volunteer 2-5 hours/week
• Works collaboratively
• No conflicts of interest

                                                                                     JHU_000003263

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       Guidelines Committee
                               • Eli Coleman (chair)
 Nomination of co-             • Jon Arcelus & Asa Radix (co-chairs)
     chairs


                               • 50 Applications received
   Chapter leads               • 18 countries
                               • 24 Leads chosen


                    • 164 Applications received
     Working        • 18 countries
groups/stakeholders • Team formation

                                                                              JHU_000003264

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                               Chapter Leads

Sam Winter(AUSTRALIA)                                   Dan Karasic (USA)
Sari Reisner (USA)                                      Vin Tangpricha (USA)
Michael Goodman (USA)                                   Timo Nieder (GERMANY)
Mick van trosenburg (Netherlands)                       Leena Nahata (USA)
Madeline Deutsch (USA)                                  Adrienne Hancock (USA)
Amy Tishelman (USA)                                     Stan Monstrey (BELGIUM)
Annelou de Vries (NETHERLANDS)                          Loren Schechter (USA)
Scott Leibowitz (USA)                                   Randi Ettner (USA)
Walter Bouman (UK)                                      George Brown USA
Joz Motman (Belgium)                                    Heino Meyer (USA)
Christina Richards (UK)                                 Thomas Johnson USA
Gail Knudson (CANADA)                                   Lin Fraser (USA)

                                                                                    JHU_000003265

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                     Community Feedback


• 43 TGNB members of the guidelines committee
• Transgender advisory group (international organizations) to
 provide feedback
• Beta version to be posted online for comments for revision



                                                                                    JHU_000003266

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                    Chapter Members




                                                                            JHU_000003267

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                         What’s New for SOC8?


• Assessment, Support and                         • Sexual Health Across The
  Therapeutic Approaches for                        Lifespan
  Children
                                                  • Reproductive Health for
• Assessment, Support and                           Adolescents and Adults
  Therapeutic Approaches for
  Adolescents                                     • Applicability of the Standards of
                                                    Care to Eunuchs
• Primary Care for Adults
• Assessment, Support and
                                                  • Competency, Training,
  Therapeutic Approaches for Non-
                                                    Education, Ethics
  binary individuals

                                                                                   JHU_000003268

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   Feedback from some chapters….




                                                                            JHU_000003269

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  I. Global applicability of the standards of care



Chapter members:
Sam Winter (Australia) LEAD                       Alicia Kruger (Brazil)
Jack Byrne (New Zealand)                          Shane Morrison (USA)
Mauro Cabral (Argentina)                          Georgios Paglakos (Greece)
Alexus D'Marco (Bahamas)                          Nittaya Phanuphak (Thailand)
Katherine Johnson (UK)                            Joshua Sehoole (South Africa)




                                                                                   JHU_000003270

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          15 core principles (provisional list)
                                                     8. Promote overall health and
1. Involve trans people in                                   wellbeing.
        development of services.                     9. Do harm reduction.
2. Respect diversity.                                10. Reject reparative approaches.
3. Respect fundamental human                         11. Ensure informed decision-
        rights.                                      making.
4. Be enabling and inclusive.                        12. Ensure continuity of care.
5. Become knowledgeable.                             13. Provide contact with
6. Match care to patient.                            communities.
7. Provide (or refer on to) affirmative              14. Be aware of social, cultural, legal
        healthcare.                                          and economic factors.
                                                     15. Engage in advocacy. JHU_000003271
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            II. Terminology- Diagnostic Criteria
Chapter members:
Sari Reisner (USA) - LEAD
Koray Başar (Turkey)
Sand Chang (USA)
Aaron Devor (Canada)
G. Nic Rider (USA)
Cianán Russell (Germany)
Kirill Sabir (Russia)


                                                                                     JHU_000003272

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                                         Status
• Terminology and what is considered current/affirming varies greatly
    depending on culture/context/history
•   Important not to have a US/Euro-centric way of introducing terms in the SOC
    document
    •   What words should we use for transgender people and receivers of gender related care in the
        SOC?
    •   What words should we use for professionals and others providing care to trans people?
    •   What are the best ways to describe medical treatment, services or interventions?
    •   How do we describe other aspects of lived experience?
    •   What should the document be called?
• Status so far
    •   Reviewed SOC7 to identify language used in the document
    •   Reviewed other documents to identify best practices for language use
    •   Reviewed the literature for historical context
    •   Chapter outline in progress                                                  JHU_000003273

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             III. Epidemiologic considerations
Chapter members:
• Michael Goodman (Atlanta, USA)
• Noah Adams (Toronto Canada)
• Trevor Cornell (Vancouver, Canada)
• Baudewijntje Kreukels (Amsterdam, Netherlands)
• Joz Motmans (Ghent, Belgium)



                                                                                    JHU_000003274

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                          Progress to date
• 43 articles retrieved and                        •    Main determinant of disagreement
  summarized to-date                                    across estimates is definition of what
• Years of publication ranged from                      constitutes ‘transgender’ or ‘gender
  1968 to 2018                                          non-conformity’
• 23 from Europe, 13 from the US, 2                •    Other factors include:

  from Japan, 2 from New Zealand                        •    Study design
  and one (each) from Iran,                             •    Time of study
  Australia and Singapore                               •    Place of study

• Estimates of proportion of                            •  Age of population under study
  transgender people in the                        •    Chapter draft is in preparation

  population vary widely

                                                                                    JHU_000003275

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  IV. Overview of Therapeutic Approaches for
                Gender Health
Chapter members:
Mick van Trotsenburg - LEAD (Vienna/Austria) Obs&Gyn
Tamara Adrian (Caracas/Venezuela) Lawyer
Steven Arver (Stockholm/Sweden) Internal Medicine
Elizabeth Kvach (Denver/USA) Family Medicine
Blaine Paxton Hall (Durham/USA) Internal Medicine
Katie Spencer (Minneapolis/USA) Family Medicine/Community Health



                                                                                  JHU_000003276

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                         Chapter
           Overview of therapeutic approaches

• Start in a later phase when first outlines and recommendations of the
  various chapters are available
• Give a vision of what the SOC accomplish in a very succinct fashion
• Pointing out that therapeutic approaches are options rather than a
  obligation, and decision-making is dependent on various factors
• Summarize all therapeutic approaches of the various chapters
• Pointing out to sensible sequencing of possible therapeutic interventions


                                                                                     JHU_000003277

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    V. The role of primary care in gender health

Chapter members:
Madeline B. Deutsch, MD, MPH (US) – Lead
John Dean, MD (UK)
Justus Eisfeld (US, )
Jamie Feldman, MD, MPH (US)
Joshua Safer, MD (US)
Linda Wesp, FNP (US)



                                                                                    JHU_000003278

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                               Primary Care


Controversies in our chapter are rooted in a lack of health outcome
   data to inform screening and prevention recommendations
   – Cancer
   – Osteoporosis
   – Coronary artery disease
Draft example recommendations from the chapter:
   – Hormone therapy is within the scope of practice of primary care providers
   – Witholding hormone therapy to prevent cardiovascular disease is not
      supported by evidence and may worsen mental health outcomes, including
      suicidality

                                                                                      JHU_000003279

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   VI. Assessment, Support and Therapeutic
            Approaches for Children
Chapter Members:
Amy Tishelman (USA) – LEAD
Dianne Berg (USA)
Diane Ehrensaft (USA)
Laura Edwards-Leeper (USA)
Susie Green (UK)
Aron Janssen (USA)
Jiska Ristori (Italy)
Thomas Steensma (Netherlands)
John Strang (USA)
                                                                                  JHU_000003280

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   VII. Assessment, Support and Therapeutic
   Approaches for Adolescents with Gender
              Diversity/Dysphoria
Chapter Members:
Annelou de Vries (Netherlands) – CO LEAD
Scott Leibowitz (USA) – CO LEAD
Gayathri Chelvakumar (USA)
Laura Edwards-Leeper (USA)
Jean Malpas (USA)
Ren Massey (USA
Stephanie Roberts (USA)
John Strang (USA)

                                                                                  JHU_000003281

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 Outline of the statements adolescent chapter

• General care principles
• Role of MHP
• Assessment for affirmative medical care
• General health
• Pubertal suppression
• Affirming hormones
• Surgery

                                                                                    JHU_000003282

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                            Discussion Points


• Which statements can be evidence based reviewed?
• How to come to consensus?
• Which values and rationales prevail?



                                                                                    JHU_000003283

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     VIII. Assessment, support and therapeutic
          approaches for non binary people

Chapter members:
Walter Pierre Bouman MD PhD (UK) – Co Lead
                                                   Laura Kuper PhD (USA)
Joz Motmans PhD (Belgium) – Co Lead
                                                   Loren Schechter MD FACS (USA)
Stefan Arver MD PhD (Sweden)
                                                   Leighton Seal MD PhD (UK)
Jeremi Carswell MD (USA)
                                                   Thomas Steensma PhD (Netherlands)
Randall Ehrbar PhD (USA)
                                                   Ben Vincent PhD (UK)
Laura Jacobs, LCSW-R (USA)



                                                                                    JHU_000003284

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          Draft Statements (before lit review or
                     consultation):
•   We recommend/advise that health professionals should accept that gender is on a continuum and
    may not conform to a traditional binary model
•   We recommend/advise that GNB people are entitled to receive person-centered assessment and
    treatment that affirms their non-binary experiences of gender
•   We recommend/advise that access to social transition and/or gender affirming medical
    interventions are not dependent on any particular gender identity or gender expression
•   We recommend/advise that GNB people wishing gender affirming medical interventions (hormonal
    treatment or surgery) may require additional support in view of a higher prevalence of mental
    health problems (compared to binary trans and cisgender people)
•   We recommend/advise that gender affirming medical interventions (hormonal treatment or
    surgery) may be appropriate in the absence of social gender transition
•   We recommend/advise that gender affirming surgical interventions may be appropriate in the
    absence of hormonal treatment
•   We recommend/advise that GNB people have access to fertility preservation prior to starting
    hormonal treatment

                                                                                       JHU_000003285

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IX. Assessment of Adults with Gender Diversity or
                   Dysphoria

                             Lead: Dr. Christina Richards (UK)
                             Chapter members:
                             Ms. Harjit Bagga (Australia)
                             Dr. Koray Basar (Turkey)
                             Dr. Griet De Cuypere (Belgium)
                             Dr. Cecilia Dhejne (Sweden)
                             Dr. Kelly Ducheny (USA)
                             Dr. E. Kale Edmiston (USA )

                                                                                JHU_000003286

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Draft Statements (before lit review or
           consultation):
• We recommend that people with gender dysphoria or diversity should have the
  highest degree of professional care which is realistically available to them.
• We recommend that assessors have the ability to recognize and diagnose co-
  existing mental health or other concerns and to be able to distinguish these from
  gender dysphoria or diversity
• We recommend that assessors work within their local professional standards while
  continuing to improve the care provided.
• We suggest that assessors give priority to the informed consent of the person with
  an assumption to treat where the onus is on the assessing professional to facilitate
  treatment as well as identifying any reasons why treatment should not go ahead at
  that time; rather than the person with gender dysphoria or diversity needing to
  prove why they should receive treatment.
• We recommend that, a biopsychosocial approach is adopted to mitigate risk.

                                                                            JHU_000003287

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X. Managing mental and behavioural health
           conditions in adults

    Chapter members:
    Dan Karasic (USA) - Lead
    Koray Basar (Turkey)
    Griet DeCuypere (Belgium)
    Cecilia Dhejne (Sweden)
    Randall Ehrbar (USA)
    Laura Erickson-Schroth (USA)
    Aron Jannsen (USA)
    Lida Vala (USA)                                                           JHU_000003288

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  Statements: Replacing “well controlled”
• Mental health conditions should be addressed so that the patient is able to give informed
  consent and participate in essential medical and perioperative care.
• The presence of mental illness should not be a barrier to starting hormones, as long as there is
  capacity to give informed consent and the potential benefits of treatment outweigh the risks.
• Often treating gender dysphoria with hormones and social transition is best done
  simultaneously with treating mental illness and substance abuse.
• Genital reconstructive surgery, with complications common and the need for active patient
  engagement for best outcomes, has a higher bar for mental health stability than other transition
  care.
• Mental illness and substance abuse before genital reconstructive surgery should be stabilized to
  the extent that the patient can give informed consent, and that the patient can participate in
  needed perioperative care.
• In treating patients with treatment resistant mental illness seeking gender-confirming surgery,
  the risks and benefits of providing surgery versus delaying surgery should be weighed.


                                                                                    JHU_000003289

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XI. Hormone therapy for adolescents and adults
 Chapter members:

 • Vin Tangpricha (USA) - Lead
 • Martin den Haijer (Netherlands)
 • Michael Irwig (USA)
 • Colt Keo-Maier (USA)
 • Daniel Klink (Netherlands)
 • Stephen Rosenthal (USA)
 • Joshua Safer (USA)
 • Guy T’Sjoen (Belgium)
                                                                                 JHU_000003290

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    Planned Systematic Reviews to inform
        additional recommendations
•    For transgender women, what are the safety and efficacy of androgen lowering medications
     compared to Spironolactone vs cyproterone vs GnRH agonists in terms of surrogate outcomes,
     clinical outcomes, and harms?
•    For transgender adolescents, what are the long term effect of GnRH agonists compared to no
     treatment, in terms of surrogate outcomes, clinical outcomes, and harms?
•    For transfeminine people on gender-affirming hormone therapy with estrogen, what are the
     comparative risks of prolactinomas and hyperprolactinemia between spironolactone, cyproterone,
     and GnRH agonists, in terms of prolactin levels and presence of prolactinomas confirmed by
     imaging?
•    For transgender people, what are the effect of progesterones (cyproterone) compared to
     Medroxyprogesterone and other progesterones in terms of breast growth (adults), delay of puberty
     (children), and side effects?
•    For transgender women, what are the comparative risks of different regimens of gender-affirming
     hormone therapy with estrogens (conjugated estrogen, estradiol, ethinyl estradiol) in terms of
     pulmonary embolism, deep-vein thrombosis, stroke, and myocardial infarction?
•    For transgender men, what is the risk of polycythemia among transgender men on gender-affirming
     therapy with testosterone, as measured by hematocrit and hemoglobin levels?
•    For transgender men, what is the effect of testosterone therapy on uterine and ovarian (and
     cervical?) pathology in transgender men who have not had a hysterectomy or oophorectomy?
•    For transgender women, what is the safety of different routes of administration for estrogen (oral,
     cutaneous, intramuscular) in terms of myocardial infarction, stroke, deep-vein thrombosis, and
                                                                                       JHU_000003291
     pulmonary embolism?
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• For transgender adolescents, what are the effects of suppressing puberty
  with GnRH agonists on quality of life?
• For transgender people, what are the psychological effects (including
  quality of life) associated with hormone therapy
• For transgender people, what are the effects of hormone therapy on
  metabolic syndrome?
• For transgender people, what are the effects of hormone therapy on
  fertility?




                                                                                    JHU_000003292

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XII. Sexual Health Across the Lifespan
 Chapter Members:
 Timo Nieder (Germany) – Lead
 Cecilia Dhejne (Sweden)
 Els Elaut (Belgium)
 Maurice Garcia (USA)
 Luk Gijs (Netherlands & Belgium)
 Sally Robbins-Cherry (UK)
 Liberty Matthyse (South Africa)
 Ayden Scheim (Canada)
 Katherine Spencer (USA)
 Jennifer Vencill (USA)
                                                                            JHU_000003293

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                                                                            JHU_000003294

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                           Chapter Structure

• Introduction                                  • Sexual Pleasure and Sexual
• Sexual Development                                 Satisfaction
• Family and Loved Ones                         •    Sexually Transmitted Infections
• Social Context                                •    Sexual Orientation
• Sexual Functions and                          •    Transition and Gender-Related
   Sexual Dysfunctions                               Medical Interventions




                                                                                    JHU_000003295

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                 Example recommendation:
                       Introduction

• We advise that counselling on sexuality (and its potential meanings and
   implications before, during and after one’s transition) is itself a best
   practice for long-term healthcare for trans people and not merely a topic
   to be addressed during assessment when referring a client for medical
   interventions.




                                                                                     JHU_000003296

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                 Example recommendation:
                   Family and loved ones


• We advise that clients who present with sexual difficulties within a
   relationship should be offered trans-friendly sex therapy. According to the
   preference of the client, and of the indication of the sex therapist, this
   should be possible both with the individual and at the relationship(s) level.




                                                                                     JHU_000003297

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         Example recommendation:
  Sexual Functions and Sexual Dysfunctions


• We recommend that healthcare professionals respectfully inform all trans
   clients about how sexual functioning and sexuality may be affected by
   gender-related medical interventions depending on sexual preference,
   orientation, and behavior.




                                                                                    JHU_000003298

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 Example recommendation: Sexual Pleasure
          and Sexual Satisfaction


• We recommend that healthcare professionals, at a minimum, introduce a
   discussion about sexual satisfaction and pleasure, and consent.




                                                                                    JHU_000003299

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             Example recommendation:
           Sexually Transmitted Infections
• We recommend that healthcare professionals offer ongoing HIV/STI
   testing in correspondence with national guidelines, with more frequent
   testing for trans individuals at higher risk (e. g., patients sexually active
   with cis men and trans women). As national guidelines infrequently offer
   specific guidance for trans persons, risk assessment should be based on
   current anatomy and sexual behaviors, as well as consideration of the risk
   profile of a client’s sexual partners.



                                                                                     JHU_000003300

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  Example recommendation: Transition and
    Gender-Related Medical Interventions
• We recommend that healthcare professionals who provide gender-related
   medical interventions are sufficiently informed about sexual function, and
   common challenges to achieving satisfactory sexual function, for the
   clients they provide care to. If the provider cannot provide information
   about the effects of their treatment upon sexual function, they should at a
   minimum be able to refer the individual to someone qualified to do so. It is
   not acceptable to provide treatments with such far-reaching effects
   without being able to counsel clients about the potential effects on sexual
   function.


                                                                                    JHU_000003301

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   XVIII. Reproductive Health Chapter

       Chapter Members:

          • Lead: Leena Nahata - USA
         • Juno Obedin-Maliver - USA
         • Kenny Rodriguez Wallberg - Sweden
         • Bernard Taylor - USA
         • Kelly Tilleman - Belgium
         • Norah van Mello - Netherlands
         • Aedan Wolton – UK

                                                                            JHU_000003302

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          Status (as of September 2018)

• Outline completed in July 2018
• First drafts complete of 3 (of 9) sections – example of preliminary recs:
• We advise that patients and families receive information and counseling
  from their health care team regarding the potential risks of hormone
  treatment on future fertility prior to initiation of these therapies, in order to
  optimize long-term reproductive and psychosocial outcomes.
• Providers who are prescribing hormonal therapies to TG youth should
  receive specific training on 1) potential risks to future fertility; 2) FP options;
  and 3) psychosocial implications of infertility.
• TG care teams should partner with local reproductive specialists and
  facilities so that the discussion on methods for fertility preservation can be
  timely planned and sperm and oocyte cryopreservation may be offered.

                                                                                   JHU_000003303

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            XIV. Voice and Communication


                        Chapter lead: Adrienne Hancock, PhD, USA
                        Chapter members:
                             David Azul, PhD, Australia
                             Teresa Hardy, PhD, Canada
                             Ulrika Nygren, PhD, Sweden
                             Jenni Oates, PhD, Australia
                             Vica Papp, PhD, New Zealand
                             Caroline Temmermand, USA
                                                                            JHU_000003304

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    Voice and Communication

• Informed by a person-centered approach
    • Acknowledging agency limitations of person & provider in
      production of gender
• Provider and Assessment standards
• Interventions (IF necessary or desired by an individual!)
    • Behavioral approaches
    • Voice surgeries
    • Hormones
• For individuals
   • AMAB (feminize positioning)
   • AFAB (masculinize positioning)
                                                                               JHU_000003305

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      XV. Surgery chapter for adolescents
      and adults; post operative care and
                   follow up
Chapter members:

• Stan Monstrey, MD (co-lead), Belgium           • Pierre Brassard, MD Canada
• Loren Schechter, MD (co-lead), USA             • Mark Bram Bouman, MD Netherlands
• Javier Belinky, MD Argentina                   • Luis Capitan, MD Spain
• Jens Berli, MD USA                             • Griet De Cuypere, MD Belgium
• Rachel Bluebond-Langner, MD USA                • Maurice Garcia, MD USA
• Marci Bowers, MD USA                           • Scott Mosser, MD USA
                                                 • Michaela West, MD, PhD, USA


                                                                                     JHU_000003306

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                                Systematic Reviews
•   1. We believe that Gender Affirming Surgery         •   6. We believe that vaginoplasty improves quality of
    (GAS or GCS), when indicated and requested,             life, helps to alleviate gender dysphoria, and may be
    improves quality of life, helps to alleviate            medically necessary
    gender dysphoria, and is medically necessary        •   7: What are the benefits and risks of different
•   2. We believe that Facial Gender Confirming             techniques (e.g., penile inversion, intestinal/sigmoid,
    Surgery (FGCS) improves quality of life, helps to       peritoneal) for genital surgery for transgender
    alleviate gender dysphoria, and may be                  women?
    medically necessary                                 •   8. We believe that phalloplasty and metoidioplasty
•   3. We believe that breast augmentation                  improve quality of life, help to alleviate gender
    improves quality of life, helps to alleviate            dysphoria, and may be medically necessary
    gender dysphoria, and may be medically
    necessary
                                                        •   9. Does a prerequisite of 12 months of continuous
                                                            hormone therapy improve readiness for and
•   4. Should feminizing hormone therapy be a               outcomes of genital surgery (“bottom surgery”) in
    prerequisite for top surgery for transgender            transgender patients?
    women?                                              •   10. Does a prerequisite of 12 months of living in a
•   5. We believe that chest surgery (subcutaneous          gender role that is congruent with the gender identity
    mastectomy) improves quality of life, helps to          of the patient (the “real life test”) improve readiness
    alleviate gender dysphoria, and is medically            for and outcomes of genital surgery in transgender
    necessary                                               patients?




                                                                                                JHU_000003307

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XVI. Applicability of the standards of care for
 people living in institutional environments

• Randi Ettner (USA) – Co Lead
• George R. Brown (USA) – Co Lead
• Ren Massey (USA)
• Tom Mazur (USA)
• Sarah Murjan (UK)
• Jude Patton (USA)

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                      Draft Concepts for Inclusion
• The Standards of Care, in their entirety, apply irrespective of where people are housed.
• Neglect of medical care IS mistreatment.
• Delay of assessment and/or treatment may place individuals at risk for negative health and mental
  health outcomes.
• Violence and sexual assault by staff or residents, even if anecdotal, requires investigation and
  appropriate disciplinary action.
• Institutions should provide training for staff and enlist consultants if local competently trained
  employed staff do not exist.
• Sexual orientation should not be used as a criterion for sex segregated housing (sex vs. gender
  concepts).
• Suicidal ideation, attempts, or surgical self-treatment are indications that treatment for gender
  dysphoria or a co-occurring condition is required. These should not be the basis for segregating
  individuals in solitary confinement or other isolated areas.
• Age should not be used a barrier to evaluation or treatment.
• Chronic mental health conditions, e.g. PTSD, personality disorders, bipolar disorder, should not be
  used as a pretense for denying access to transgender health care.

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XVII. Applicability of the standards of care to
             people with intersex conditions
                  Chapter Lead: Heino F. L. Meyer-Bahlburg, Dr. rer. nat. (USA)
                  Chapter Members:
                       • David Bathory, PsyD (USA)
                       • Katherine Dalke, MD (USA)
                       • Alessandra Fisher, MD, PhD (Italy)
                       • Baudewijntje Kreukels, PhD (Netherlands)
                       • Matthew Malouf, PhD (USA)
                       • Thomas Mazur, PhD (USA)
                       • Josh Safer, MD (USA)
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             SOC-8 Ch. 17: Status 10/1/2018
• Suggested topics for “systematic review of the evidence”
   • None, because of the large number of diverse intersex conditions and the scarce psych.
      literature.
• Decision re overall chapter focus
   • Individuals with gender dysphoria and somatic intersexuality rather than individuals with
      intersexuality in general.
• Selection of intersex-specific ethical issues
   • Unresolved.
• List of “recommendations for clinical care”
   • Tentatively 13 listed and partially drafted; additional ones are likely.
• General difficulty
   • Chapter title is “Applicability of the SOCs to people with somatic intersex conditions”, but we
      don’t know yet what the SOCs-8 are going to be.


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XVIII. Applicability of standards of care to
                  Eunuchs


Chapter members:
Thomas Johnson (USA) – Lead
Chris Cargill (USA)
Michael Irwig (USA)
Kit Rachlin (USA)



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12 Best Practice Statements

1. We recognize that misunderstanding of the historical roles of eunuchs will
likely cause stress for many eunuchs whose status is known to outsiders.
Providers will need to be prepared with adequate knowledge of stereotypes
and misperceptions, as well as with accurate information.
2. We recognize that eunuchs may not voluntarily disclose their identity and/or
desires, even to their medical or mental health providers, due to stigma and
fear of rejection by the medical community
3. We recognize that individuals with male-to-eunuch gender dysphoria may
seek medical or surgical care (hormone suppression or orchiectomy) without
having had an appropriate psychological assessment by a qualified mental
health professional.... (plus 9 more....)
                                                                                    JHU_000003313

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          XIX. Competency, training, education and ethics




Jaimie Veale - New Zealand     Jamie Feldman- USA    Paula Neira- USA      Lin Fraser - USA Gail Knudson - Canada




             Terry Reed - UK         Jamison Green- USA       Carol Bayley- USA        Joz Motmans- Belgium
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                                         Process
Education                                             Ethics
• Reviewed available literature
  including practice and                           • Reviewed available literature
  educational guidelines across                    • Literature is scant and no
  disciplines                                        systematic reviews were
• Literature is scant and no                         performed
  systemic reviews were                            • Surveyed chapters within SOC 8
  performed                                          to identify ethical challenges
• Made recommendations across                      • Held GEI pre-course in Ethics in
  disciplines and institutional levels               BA to gather ideas
• All statements are prefaced with:                • Held Ethics mini-symposium in
   • We advise                                       BA to gather ideas
   • We recommend
                                                                                    JHU_000003315

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         Examples of Recommendations
• LAW: We advise that legal education programs, legal program
 accreditation boards, and licensing boards should specifically include
 transgender cultural-competency as a required topic and identify
 expectations of practice competencies for legal professionals.

• NURSING: We advise that entry-level nursing education programs
 (associate, diploma, bachelorette, or masters), nursing program
 accreditation boards, and testing boards must specifically name
 transgender health as a required topic and identify expectations of clinical
 competencies.

• MEDICINE: We advise separating transgender health content from the
 larger LGBTQ umbrella.
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        Questions
        Comments

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Voice

KQ1: For transfeminine individuals, what are the effects of speech therapy, voice therapy, or
communication therapy compared to no intervention, the intervention in conjunction with
hormone therapy or with surgery, or another intervention in terms of acoustic outcomes,
perceptual outcomes, satisfaction, and harms?

KQ2: For transmasculine individuals, what are the effects of speech therapy, voice therapy, or
communication therapy compared to no intervention, the intervention in conjunction with
hormone therapy or with surgery, or another intervention in terms of acoustic outcomes,
perceptual outcomes, satisfaction, and harms?

KQ3: For non-binary individuals, what are the effects of speech therapy, voice therapy, or
communication therapy compared to no intervention, the intervention in conjunction with
hormone therapy or with surgery, or another intervention in terms of acoustic outcomes,
perceptual outcomes, satisfaction, and harms?

KQ4: For any (but particularly transmasculine and non-binary) individuals, what are the effects
of (sustained) chest binding compared to no binding in terms of valving efficiency and
projection?

KQ5: For transfeminine individuals, what are the effects of surgical interventions for voice
feminization compared to no surgical intervention, surgery in conjunction with voice therapy or
with hormone therapy, or other surgical interventions for voice feminization in terms of acoustic
outcomes, perceptual outcomes, satisfaction, and harms?

KQ6: For transmasculine individuals, what are the effects of surgical interventions for voice
masculinization (see list in Table A) compared to no surgical intervention, surgery in conjunction
with voice therapy or with hormone therapy, or other surgical interventions for voice
masculinization in terms of acoustic outcomes, perceptual outcomes, satisfaction, and harms?

KQ7: For transfeminine individuals, what are the effects of feminizing hormone therapies
compared to no hormone therapy or hormone therapy in conjunction with voice therapy or with
surgery in terms of acoustic outcomes, perceptual outcomes, satisfaction, and harms?

KQ7A: Do these effects differ for pre-pubertal children being treated with hormone blockers?




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KQ7B: Do these effects differ for people who were treated with hormone blockers before being
treated with estrogen?

KQ7C: Do these effects differ for adults being treated with estrogen?

KQ8: For transmasculine individuals, what are the effects of masculinizing hormone therapies
(e.g., testosterone) compared to no hormone therapy or hormone therapy in conjunction with
voice therapy or with surgery in terms of acoustic outcomes, perceptual outcomes, satisfaction,
and harms?

KQ8A: Do these effects differ for pre-pubertal children being treated with hormone blockers?

KQ8B: Do these effects differ for people who were treated with hormone blockers before being
treated with testosterone?

KQ8C: Do these effects differ for adults being treated with testosterone?

Surgery

KQ1: What are the benefits and risks of chest reconstruction surgery for transgender men and
gender-nonconforming individuals assigned female at birth?

KQ2: What are the benefits and risks of breast augmentation surgery (“top surgery”) for
transgender women and gender non-conforming individuals assigned male at birth?

KQ2a: What are the benefits and risks of top surgery for transfeminine individuals and gender
non-conforming individuals assigned male at birth in terms of factors aside from gender
dysphoria (e.g., BRCA-1 mutation, family history of breast cancer)?

KQ2b: How does hormone therapy status affect the benefits and risks of top surgery for
transgender women and gender non-conforming in transfeminine individuals and gender non-
conforming individuals assigned male at birth?

KQ2c: How does age affect the benefits and risks of top surgery, particularly for those under 18
for transfeminine individuals and gender non-conforming individuals assigned male at birth?

Reproductive health




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KQ1: What are the effects of gender-affirming hormone therapy in terms of psychosocial and
clinical outcomes on the future off-spring of transgender or gender non-conforming individuals?

KQ2: What is the impact of hormone (GnRH analogues, testosterone, estrogen) treatments on
fertility?

KQ3: What is the impact of hormone (GnRH analogues, testosterone, estrogen) treatments on
ability to breast/chest feed?

Primary Care

KQ1: In transfeminine populations on estrogen therapy, does the specific route (intramuscular,
transdermal, oral, sublingual) of exogenous estrogen increase or decrease risk for breast cancer?

KQ4: In transfeminine populations on estrogen therapy, does serum estrogen level impact risk
for development of breast cancer? Do transfeminine populations with higher serum estrogen
levels (>200) have greater risk for breast cancer compared with transfeminine populations with
lower serum estrogen levels (<200)?

KQ5: Do transmasculine persons on testosterone therapy, when compared to cisgender women
of average risk, have an increased risk of ovarian cancer?

Hormones

KQ1. For transgender women, what are the safety and efficacy of androgen-lowering
medications compared to spironolactone vs cyproterone vs GnRH agonists in terms of surrogate
outcomes, clinical outcomes, and harms?

KQ2. For transgender adolescent, what are the long term effect of GnRH agonists compared to
no treatment, in terms of surrogate outcomes, clinical outcomes, and harms?

KQ10. For transgender adolescent, what are the effects of suppressing puberty with GnRH
agonists on quality of life?

KQ3: For transgender women on gender-affirming hormone therapy with estrogen, what
are the comparative risks of prolactinomas and hyperprolactinemia between
spironolactone, cyproterone, and GnRH agonists, in terms of prolactin levels and presence
of prolactinomas confirmed by imaging?



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KQ4. For transgender people, what are the effect of progesterones (cyproterone) compared to
medroxyprogesterone and other progesterones in terms of breast growth (adults), delay of
puberty (children), and side effects?

KQ5. For transgender women, what are the comparative risks of different regimens of gender-
affirming hormone therapy with estrogens (conjugated estrogen, estradiol, ethinyl estradiol) in
terms of pulmonary embolism, deep-vein thrombosis, stroke, and myocardial infarction?


KQ9. For transgender women, what is the safety of different routes of administration for
estrogen (oral, cutaneous, intramuscular) in terms of myocardial infarction, stroke, deep-vein
thrombosis, and pulmonary embolism?


KQ6: For transgender men, what is the risk of polycythemia among transgender men on gender-
affirming therapy with testosterone, as measured by hematocrit and hemoglobin levels?

Question 7. For transgender men, what is the effect of testosterone therapy on uterine, ovarian,
cervical, vaginal, and breast pathology in transgender men who have not had a hysterectomy or
oophorectomy?

Question 8. For transgender women, what is the effect of estrogen therapy on breast, testicular,
prostate, and penile tissue in transgender women who have not had a gonadectomy?

KQ11. For transgender people, what are the psychological effects (including quality of life)
associated with hormone therapy?

KQ12. For transgender people, what are the effects of hormone therapy on metabolic
syndrome?


Assessment

Key Question 1. What is the effect of assessment by a health professional prior to initiation of
cross-sex hormones?




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Key Question 2. What is the effect of assessment by a health professional prior to gender-
affirming surgery?

Key Question 3. What is the effect of transition prior to initiation of gender-affirming hormone
therapy?

Key Question 4. What is effect of transition prior to initiation of gender-affirming surgery?

Adolescents

Question 1: What is the effect of rejection or acceptance on the mental health and psychosocial
wellbeing of transgender and other gender-diverse children and adolescents?




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WPATH Standards of Care:
Guideline Development
Methodology
9 July 2018
Objective

WPATH Mission
The World Professional Association for Transgender Health (WPATH) is an interdisciplinary
professional and educational organization dedicated to transgender health. The mission of
WPATH is to promote evidence-based care, education, research, advocacy, public policy, and
respect in transgender health.
Purpose of the Standards of Care
The overall goal of the guidelines from WPATH, called “Standards of Care”, is to provide
clinical guidance for health professionals to assist transsexual, transgender, and gender
nonconforming1 people with safe and effective pathways to achieve lasting personal comfort
with their gendered selves, and to maximize their overall health, psychological well-being, and
self-fulfillment. This assistance may include primary care, gynecologic and urologic care,
reproductive options, voice and communication therapy, mental health services (e.g., assessment,
counseling, psychotherapy), and hormonal and surgical treatments.
Target Audience
While this is primarily a document for health professionals, the Standards of Care may also be
used by individuals, their families, and social institutions to promote optimal health for members
of this diverse population.
Target Population
The recommendations in the Standards of Care are developed to apply to transsexual,
transgender, and gender nonconforming people1.
Footnote: 1 Terminology for Standards of Care to be determined by members of “Chapter 2- Terminology”



While the Standards of Care are intended for broad use across countries, WPATH acknowledges
that much of the recorded clinical experience and knowledge in this area of health care is derived
from North America and Western Europe.




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History of the Standards of Care
The Standards of Care were originally published in 1979. Updated Standards of Care were
published in 1980, 1981, 1990, 1998, 2001, and 2011.
About Standards of Care 8th Version
This version of the Standards of Care is the first to be developed using an evidence-based
approach. Evidence-based guidelines include recommendations intended to optimize patient care
that are informed by a systematic review of evidence and an assessment of the benefits and
harms of alternative care options. This document provides an overview of the methodological
approach for updating the Standards of Care.

Overview of Process
The steps for updating the Standards of Care are summarized below:
   •   Establish Guideline Steering Committee
   •   Determine topics for chapters (scope of guidelines)
   •   Select Chapter Members and Evidence Review Team
   •   Refine the topics and review questions
   •   Conduct the systematic reviews
   •   Draft the recommendation statements
   •   Distribute Standards of Care for review
   •   Disseminate the Standards of Care
   •   Plan to update

Establish Guideline Steering Committee
The WPATH Guideline Steering Committee oversees the guideline development process for all
chapters of the Standards of Care. Members of the Guideline Steering Committee are selected by
the WPATH Board from WPATH members applying for these positions. The Chairs of the
Guideline Steering Committee:
   •   Appoint the Chapter Leads and Members for each chapter
   •   Selects topics for the chapters
The Guideline Steering Committee provides general oversight of the guideline development
process. The Committee reviews all chapters of the Standards of Care to confirm adherence to
the WPATH guideline methodology and to ensure consistency of statements across the Standards
of Care.
The Guideline Steering Committee for Standards of Care 8th Version are:
   •   Eli Coleman, PhD (Chair)
       Professor, Director and Academic Chair, Program in Human Sexuality, Department of
       Family Medicine and Community Health, University of Minnesota Medical School
       (USA)



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   •    Asa Radix, MD, PhD, MPH (Co-chair)
        Director, Research and Education
        Callen-Lorde Community Health Center
        Assistant Clinical Professor of Medicine
        New York University, USA
   •    Jon Arcelus, MD, PhD (Co-chair)
        Professor of Mental Health and Transgender Health
        University of Nottingham, UK
   •    Karen A. Robinson, PhD (Lead, Evidence Review Team)
        Associate Professor of Medicine, Epidemiology and Health Policy & Management
        Johns Hopkins University, USA

Determine Topics for Chapters
The Guideline Steering Committee determines the chapters for inclusion in the Standards of
Care. The chapters in the Standards of Care 8th Version are:
   1.  Global Applicability of the Standards of Care
   2.  Terminology – Diagnostic Criteria
   3.  Epidemiologic Considerations
   4.  Overview of Therapeutic Approaches for Gender Health
   5.  Assessment, Support and Therapeutic Approaches for Children
   6.  NEW: Assessment, Support and Therapeutic Approaches for Adolescents with Gender
       Variance/Dysphoria
   7. Assessment of Adults
   8. Assessment, Support and Therapeutic Approaches for Non-Binary Individuals
   9. Managing Mental and Behavioral Health Conditions in Adults
   10. Primary Care for Adults
   11. Hormone Therapy for Adolescents and Adults
   12. NEW: Sexual Health Across The Lifespan
   13. Reproductive Health for Adolescents and Adults
   14. Voice and Communication Therapy
   15. Surgery For Adolescents and Adults: Postoperative Care and Follow-Up
   16. Applicability of the Standards of Care to People Living in Institutional Environments
   17. Applicability of the Standards of Care to People with Intersex Conditions
   18. NEW: Applicability of the Standards of Care to Eunuchs
   19. NEW: Competency, Training, Education
   20. Ethics

Select Chapter Members
Those interested in working on the Standards of Care can apply to serve as Chapter Members
(Chapter Lead or Member). The Chairs of the Guideline Steering Committee appoint the
members for each chapter, ensuring representation from a variety of disciplines and perspectives.



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Chapter Leads and Members are required to be WPATH Full Members in good standing, and
have expertise in transgender health, including in the specific chapter topic. Chapter Leads are
expected to be well known advocates for WPATH and the Standards of Care. Chapter Leads
report to the Guideline Steering Committee and are responsible for coordinating the participation
of Chapter Members. Chapter members report directly to the Chapter Lead.
Each chapter also includes stakeholders as members who bring perspectives of transgender
health advocacy or work in the community, or as a member of a family that includes a
transgender child, sibling, partner, parent, etc. The stakeholders are not required to be WPATH
Full Members.
The Chapter Members are expected to:
   •   participate in the development refinement of review questions
   •   read and provide comments on all materials from the Evidence Review Team
   •   critically review draft documents, including the draft evidence report
   •   with other members, review and assess evidence and draft recommendations
   •   participate in consensus process to draft and confirm recommendations
   •   as appropriate and as requested, draft section(s) of the guidelines document
   •   review comments from peer review process and assist in revision of guidelines, as
       necessary
   •   provide input and participate in the dissemination of guidelines
Training and orientation for Chapter Leads and Members will be provided, as needed. Training
content includes formulation and refinement of questions (i.e., use of PICO), reviewing the
evidence, developing recommendation statements, grading the evidence and the
recommendations, and information about the guideline development program and process.



Select Evidence Review Team
The WPATH Board issues a request for applications. For Standards of Care 8th Version the
WPATH Board has engaged an Evidence Review Team at Johns Hopkins University.


Conflict of Interest
Members of the Guideline Steering Committee, Chapter Leads and Members, and members of
the Evidence Review Team are asked to disclose any conflicts of interest. Also reported, in
addition to potential financial and competing interests or conflicts, are personal or direct
reporting relationships with a chair, co-chair or a WPATH Board Member or the holding of a
position on the WPATH Board of Directors.




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Refine the Topics and Review Questions
The Evidence Review Team abstracts the recommendation statements from the prior version of
the Standards of Care. With input from the Evidence Review Team, the Guideline Steering
Committee and Chapter Leads determine:
    •   recommendation statements that need to be updated
    •   new areas requiring recommendation statements
    •   statements that will be evidence-based (based on a systematic review)
    •   statements that will be consensus-based statements.
Statements that will be evidence-based cover topics that are likely to have a body of evidence
and reflect areas of uncertainty (e.g. in people X, therapy Y should be provided). Consensus-
based statements, sometimes called good practice statements, reflect areas which may not have
an evidence based or may be considered common-sense (e.g., people X, with Y, should be
referred to specialist Z).
Chapter Members develop statements, they also review and confirm the statements and the
classification as to type of statement.
For the statements requiring a systematic review, the Evidence Review Team drafts review
questions, specifying the population, interventions, comparisons, and outcomes (PICO elements).
Chapter Leads and Members review the review questions and provide feedback.

Conduct the Systematic Reviews
The Evidence Review Team conducts systematic reviews. An overview of the systematic review
methodology can be found in the Systematic Review Methodology document (question specific
details will be provided in systematic review protocols). The Evidence Review Team presents
evidence tables and other results of the systematic reviews to the members of the relevant
chapter.

Drafting of the Recommendation Statements
Chapter Leads and Members draft recommendation statements. The statements are crafted to be
explicit and actionable.
Evidence-based recommendation statements are based on the results of the systematic reviews.
For evidence-based recommendation statements, with assistance from the Evidence Review
Team, the Chapter Leads and Members assign a grade of the recommendation (using GRADE
system); describe the health benefits, side effects, and risks; and provide an explicit link between
the recommendations and the supporting evidence.
Consensus-based recommendations, also called good practice statements, provide guidance for
decision makers which may not have an evidence base. A formal consensus method, such as
Delphi (a structured solicitation of expert judgements in two or more rounds), will be used for
consensus-based statements. Consensus is sought within the whole SOC Committee for each
consensus-based recommendation statement.


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The Guidelines Steering Committee and Chapter Leads review and approve all recommendation
statements for clarity and consistency in wording, and where relevant, grading. During this
review any overlap between chapters is also addressed.
All recommendation statements are as specific as possible and actionable. Consensus-based
recommendation statements will be clearly identified as such within the Standards of Care.
Recommendation statements will be explicit and easily identified.
In addition to the recommendation statements, each chapter includes background, rationale for
the each statement including details about the evidence base, the level of agreement and other
considerations; information about implementing the recommendations; and, recommendations
for future research.



Grading
Once the statements of a chapter have passed the Delphi process, chapter members will grade
each statement using GRADING. Recommendation statements are either for or against an
intervention/therapy/strategy and strength will be indicated as either:
   •     We recommend
   •     We suggest


The strength of recommendation considers four domains:
    1.   The balance of potential benefits and harms
    2.   Confidence in that balance or quality of evidence
    3.   Values and preferences of providers and patients
    4.   Resource use and feasibility


Evidence-based recommendation statements may be strong or weak:
   •     Strong recommendations (“we recommend”) are for those
         interventions/therapy/strategies where:
             o the evidence is of high quality
             o estimates of the effect of an intervention/therapy/strategy (i.e. there is a high
                degree of certainty that effects will be achieved in practice)
             o there are few downsides of therapy/intervention/strategy
             o there is a high degree of acceptance among patients or those for whom the
                recommendation applies.
   •     Weak recommendations (“we suggest”) are for those interventions/therapy/strategies
         where:
             o there are weaknesses in the evidence base
             o there is a degree of doubt about the size of the effect that can be expected in
                practice


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            o there is a need to balance the potential upsides and downsides of
              interventions/therapy/strategies
            o there are likely to be varying degrees of acceptance among patients or those for
              whom the recommendation applies.


Text should precede each statement providing the rationale or reasoning for the recommendation.
This should include outlining the available evidence, providing details about potential benefits
and harms, a description of uncertainty, role of values and experience in developing the
recommendation, and information about implementation of the recommendation, including
expected barriers or challenges. References should be used, using APA style, to support the
information in the text. Links to resources should also be provided, as appropriate. Reasons as to
why the statement is strong or weak should be clearly described. The text, including whether a
recommendation has been described as strong or weak, will be reviewed and approved by the
Chairs. In addition, references used to support the statements will be validated.


To maintain difference and help readers distinguish between recommendations informed by
systematic reviews and those not, the statements should be followed by certainty of evidence for
those informed by systematic literature reviews.
Only statements supported by the systematic literature review should be followed by:
++++ strong certainty of evidence
+++      moderate certainty of evidence
++       low certainty of evidence
+        very low certainty of evidence


The level of agreement from the final round of Delphi should be presented for each as an
appendix at the end of the document (such as in a table).
Example:
We recommend that people with X receive Y (++)

Structure for chapters
This is the general structure for each chapter.
     •   Background – brief introduction outlining scope of chapter (1-2 pages maximum).
            o As part of the introduction the principal of care can be added whether as bullet points
                or as part of the text.
     •   Summary of Recommendations – a list of each recommendation statement in a box.




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   •   Within main text, with subheadings/sections of chapter as warranted, the
       recommendations with accompanying text as described above. (Maximum of
       approximately 3 paragraphs per recommendation statement.)


Distribute Standards of Care for Review
The draft Standards of Care document is circulated among the broader Standards of Care
Revision Committee and the WPATH International Advisory Group. Feedback from these
groups is considered, and any necessary revisions are made, by the Chapter Leads and the
Guideline Steering Committee, with assistance from the Evidence Review Team.
The revised draft version of the Standards of Care document is posted for comment from the
public, including WPATH members, on the WPATH website.
The Chapter Leads and Guideline Steering Committee, with assistance from Evidence Review
Team, considers feedback and makes any necessary revisions. The final document is presented to
the WPATH Board of Directors for approval.

Disseminate the Standards of Care
The Standards of Care are disseminated in a number of venues and in a number of formats.

Plan to Update
The Standards of Care are reviewed at 3 years after the release date to determine if an update is
needed. In addition, updates may be triggered by events such as important new evidence or
therapies. The WPATH Board of Directors determines the timing of any revision of the
Standards of Care.




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WPATH Systematic Review
Methodology
2 May 2018
Protocol
A separate detailed systematic review protocol is developed for each review question or topic, as
appropriate. Each protocol is registered on PROSPERO.
Literature Search
The Evidence Review Team will develop a search strategy appropriate for each research
question. At a minimum, the Evidence Review Team will search MEDLINE®, Embase™, and
the Cochrane Central Register of Controlled Trials (CENTRAL). The Evidence Review Team
may search additional databases as deemed appropriate for the research question. The search
strategy will include MeSH and text terms and will not be limited by language of publication or
date.
The Evidence Review Team will handsearch the reference lists of all included articles and
recent, relevant systematic reviews. The Evidence Review Team will search ClinicalTrials.gov
for any additional relevant studies.
We will update the searches during the peer review process.
Study Selection
The Evidence Review Team, with input from the Chapter Workgroup Leads, will define the
eligibility criteria for each research question a priori.
Two reviewers from the Evidence Review Team will independently screen titles and abstracts
and full-text articles for eligibility. To be excluded, both reviewers will need to agree that the
study meets at least one exclusion criteria. Reviewers will resolve differences regarding
eligibility through discussion.
Studies that do not meet the eligibility criteria will not be considered as evidence, but may be
used in background sections of the Standards of Care.
Data Extraction
The Evidence Review Team will use standardized forms to abstract data on general study
characteristics, participant characteristics, interventions, and outcome measures. One reviewer
will abstract the data, and a second reviewer will confirm the abstracted data.
Assessment of Risk of Bias
Two reviewers from the Evidence Review Team will independently assess the risk of bias for
each included study. For randomized controlled trials, we will use the Cochrane Risk of Bias
Tool. For observational studies, we will use Risk of Bias in Non-Randomized Studies – of



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Interventions (ROBINS-I) tool. Where deemed appropriate, existing recent systematic reviews
may be considered and will be evaluated using ROBIS.
Data Synthesis and Analysis
The Evidence Review Team will create evidence tables detailing the data abstracted from the
included studies. The members of the Chapter Workgroups will review and provide comment on
the evidence tables.
Grading of the Evidence
The Evidence Review Team will assign evidence grades using the GRADE methodology. The
Evidence Review Team will assign evidence grade to pre-defined critical outcomes for each
question. We will assess the strength of the evidence by assessing the limitations to individual
study quality/risk of bias, consistency, directness, precision, and reporting bias.
We will classify evidence pertaining to the review questions into four basic categories: 1) “high”
grade (indicating high confidence that the evidence reflects the true effect and that further
research is very unlikely to change our confidence in the estimate of the effect); 2) “moderate”
grade (indicating moderate confidence that the evidence reflects the true effect and that further
research may change our confidence in the estimate of the effect and may change the estimate);
3) “low” grade (indicating low confidence that the evidence reflects the true effect and that
further research is likely to change our confidence in the estimate of the effect and is likely to
change the estimate); and 4) “insufficient” grade (evidence is unavailable or does not permit a
conclusion).




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WPATH Standards of Care:
Guideline Development
Methodology
9 July 2018
Objective

WPATH Mission
The World Professional Association for Transgender Health (WPATH) is an interdisciplinary
professional and educational organization dedicated to transgender health. The mission of
WPATH is to promote evidence-based care, education, research, advocacy, public policy, and
respect in transgender health.
Purpose of the Standards of Care
The overall goal of the guidelines from WPATH, called “Standards of Care”, is to provide
clinical guidance for health professionals to assist transsexual, transgender, and gender
nonconforming1 people with safe and effective pathways to achieve lasting personal comfort
with their gendered selves, and to maximize their overall health, psychological well-being, and
self-fulfillment. This assistance may include primary care, gynecologic and urologic care,
reproductive options, voice and communication therapy, mental health services (e.g., assessment,
counseling, psychotherapy), and hormonal and surgical treatments.
Target Audience
While this is primarily a document for health professionals, the Standards of Care may also be
used by individuals, their families, and social institutions to promote optimal health for members
of this diverse population.
Target Population
The recommendations in the Standards of Care are developed to apply to transsexual,
transgender, and gender nonconforming people1. Transsexual people are individuals who seek to
change or who have changed their primary and/or secondary sex characteristics through
feminizing or masculinizing medical interventions (hormones and/or surgery), typically
accompanied by a permanent change in gender role. Transgender people are a diverse group of
individuals who cross or transcend culturally-defined categories of gender. The gender identity
of transgender people differs to varying degrees from the sex they were assigned at birth. Gender
nonconformity refers to the extent to which a person’s gender identity, role, or expression differs
from the cultural norms prescribed for people of a particular sex.
Footnote: 1 Terminology for Standards of Care to be determined by members of “Chapter 2- Terminology”




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While the Standards of Care are intended for broad use across countries, WPATH acknowledges
that much of the recorded clinical experience and knowledge in this area of health care is derived
from North America and Western Europe.
History of the Standards of Care
The Standards of Care were originally published in 1979. Updated Standards of Care were
published in 1980, 1981, 1990, 1998, 2001, and 2011.
About Standards of Care 8th Version
This version of the Standards of Care is the first to be developed using an evidence-based
approach. Evidence-based guidelines include recommendations intended to optimize patient care
that are informed by a systematic review of evidence and an assessment of the benefits and
harms of alternative care options. This document provides an overview of the methodological
approach for updating the Standards of Care.

Overview of Process
The steps for updating the Standards of Care are summarized below:
   •   Establish Guideline Steering Committee
   •   Determine topics for chapters (scope of guidelines)
   •   Select Chapter Members and Evidence Review Team
   •   Refine the topics and review questions
   •   Conduct the systematic reviews
   •   Draft the recommendation statements
   •   Distribute Standards of Care for review
   •   Disseminate the Standards of Care
   •   Plan to update

Establish Guideline Steering Committee
The WPATH Guideline Steering Committee oversees the guideline development process for all
chapters of the Standards of Care. Members of the Guideline Steering Committee are selected by
the WPATH Board from WPATH members applying for these positions. The Chairs of the
Guideline Steering Committee:
   •   Appoint the Chapter Leads and Members for each chapter
   •   Selects topics for the chapters
The Guideline Steering Committee provides general oversight of the guideline development
process. The Committee reviews all chapters of the Standards of Care to confirm adherence to
the WPATH guideline methodology and to ensure consistency of statements across the Standards
of Care.
The Guideline Steering Committee for Standards of Care 8th Version are:



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   •    Eli Coleman, PhD (Chair)
        Professor, Department of Family Medicine and Community Health
        Director and Chair in Sexual Health, Program in Human Sexuality
        University of Minnesota, US
   •    Asa Radix, MD, MPH (Co-chair)
        Director, Research and Education
        Callen-Lorde Community Health Center
        Assistant Clinical Professor of Medicine
        New York University, US
   •    Jon Arcelus, MD, PhD (Co-chair)
        Professor of Mental Health and Transgender Health
        University of Nottingham, UK
   •    Karen A. Robinson, PhD (Lead, Evidence Review Team)
        Associate Professor of Medicine, Epidemiology and Health Policy & Management
        Johns Hopkins University, US

Determine Topics for Chapters
The Guideline Steering Committee determines the chapters for inclusion in the Standards of
Care. The chapters in the Standards of Care 8th Version are:
   1.  Global Applicability of the Standards of Care
   2.  Terminology – Diagnostic Criteria
   3.  Epidemiologic Considerations
   4.  Overview of Therapeutic Approaches for Gender Health
   5.  Assessment, Support and Therapeutic Approaches for Children
   6.  NEW: Assessment, Support and Therapeutic Approaches for Adolescents with Gender
       Variance/Dysphoria
   7. Assessment of Adults
   8. Assessment, Support and Therapeutic Approaches for Non-Binary Individuals
   9. Managing Mental and Behavioral Health Conditions in Adults
   10. Primary Care for Adults
   11. Hormone Therapy for Adolescents and Adults
   12. NEW: Sexual Health Across The Lifespan
   13. Reproductive Health for Adolescents and Adults
   14. Voice and Communication Therapy
   15. Surgery For Adolescents and Adults: Postoperative Care and Follow-Up
   16. Applicability of the Standards of Care to People Living in Institutional Environments
   17. Applicability of the Standards of Care to People with Intersex Conditions
   18. NEW: Applicability of the Standards of Care to Eunuchs
   19. NEW: Competency, Training, Education, Ethics




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Select Chapter Members
Those interested in working on the Standards of Care can apply to serve as Chapter Members
(Chapter Lead or Member). The Chairs of the Guideline Steering Committee appoint the
members for each chapter, ensuring representation from a variety of disciplines and perspectives.
Chapter Leads and Members are required to be WPATH Full Members in good standing, and
have expertise in transgender health, including in the specific chapter topic. Chapter Leads are
expected to be well known advocates for WPATH and the Standards of Care. Chapter Leads
report to the Guideline Steering Committee and are responsible for coordinating the participation
of Chapter Members. Chapter members report directly to the Chapter Lead.
Each chapter also includes stakeholders as members who bring perspectives of transgender
health advocacy or work in the community, or as a member of a family that includes a
transgender child, sibling, partner, parent, etc. The stakeholders are not required to be WPATH
Full Members.
The Chapter Members are expected to:
   •   participate in the development refinement of review questions
   •   read and provide comments on all materials from the Evidence Review Team
   •   critically review draft documents, including the draft evidence report
   •   with other members, review and assess evidence and draft recommendations
   •   participate in consensus process to draft and confirm recommendations
   •   as appropriate and as requested, draft section(s) of the guidelines document
   •   review comments from peer review process and assist in revision of guidelines, as
       necessary
   •   provide input and participate in the dissemination of guidelines
Training and orientation for Chapter Leads and Members will be provided, as needed. Training
content includes formulation and refinement of questions (i.e., use of PICO), reviewing the
evidence, developing recommendation statements, grading the evidence and the
recommendations, and information about the guideline development program and process.



Select Evidence Review Team
The WPATH Board issues a request for applications. For Standards of Care 8th Version the
WPATH Board has engaged an Evidence Review Team at Johns Hopkins University.


Conflict of Interest
Members of the Guideline Steering Committee, Chapter Leads and Members, and members of
the Evidence Review Team are asked to disclose any conflicts of interest. Also reported, in
addition to potential financial and competing interests conflicts, are personal or direct reporting




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relationships with a chair, co-chair or a WPATH Board Member or the holding of a position on
the WPATH Board of Directors.                                                                          Commented [A1]: These need to be collected.
                                                                                                         -Are disclosures available?
                                                                                                         -How are potential COI managed?
Refine the Topics and Review Questions
The Evidence Review Team abstracts the recommendation statements from the prior version of
the Standards of Care. With input from the Evidence Review Team, the Guideline Steering
Committee and Chapter Leads determine:
    •    recommendation statements that need to be updated
    •    new areas requiring recommendation statements
    •    statements that will be evidence-based (based on a systematic review)
    •    statements that will be consensus-based statements.
Statements that will be evidence-based cover topics that are likely to have a body of evidence
and reflect areas of uncertainty (e.g. in people X, therapy Y should be provided). Consensus-
based statements, sometimes called good practice statements, reflect areas which may not have
an evidence based or may be considered common-sense (e.g., people X, with Y, should be
referred to specialist Z).
Chapter Members review and confirm the statements and the classification as to type of
statement.
For the statements requiring a systematic review, the Evidence Review Team drafts review
questions, specifying the population, interventions, comparisons, and outcomes (PICO elements).
Chapter Leads and Members review the review questions and provide feedback.

Conduct the Systematic Reviews
The Evidence Review Team conducts systematic reviews. An overview of the systematic review
methodology can be found in the Systematic Review Methodology document (question specific
details will be provided in systematic review protocols). The Evidence Review Team presents
evidence tables and other results of the systematic reviews to the members of the relevant
chapter.

Draft the Recommendation Statements
Chapter Leads and Members draft recommendation statements. The statements are crafted to be
explicit and actionable.
Evidence-based recommendation statements are based on the results of the systematic reviews.
For evidence-based recommendation statements, with assistance from the Evidence Review
Team, the Chapter Leads and Members assign a grade of the recommendation (using GRADE
system); describe the health benefits, side effects, and risks; and provide an explicit link between
the recommendations and the supporting evidence.
Evidence-based recommendation statements may be strong or weak:
   •    strong recommendation is made where:


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          o the evidence is of high quality
          o estimates of the effect of an intervention are precise (i.e. there is a high degree of
              certainty that effects will be achieved in practice)
          o there are few downsides of therapy
          o there is a high degree of acceptance among patients.
   •   weak recommendation is made where:
          o there are weaknesses in the evidence base
          o there is a degree of doubt about the size of the effect that can be expected in
              practice
          o there is a need to balance the potential upsides and downsides of therapy
          o there are likely to be varying degrees of acceptance among patients.
Consensus-based recommendations, also called good practice statements, provide guidance for
decision makers which may not have an evidence base. A formal consensus method, such as
Delphi (a structured solicitation of expert judgements in two or more rounds), will be used for
consensus-based statements. Consensus is sought within the chapter for each consensus-based
recommendation statement.                                                                            Commented [A2]: A recommendation is drafted and
                                                                                                     agreed in Chapter and then sent to all SOC8 members for
The Guidelines Steering Committee and Chapter Leads review all recommendation statements             Delphi vote?
for clarity and consistency in wording, and where relevant, grading. During this review any
overlap between chapters is also addressed.
All recommendation statements are as specific as possible and actionable. Consensus-based
recommendation statements will be clearly identified as such within the Standards of Care.
Recommendation statements will be explicit and easily identified.
In addition to the recommendations statements, each chapter includes background, rationale for
the each statement including details about the evidence base, the level of agreement and other
considerations; information about implementing the recommendations; and, recommendations
for future research.

Distribute Standards of Care for Review
The draft Standards of Care document is circulated among the broader Standards of Care
Revision Committee and the WPATH International Advisory Group. Feedback from these
groups is considered, and any necessary revisions are made, by the Chapter Leads and the
Guideline Steering Committee, with assistance from the Evidence Review Team.
The revised draft version of the Standards of Care document is posted for comment from the
public, including WPATH members, on the WPATH website.
The Chapter Leads and Guideline Steering Committee, with assistance from Evidence Review
Team, considers feedback and makes any necessary revisions. The final document is presented to
the WPATH Board of Directors for approval.

Disseminate the Standards of Care
The Standards of Care are disseminated in a number of venues and in a number of formats.


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Plan to Update
The Standards of Care are reviewed at 3 years after the release date to determine if an update is
needed. In addition, updates may be triggered by events such as important new evidence or
therapies. The WPATH Board of Directors determines the timing of any revision of the
Standards of Care.




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WPATH Systematic Review
Methodology
2 May 2018
Protocol
A separate detailed systematic review protocol is developed for each review question or topic, as
appropriate. Each protocol is registered on PROSPERO.
Literature Search
The Evidence Review Team will develop a search strategy appropriate for each research
question. At a minimum, the Evidence Review Team will search MEDLINE®, Embase™, and
the Cochrane Central Register of Controlled Trials (CENTRAL). The Evidence Review Team
may search additional databases as deemed appropriate for the research question. The search
strategy will include MeSH and text terms and will not be limited by language of publication or
date.
The Evidence Review Team will handsearch the reference lists of all included articles and
recent, relevant systematic reviews. The Evidence Review Team will search ClinicalTrials.gov
for any additional relevant studies.
We will update the searches during the peer review process.
Study Selection
The Evidence Review Team, with input from the Chapter Workgroup Leads, will define the
eligibility criteria for each research question a priori.
Two reviewers from the Evidence Review Team will independently screen titles and abstracts
and full-text articles for eligibility. To be excluded, both reviewers will need to agree that the
study meets at least one exclusion criteria. Reviewers will resolve differences regarding
eligibility through discussion.
Studies that do not meet the eligibility criteria will not be considered as evidence, but may be
used in background sections of the Standards of Care.
Data Extraction
The Evidence Review Team will use standardized forms to abstract data on general study
characteristics, participant characteristics, interventions, and outcome measures. One reviewer
will abstract the data, and a second reviewer will confirm the abstracted data.
Assessment of Risk of Bias
Two reviewers from the Evidence Review Team will independently assess the risk of bias for
each included study. For randomized controlled trials, we will use the Cochrane Risk of Bias
Tool. For observational studies, we will use Risk of Bias in Non-Randomized Studies – of



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Interventions (ROBINS-I) tool. Where deemed appropriate, existing recent systematic reviews
may be considered and will be evaluated using ROBIS.
Data Synthesis and Analysis
The Evidence Review Team will create evidence tables detailing the data abstracted from the
included studies. The members of the Chapter Workgroups will review and provide comment on
the evidence tables.
Grading of the Evidence
The Evidence Review Team will assign evidence grades using the GRADE methodology. The
Evidence Review Team will assign evidence grade to pre-defined critical outcomes for each
question. We will assess the strength of the evidence by assessing the limitations to individual
study quality/risk of bias, consistency, directness, precision, and reporting bias.
We will classify evidence pertaining to the review questions into four basic categories: 1) “high”
grade (indicating high confidence that the evidence reflects the true effect and that further
research is very unlikely to change our confidence in the estimate of the effect); 2) “moderate”
grade (indicating moderate confidence that the evidence reflects the true effect and that further
research may change our confidence in the estimate of the effect and may change the estimate);
3) “low” grade (indicating low confidence that the evidence reflects the true effect and that
further research is likely to change our confidence in the estimate of the effect and is likely to
change the estimate); and 4) “insufficient” grade (evidence is unavailable or does not permit a
conclusion).




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Overview of Methods and Status

                 November 2018

  WPATH SOC8 Chairs, Chapter Leads
          and ERT (JHU)



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   Clinical Practice Guidelines
Systematically developed statements that
include recommendations, strategies, or
information that assist physicians and/or
other health care practitioners and patients
make decisions about appropriate health care
for specific clinical circumstances.




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                                                             JHU_000003796

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                Guideline Process

1. Identify scope
2. Convene group
3. Refine questions
4. Assess evidence
5. Draft guideline
6. External review
7. Disseminate guidelin


                                  WPATH SOC8                        JHU_000003797
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           What makes a good guideline?


                        Domains:
                        1. Scope & Purpose
                        2. Stakeholder Involvement
                        3. Rigour of Development
                        4. Clarity of Presentation
                        5. Applicability
                        6. Editorial Independence



                               WPATH SOC8                         JHU_000003798
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                 1. Identify Scope
• Develop SOC8
  – Chapters, including new chapters identified

                                                      AGREE
                                                      - Scope and Purpose




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                                         245
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               2. Convene group
• Chairs
• Chapter Leads and Members
• Methodologist             AGREE
                                                     - Stakeholder
                                                       involvement
                                                     - Editorial
                                                       independence



                                 WPATH SOC8                        JHU_000003800
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    AGREE Domain 6. Editorial Independence

Items:
• View of funding bod
   have not influenced
   content
• Competing interests
   development group
   members recorded a
   addressed



April 2016                                                                JHU_000003801
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              3. Refine questions
Task discussed during initial calls:
To identify and refine questions for systematic
reviews
                                                             AGREE
                                                             - Scope
• Review statements from SOC7                                - Rigour of
• Draft recommendations                                        development




                                  WPATH SOC8                        JHU_000003802
                                         248
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               SOC7 Statements
                               (May)




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                              WPATH SOC8                      JHU_000003804

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                 4. Assess Evidence
• ERT:
  – Conduct systematic reviews
  – Strength of evidence
• Chapter Members:
  – Provide guidance
  – Confirm summary and strength of evidence
                                                          AGREE
                                                          - Rigour of
                                                            development
                                    WPATH SOC8                       JHU_000003805

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 AGREE Domain 3. Rigour of Development

Items:
• Systematic search                            • Health benefits, side
• Clear selection criteria                       effects and risks
• Strengths and                                  considered
   limitations of body of                      • Explicit link between
   evidence                                      recommendations and
• Methods for                                    evidence
   formulating                                 • Externally reviewed
   recommendations                             • Procedure for updating

                                     WPATH SOC8                         JHU_000003806
                                         252
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                 5. Draft guideline
• Chapter Members:
  – Write/Revise recommendation statements
    (informed by systematic review, as applicable)
  – Rate strength of each statement (as applicable)
  – Write accompanying text
                                 AGREE
                                 - Clarity of
                                     presentation


                                   WPATH SOC8                        JHU_000003807
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                              WPATH S                         JHU_000003808

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               6. External review
• External to SOC8 members:
  – Presentation to WPATH Board
  – Public review
• SOC8 members respond to comments and
  revise guideline
                                                    AGREE
                                                    - Rigour of
                                                      development


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                 7. Implementation
• Publication
• Other formats or method?




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                                                             JHU_000003811

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         Systematic Reviews 101




                              WPATH SOC8                         JHU_000003812
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              Systematic Reviews
A review of existing evidence that uses explicit
methods of identification, selection and
validation of included information
• Meta-analysis uses statistical methods to
  quantitatively summarize results of similar but
  separate studies




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Systematic Review Process

          Definition of question(s)

          Identification of evidence

             Selection of evidence

            Evaluation of evidence

             Synthesis of evidence

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                                   260
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        Timeline for Systematic Review


    Protocol
Refine Question               Screening                       Synthesis




0                                                                            ≥ 12 months

               Searching                    Abstraction & Appraisal




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           Definition of Questions
• Can it be answered?
  – uncertainty
  – availability of evidence
• Clear and specific
  – specify inclusion/exclusion criteria


 Drive ALL steps in process


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Example of vague question:

What is the best strategy to prevent smoking in
                  young people?




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         Identification of Evidence
• Identify all possibly relevant studies
• Develop search protocol:
  – Sources: databases and hand searching
  – How searched
  – Dates
  – Strategies
  – Tracking
  – Documentation


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            Selection of Evidence
• Apply specific pre-defined inclusion/exclusion
  criteria
• Screen at two levels:
  – abstracts and titles
  – full-text
• Tracking



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                                                 • Two independent screeners
                                                 • All data entered into database
                                                 • Disagreements resolved by
                                                  consensus or by third reviewer


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Summary of Search and Review Process




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                                                   •Articles excluded at full-text level
                                                   listed with reason(s) excluded
                                                   •Included in report




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          Evaluation of Evidence
• Assess risk of bias of individual studies:
  – Select tool based on study design


• Abstraction of relevant data
  – Including elements of PICO




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             Synthesis of Evidence
• Qualitative
• Quantitative




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                Certainty in Evidence
        GRADE Quality of the Evidence
Four levels
A     High       We are very confident that the true effect lies
                 close to that of the estimate of the effect

                                  We are moderately confident in the effect
B      Moderate                   estimate: The true effect is likely to be close to
                                  the estimate of the effect, but there is a
                                  possibility that it is substantially different

                                  Our confidence in the effect estimate is limited:
C      Low                        The true effect may be substantially different
                                  from the estimate of the effect

                                  We have very little confidence in the effect
D      Very low                   estimate: The true effect is likely to be
                                  substantially different from the estimate of effect
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                      GRADE System

     HIGH     ⊕⊕⊕⊕                               A
     MODERATE ⊕⊕⊕                               B
                                                                 Confidence
     LOW      ⊕⊕                               C
     VERY LOW ⊕                               D

Randomised controlled trials start as High
Observational studies start as Low

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                    Current Status of SRs
Chapter        Number of   Protocol    Searching          Citations screen at   Citations screen     Data abstraction
               SR                      electronic         the title-abstract    at the article
               questions               databases          screening             screening




Hormone        13          Completed   Completed          N =1508               N =390               Not started yet
Therapy
                                       (PubMed®,          Completed             Ongoing
                                       Embase®, and
                                       Pyscinfo)




Voice          8           Completed   Completed          N =631                Not started yet      Not started yet
                                                          Ongoing
                                       (PubMed®,
                                       CINAHL, Embase®,
                                       and Pyscinfo)




Surgery        11          Drafted




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                                REDACTED




                                                             JHU_000003834

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                                REDACTED




                                                             JHU_000003835

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     Recommendations




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     Recommendation Statements
• Clear, explicit and actionable
• Define all elements needed to implement
• Clear link with evidence




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   Need for                           No
   Rec?                               -background; explanation




                                         Direct                        No
 Is it obvious?
                                         evidence?                     Good Practice
                                                                       Statement


Yes
Good Practice
Statement                               Yes
                                        Systematic Review
                                        Evidence-Based Statement
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Examples of Good Practice Statements
• In patients presenting with heart failure,
  clinicians should make an initial assessment of
  the patient's ability to perform routine/desired
  activities of daily living.
• Health services should be made available,
  accessible, and acceptable to sex workers based
  on the principles of avoidance of stigma,
  nondiscrimination, and the right to health.
• For patients with congenital adrenal hyperplasia,
  we advise monitoring of patients for signs of
  glucocorticoid excess.

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  For patients with congenital adrenal hyperplasia, we advise
   monitoring of patients for signs of glucocorticoid excess.


• No direct evidence of effect of monitoring
• Confident that monitoring a good idea based
  on linked bodies of indirect evidence:
  – Symptoms appear not infrequently
  – Risk of suffering if fail to catch
  – Therapy can correct problem




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   Need for                           No
   Rec?                               -background; explanation




                                         Direct                        No
 Is it obvious?
                                         evidence?                     Good Practice
                                                                       Statement


Yes
Good Practice
Statement                               Yes
                                        Systematic Review
                                        Evidence-Based Statement
                                     WPATH SOC8                      JHU_000003841
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                                  Need SR Questions
Chapter           Number of
                  SR
                  questions




Hormone Therapy   13



Voice             8

Surgery           11




                                                                                              ≥ 12 months


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Consensus Process
20 July 2018


We need the draft recommendation statements from each Chapter. Recall that recommendation
statements should be explicit and actionable (please see notes on identifying recommendations).

<To be added to the WPATH Guideline Development Methods document>

The following is the consensus process for recommendation statements. This will be used for the best
practice statements and for the evidence-based recommendation statements:
    1. Chapter members draft and reach consensus within chapter on recommendations statements.
    2. All recommendation statements are sent to the Guideline Steering Committee for review and
        revision.
    3. An online Delphi will be set up to be used by all SOC8 members to vote on recommendation
        statements. Members will be able to opt out of voting on statements they feel are outside of
        their expertise or experience, and will also have opportunity to provide feedback on each
        statement. Consensus will be considered reached if recommendation statement is agreed to by
        80% or more of votes. Those statements not reaching consensus will be sent back to all for
        another round of voting. These statements may be, as appropriate, revised based on feedback
        received. Three rounds will be held. Recommendation statements reaching consensus will be
        included in SOC8.




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WPATH: Systematic Review Questions

31 March 2019



Adolescent Chapter (n=1)

Protocol completed January 2019; reviewed by chapter leads 29 Jan 19

KQ1. What is the effect of acceptance/rejection of family, school or community on the mental health
and pyschosocial wellbeing of transgender and gender-diverse adolescents?

NOTE: During meetings at Buenos Aires, JHU offered to help identify relevant articles for medical
decision making, an area that may be informed by indirect evidence. This is NOT a systematic review or
a review. As of 31 Mar 19, awaiting further clarification about which types of studies are considered
relevant (i.e., entry into clinical trials, brain development, cognitive development, etc.).

Assessment Chapter (n=4)

Plan to address questions in reviews being conducted for other chapters:

   1.   What is effect of assessment by a health professional prior to initiation of cross-sex hormones?
   2.   What is effect of assessment by a health professional prior to gender-affirming surgery?
   3.   What is effect of transition prior to initiation of gender-affirming hormone therapy or surgery?
   4.   What is effect of absences of transition or intent to transition prior to gender-affirming hormone
        therapy or surgery?

Hormone Chapter (n=13)

Protocol completed October 2018. Screened 1508 citations, 254 eligible studies. Data abstraction
ongoing.

KQ1. For transgender women, what are the safety and efficacy of androgen lowering medications
compared to Spironolactone vs cyproterone vs GnRH agonists in terms of surrogate outcomes, clinical
outcomes, and harms?

KQ2. For transgender adolescent, what are the long term effect of GnRH agonists compared to no
treatment, in terms of surrogate outcomes, clinical outcomes, and harms?

KQ3. For transfeminine people on gender-affirming hormone therapy with estrogen, what are the
comparative risks of prolactinomas and hyperprolactinemia between spironolactone, cyproterone, and
GnRH agonists, in terms of prolactin levels and presence of prolactinomas confirmed by imaging?

KQ4. For transgender people, what are the effect of progesterones (cyproterone) compared to
Medroxyprogesterone and other progesterones in terms of breast growth (adults), delay of puberty
(children), and side effects?




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KQ5. For transgender women, what are the comparative risks of different regimens of gender-
affirming hormone therapy with estrogens (conjugated estrogen, estradiol, ethinyl estradiol) in terms of
pulmonary embolism, deep-vein thrombosis, stroke, and myocardial infarction?

KQ6. For transgender men, what is the risk of polycythemia among transgender men on gender-
affirming therapy with testosterone, as measured by hematocrit and hemoglobin levels?

KQ7. For transgender men, what is the effect of testosterone therapy on uterine, ovarian, cervical,
vaginal, and breast pathology in transgender men who have not had a hysterectomy or oophorectomy?

KQ8.    For transgender women what is the effect of estrogen therapy on breast, testicular, prostate
and penile tissue in transgender women who have not had a gonedectomy?

KQ9. For transgender women, what is the safety of different routes of administration for estrogen
(oral, cutaneous, intramuscular) in terms of myocardial infarction, stroke, deep-vein thrombosis, and
pulmonary embolism?

KQ10. For transgender adolescent, what are the effects of suppressing puberty with GnRH agonists on
quality of life?

KQ11. For transgender people, what are the psychological effects (including quality of life) associated
with hormone therapy

KQ12. For transgender people, what are the effects of hormone therapy on metabolic syndrome?

KQ13. For transgender people, what are the effects of hormone therapy on fertility?


Primary Care

Questions received from chapter lead mid-December 2018; Received priority ordered list of 14 questions
from SOC8 Chairs 29 January. Decision has not been made as to which questions to address in systematic
reviews.

1. In trans feminine populations on estrogen therapy, does the specific route (intramuscular,
transdermal, oral, sublingual) of exogenous estrogen increase or decrease risk for breast cancer?
2. In trans feminine people on estrogen who otherwise meet age requirements for breast cancer
screening per local guidelines, does screening mammogram after 3 years on estrogen, as opposed to
screening mammogram after 5 years on estrogen, improve overall detection of malignancy and long
term mortality?
3. Among transgender populations with pre-existing modifiable cardiac risk factors (obesity,
hypertension, type 2 diabetes, hyperlipidemia, smoking), does gender affirming hormone therapy
significantly affect these conditions, independent of other interventions?
4. In trans feminine populations on estrogen therapy, does serum estrogen level impact risk for
development of breast cancer? (or, reworded as specifically PICO: Do trans feminine populations with
higher serum estrogen levels (>200) have greater risk for breast cancer compared with trans feminine
populations with lower serum estrogen levels (<200)?




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5. Do trans masculine persons on testosterone therapy, when compared to cisgender women of
average risk, have an increased risk of ovarian cancer?
6. In trans masculine persons, does testosterone therapy increase risk for endometrial cancer, when
compared with cisgender women of average risk?
7. In transgender populations presenting for primary care, does providing a supportive clinic physical
environment (waiting room signs, bathroom policy, ability to use chosen name and pronoun) improve
patient satisfaction and retention in care?
8. Among transgender populations with modifiable cardiovascular risk factors (obesity, hypertension,
type 2 diabetes, hyperlipidemia, smoking) receiving hormone therapy, does receiving hormone therapy
from a primary care provider, as opposed to a specialty provider, result in improved control of
cardiovascular risk factors?
9. Among transgender populations receiving gender affirming care (hormone therapy, breast
procedures or mental health interventions), do outcomes differ between comprehensive gender centers
and decentralized clinics/providers?
10. In transgender populations presenting to general primary care settings, does a trauma-informed
approach to sexual health improve access to preventive and screening services?
11. In transgender populations seeking hormone therapy, does integrating prescribing of hormones
into primary care, as opposed to receiving the hormones from a specialty provider, improve patient
satisfaction and retention in care?
12. For transgender populations seeking general primary care services, does routine screening for sex
work (versus not routinely asking about history of sex work) increase access to HIV prevention services
and HIV testing?
13. In trans masculine persons, does self-collected HPV swab testing detect cervical cancer at similar
rate in comparison with trans masculine people who have had cervical cytology testing?
14. In transgender populations seeking gender affirming surgery, does requiring a second supporting
mental health referral improve rates of surgical regret, satisfaction with outcome, or postoperative
complications?

Reproductive Chapter (n=3)

Plan to address in reviews for hormone chapter:

   1. What are the effects of gender-affirming hormone therapy in terms of psychosocial and clinical
      outcomes on the future offspring of transgender or gender non-conforming individuals?
   2. What is the impact of hormone (GnRH analogues, testosterone, estrogen) treatments on
      fertility?
   3. What is the impact of hormone (GnRH analogues, testosterone, estrogen) treatments on
      breast/chest?




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Surgery Chapter (n=6 questions + 13 subquestions)

Protocol completed; protocol and questions revised 30 Jan 2019. Screening 1185 citations.

Breast/Chest Surgery:

KQ1: What are the benefits and risks of chest reconstruction surgery (“top surgery”) for transmasculine
individuals and gender-nonconforming individuals assigned female at birth?

        KQ1a: What are the benefits and risks of top surgery in terms of factors aside from gender
        dysphoria (e.g., BRCA-1 mutation, family history of breast cancer, identification of pre-cancerous
        breast pathology) for transmasculine individuals and gender-nonconforming individuals
        assigned female at birth?

        KQ1b: How does hormone therapy status affect the benefits and risks of top surgery for
        transmasculine individuals and gender-nonconforming individuals assigned female at birth?

        KQ1c: How does age affect the benefits and risks of top surgery for transmasculine individuals
        and gender-nonconforming individuals assigned female at birth, particularly for those under age
        18?

KQ2: What are the benefits and risks of breast augmentation surgery (“top surgery”) for transfeminine
individuals and gender-nonconforming individuals assigned male at birth?

        KQ2a: What are the benefits and risks of top surgery for transfeminine individuals and gender-
        nonconforming individuals assigned male at birth in terms of factors aside from gender
        dysphoria (e.g., BRCA-1 mutation, family history of breast cancer)?

        KQ2b: How does hormone therapy status affect the benefits and risks of top surgery for
        transfeminine individuals and gender-nonconforming individuals assigned male at birth?

        KQ2c: How does age affect the benefits and risks of top surgery, particularly for those under age
        18 for transfeminine individuals and gender-nonconforming individuals assigned male at birth?

Genital Surgery:

KQ3: What are the benefits and risks of genital surgeries for transfeminine individuals and gender-
nonconforming individuals assigned male at birth?

        KQ3a: How does hormone therapy status affect the benefits and risks of genital surgeries for
        transfeminine individuals and gender-nonconforming individuals assigned male at birth?

        KQ3b: How does a prerequisite of 12 months of living in a gender role that is congruent with the
        gender identity of the patient (the “real life test”; social transition) affect the benefits and risks




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        of genital surgeries for transfeminine individuals and gender-nonconforming individuals
        assigned male at birth?

        KQ3c: How does age affect the benefits and risks of top surgery, particularly for those under age
        18 for transfeminine individuals and gender-nonconforming individuals assigned male at birth?


KQ4: What are the benefits and risks of genital surgeries for transmasculine individuals and gender-
nonconforming individuals assigned female at birth?

        KQ4a: How does hormone therapy status affect the benefits and risks of genital surgeries for
        transmasculine individuals and gender-nonconforming individuals assigned female at birth?

        KQ4b: How does a prerequisite of 12 months of living in a gender role that is congruent with the
        gender identity of the patient (the “real life test”; social transition) affect the benefits and risks
        of genital surgeries for transmasculine individuals and gender-nonconforming individuals
        assigned female at birth?

        KQ4c: How does age affect the benefits and risks of top surgery, particularly for those under age
        18 for transmasculine individuals and gender-nonconforming individuals assigned female at
        birth?

Other Surgeries/Procedures:

KQ5: What are the benefits and risks of facial gender confirmation surgeries for transfeminine
individuals and gender-nonconforming individuals assigned male at birth?

        KQ5a: How does hormone therapy status affect the benefits and risks of facial gender
        confirmation surgeries for transfeminine individuals and gender-nonconforming individuals
        assigned male at birth?

General Questions

KQ6: What is the effect of mental health assessment prior to surgery?




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Voice Chapter (n=8 + 6 subquestions)

Protocol completed October 2018. Screened 604 citations; 54 eligible studies.
JHU was informed by SOC8 Chairs on 29 Jan 19 to limit review to first two questions. Protocol and work
process revised based on this decision. On February 14th SOC8 chair reopened prioritization with the
Chapter Lead who would like to keep questions 5, 6, and 8.

Behavioral Interventions

KQ1: For transfeminine individuals, what are the effects of speech therapy, voice therapy, or
communication therapy compared to no intervention, the intervention in conjunction with hormone
therapy or with surgery, or another intervention in terms of acoustic outcomes, perceptual outcomes,
satisfaction, and harms?

KQ2: For transmasculine individuals, what are the effects of speech therapy, voice therapy, or
communication therapy compared to no intervention, the intervention in conjunction with hormone
therapy or with surgery, or another intervention in terms of acoustic outcomes, perceptual outcomes,
satisfaction, and harms?

KQ3: For non-binary individuals, what are the effects of speech therapy, voice therapy, or
communication therapy compared to no intervention, the intervention in conjunction with hormone
therapy or with surgery, or another intervention in terms of acoustic outcomes, perceptual outcomes,
satisfaction, and harms?

KQ4: For any (but particularly transmasculine and non-binary) individuals, what are the effects of
(sustained) chest binding compared to no binding in terms of valving efficiency and projection?

Surgical Interventions

KQ5: For transfeminine individuals, what are the effects of surgical interventions for voice
feminization (see list in Table A) compared to no surgical intervention, surgery in conjunction with voice
therapy or with hormone therapy, or other surgical interventions for voice feminization in terms of
acoustic outcomes, perceptual outcomes, satisfaction, and harms?
KQ6: For transmasculine individuals, what are the effects of surgical interventions for voice
masculinization (see list in Table A) compared to no surgical intervention, surgery in conjunction with
voice therapy or with hormone therapy, or other surgical interventions for voice masculinization in
terms of acoustic outcomes, perceptual outcomes, satisfaction, and harms?

Endocrine Interventions (Hormone Therapy)

KQ7: For transfeminine individuals, what are the effects of feminizing hormone therapies (e.g.,
estrogen, progesterone) compared to no hormone therapy or hormone therapy in conjunction with




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voice therapy or with surgery in terms of acoustic outcomes, perceptual outcomes, satisfaction, and
harms?
           KQ7A: Do these effects differ for pre-pubertal children being treated with hormone blockers?
           KQ7B: Do these effects differ for people who were treated with hormone blockers before
           being treated with estrogen?
           KQ7C: Do these effects differ for adults being treated with estrogen?

KQ8: For transmasculine individuals, what are the effects of masculinizing hormone therapies (e.g.,
testosterone) compared to no hormone therapy or hormone therapy in conjunction with voice therapy
or with surgery in terms of acoustic outcomes, perceptual outcomes, satisfaction, and harms?
           KQ8A: Do these effects differ for pre-pubertal children being treated with hormone blockers?
           KQ8B: Do these effects differ for people who were treated with hormone blockers before
           being treated with testosterone?
           KQ8C: Do these effects differ for adults being treated with testosterone?




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